                Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 1 of 134




VUE ON MACGREGOR
4460 South MacGregor Way
Houston, Texas 77021

APPRAISAL REPORT
Date of Report: August 4, 2021
Colliers File #: DAL210584




PREPARED FOR                                                                            PREPARED BY
Steve Defoe                                            Josephine              COLLIERS INTERNATIONAL
Fannie Mae                                             Ajayi
5600 Granite Parkway                                   Berkeley
                                                                       VALUATION & ADVISORY SERVICES
Building VII                                           Point Capital
Plano, TX 75024                                        LLC
                                                       4550
                                                       Montgomery
                                                                       EXHIBIT C
                        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 2 of 134
                                                                                                                   COLLIERS INTERNATIONAL
LETTER OF TRANSMITTAL                                                                                              VALUATION & ADVISORY SERVICES

                                                                                                                   1717 McKinney Avenue, Suite 900
                                                                                                                   Dallas, TX 75202 USA
                                                                                                                   MAIN 214 692 1100
                                                                                                                   FAX 214 370 3992
                                                                                                                   WEB www.colliers.com/valuationadvisory




August 4, 2021

Steve Defoe                                                                                           Josephine Ajayi
Fannie Mae                                                                                            Berkeley Point Capital LLC
5600 Granite Parkway                                                                                  4550 Montgomery Avenue
Building VII                                                                                          Suite 1100
Plano, TX 75024                                                                                       Bethesda, MD 20814

RE: Vue on MacGregor
    4460 South MacGregor Way
    Houston, Texas 77021

Colliers File #: DAL210584

Mr. Defoe & Ms. Ajayi:

Pursuant with our engagement, the above captioned property was appraised utilizing best practice appraisal
principles for this property type. This appraisal report satisfies the scope of work and requirements agreed upon
by Fannie Mae and Berkeley Point Capital LLC and Colliers International Valuation & Advisory Services.
The date of this report is August 4, 2021. At the request of the client, this appraisal is presented in an Appraisal
Report format as defined by USPAP Standards Rule 2-2(a). Our appraisal format provides a detailed description
of the appraisal process, subject and market data and valuation analyses.
The purpose of this appraisal is to develop opinions of the As-Is Market Value and Prospective Value Upon
Stabilization of the subject property’s leased fee interest. At the request of the client we have also completed an
Insurable Replacement Cost Estimate. The following table conveys the final opinions of market value of the
subject property that are developed within this appraisal report:
                          VALUE TYPE                                 NTEREST APPRAISED                              DATE OF VALUE                                       VALUE
                Market Value As-Is                                            Leased Fee                               June 21, 2021                          $17,300,000
        Prospective Value Upon Stabilization                                  Leased Fee                              August 21, 2022                         $18,800,000
             OTHER CONCLUSIONS                                                                                                                           AS OF JUNE 21, 2021
            Insurable Replacement Cost                                                                                                                        $19,100,000

The subject is a Multifamily (Student Apartment) property totaling 115 units (347 beds) located on a 1.84-acre
site at 4460 South MacGregor Way in Houston, Texas. The improvements were built in 2014, are in average/good
condition and have a remaining economic life of 50 years based on our estimate.
The subject is located in proximity to the campus of The University of Houston, and has a current occupancy
level of 62.8%, which falls well below the stabilized occupancy level estimate of 85% that was developed in this


Colliers International Valuation & Advisory Services, and certain of its subsidiaries, is an independently owned and operated business and a member firm of Colliers International
Property Consultants, an affiliation of independent companies with over 500+ offices throughout more than 68 countries worldwide.
LETTER OF TRANSMITTAL
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 3 of 134
CONTINUED                                                                                                     DAL210584


appraisal. There is strong competition in the local market among student housing properties. Two new off-
campus housing projects totaling 671 bedrooms have been completed within the past three years, including The
Icon / Lofts at The Icon and Tower 5040. As a result of this situation along with the effects of the COVID-19
crisis, the subject has reflected some excess vacancy over the past couple of years. Currently, we are not aware
of any additional new units planned in the near term. In addition, it is anticipated that more students will move
back to campus area properties next year after commuting to school or taking a year off during the past year.
Thus, the student housing market should slowly improve over the next two to three years, especially considering
recent enrollment growth trends. Given this situation, we believe our projected stabilized occupancy rate will be
achievable within the next 14 months (Fall 2022 semester).
It is prudent to note that the COVID-19 virus (aka coronavirus) is a serious illness that developed throughout the
world and more specifically the United States. The impact to demand and ultimately values for real estate has
not been significantly affected. Real estate is an investment type that historically takes a longer period of time
to be impacted in relation to alternative investment types. CIVAS professionals have consulted with market
participants in preparation of this assignment to understand and monitor how the subject property may be
impacted.
Estimating the impact of the virus on market values is currently subjective since there is limited market evidence.
According to the on-site property manager, there has been virtually no increase in collection loss at the property
over the past few months. The subject property is primarily marketed toward students, and the majority of current
residents are students. It is believed that there will be a lower amount of rent collection loss at a student oriented
property due to the fact that many of the leases have a parent guaranty. Thus, we have not deducted any
additional rent or collection loss as a result of Covid-19.
The analyses, opinions and conclusions communicated within this appraisal report were developed based upon
the requirements and guidelines of the current Uniform Standards of Professional Appraisal Practice (USPAP),
the requirements of the Code of Professional Ethics and the Standards of Professional Appraisal Practice of the
Appraisal Institute. The report is intended to conform to the Financial Institutions Reform, Recovery and
Enforcement Act (FIRREA) standards, Fannie Mae guidelines and the appraisal guidelines of Fannie Mae and
Berkeley Point Capital LLC.
The report, in its entirety, including all assumptions and limiting conditions, is an integral part of, and inseparable
from, this letter. USPAP defines an Extraordinary Assumption as, “an assignment specific-assumption as of the
effective date regarding uncertain information used in an analysis which, if found to be false, could alter the
appraiser’s opinions or conclusions”. USPAP defines a Hypothetical Condition as, “that which is contrary to what
is known by the appraiser to exist on the effective date of the assignment results, but is used for the purpose of
analysis”.
The Extraordinary Assumptions and/or Hypothetical Conditions that were made during the appraisal process to
arrive at our opinions of value are fully discussed below. We advise the client to consider these issues carefully
given the intended use of this appraisal, as their use might have affected the assignment results.
EXTRAORDINARY ASSUMPTIONS
Prospective Stabilized Date & Lease up Cost: As of our valuation date of June 21, 2021, the subject property
is only 62.8% occupied (based on number of beds) and thus operating well below a stabilized occupancy level.
We have anticipated that the property will be fully stabilized within 14 months from the effective appraisal date,
or near the beginning of the 2022-2023 school year. For the purposes of our analysis, the Prospective “As
Stabilized” Market Value, assumes that the property is operating at a stabilized occupancy level by August 21,
2022.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 4 of 134
LETTER OF TRANSMITTAL
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 5 of 134
CONTINUED                                                                                                    DAL210584


Also, we have included a one-time marketing charge per unabsorbed bedroom (equal to $1,000) to facilitate a
quicker and more consistent lease-up of the property by providing premium locator fees/extra
marketing/advertising or an additional amount of concessions to the new tenants. In review, we have calculated
the cost of stabilizing the property based on our assumptions. We have made several basic assumptions based
on past trends we have witnessed for student housing properties during lease-up.
HYPOTHETICAL CONDITIONS
No Hypothetical Conditions were made for this assignment.
RELIANCE LANGUAGE
The Appraisal is for the sole use of the Client; however, Client may provide only complete, final copies of the
Appraisal report in its entirety (but not component parts) to third parties who shall review such reports in
connection with loan underwriting or securitization efforts. Colliers International Valuation & Advisory Services is
not required to explain or testify as to appraisal results other than to respond to the Client for routine and
customary questions. Please note that our consent to allow the Appraisal prepared by Colliers International
Valuation & Advisory Services or portions of such Appraisal, to become part of or be referenced in any public
offering, the granting of such consent will be at our sole and absolute discretion and, if given, will be on condition
that Colliers International Valuation & Advisory Services will be provided with an Indemnification Agreement
and/or Non-Reliance letter, in a form and content satisfactory to Colliers International Valuation & Advisory
Services, by a party satisfactory to Colliers International Valuation & Advisory Services. Colliers International
Valuation & Advisory Services does consent to your submission of the reports to rating agencies, loan
participants or your auditors in its entirety (but not component parts) without the need to provide Colliers
International Valuation & Advisory Services with an Indemnification Agreement and/or Non-Reliance letter.
Colliers International Valuation & Advisory Services hereby expressly grants to Client the right to copy the
Appraisal and distribute it to other parties in the transaction for which the Appraisal has been prepared, including
employees of Client, other lenders in the transaction, and the borrower, if any.
Our opinion of value reflects current conditions and the likely actions of market participants as of the date of
value. It is based on the available information gathered and provided to us, as presented in this report, and does
not predict future performance. Changing market or property conditions can and likely will have an effect on the
subject's value.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
LETTER OF TRANSMITTAL
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 6 of 134
CONTINUED                                                                                               DAL210584


The signatures below indicate our assurance to the client that the development process and extent of analysis
for this assignment adhere to the scope requirements and intended use of the appraisal. If you have any specific
questions or concerns regarding the attached appraisal report, or if Colliers International Valuation & Advisory
Services can be of additional assistance, please contact the individuals listed below.
Sincerely,
COLLIERS INTERNATIONAL
VALUATION & ADVISORY SERVICES




  Mark Elledge, MAI                                           Kyle Knox, MAI
  Valuation Services Director                                 Managing Director
  Certified General Real Estate Appraiser                     Certified General Real Estate Appraiser
  State of Texas License #TX-1323332-G                        State of Texas License #TX-1323097-G
  +1 214 217 9326                                             +1 214 217 9335
  mark.elledge@colliers.com                                   kyle.knox@colliers.com




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
TABLE OFCase
         CONTENTS
             21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 7 of 134
                                                                                          DAL210584


LETTER OF TRANSMITTAL
INTRODUCTION _________________________________________________________________________ 1
  Executive Summary / Insurable Replacement Cost _____________________________________________ 1
  Aerial Photograph ______________________________________________________________________ 4
  Subject Property Photographs _____________________________________________________________ 5
  Identification of Appraisal Assignment _______________________________________________________ 7
  Scope of Work _________________________________________________________________________ 9
DESCRIPTIONS & EXHIBITS______________________________________________________________ 11
 Regional Map _________________________________________________________________________ 11
 Regional Analysis ______________________________________________________________________ 12
 Local Area Map _______________________________________________________________________ 16
 Local Area Analysis ____________________________________________________________________ 18
   Plat Map ___________________________________________________________________________ 31
   Flood Map _________________________________________________________________________ 32
 Assessment & Taxation _________________________________________________________________ 37
 Zoning Analysis _______________________________________________________________________ 39
 Market Analysis _______________________________________________________________________ 40
 Student Housing Market Analysis _________________________________________________________ 40
 Highest & Best Use ____________________________________________________________________ 67
VALUATION ___________________________________________________________________________ 69
  Valuation Methods _____________________________________________________________________ 69
  Income Approach ______________________________________________________________________ 71
    Rent Comparable Summation Table______________________________________________________ 73
    Rent Comparable Location Map _________________________________________________________ 74
    Rent Data Sheets ____________________________________________________________________ 75
    Rent Adjustment Grid _________________________________________________________________ 81
    Income Loss ________________________________________________________________________ 91
    Rental Income Analysis _______________________________________________________________ 91
    Income & Expense Analysis ____________________________________________________________ 92
    Subject Operating Historicals ___________________________________________________________ 93
    Expense Comparable Table ____________________________________________________________ 94
    Conclusion of Operating Expenses ______________________________________________________ 95
    Investment Market Analysis ____________________________________________________________ 98
    Adjustments to Value ________________________________________________________________ 101
    Lease-Up Analysis __________________________________________________________________ 101
    Direct Capitalization _________________________________________________________________ 103
    Effective Gross Income Multiplier Method ________________________________________________ 105
  Sales Comparison Approach ____________________________________________________________ 106
    Sales Summation Table ______________________________________________________________ 108
    Sales Location Map _________________________________________________________________ 109
    Sales Data Sheets __________________________________________________________________ 110
    SALES COMPARISON APPROACH CONCLUSION _______________________________________ 118
  Reconciliation of Value Conclusions ______________________________________________________ 119




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
TABLE OFCase
         CONTENTS
             21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 8 of 134
CONTINUED                                                                     DAL210584


CERTIFICATION

ASSUMPTIONS & LIMITING CONDITIONS

ADDENDA
 Financial Exhibits
 Site Exhibits
 Engagement Letter
 Valuation Glossary
 Qualifications of Appraiser
 Qualifications of Colliers International Valuation & Advisory Services




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
EXECUTIVE SUMMARY
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 9 of 134
                                                                                                               DAL210584


      GENERAL INFORMATION
      Property Name                          Vue on MacGregor
      Property Type                          Multifamily - Student Apartment
      Address                                4460 South MacGregor Way
      City                                   Houston
      State                                  Texas
      Zip Code                               77021
      County                                 Harris
      Core Based Statistical Area (CBSA)     Houston-The Woodlands-Sugar Land, TX
      Market                                 Houston-The Woodlands-Sugar Land
      Submarket                              Braeswood Place/Astrodome/South Union
      Longitude                              -95.342116
      Latitude                               29.710930
      Number Of Parcels                      1
      Assessor Parcel                        1343850010001
      Total Taxable Value                    $36,113,031
      Census Tract Number                    3132.00
      SITE INFORMATION
      Land Area                              Acres                           Square Feet
        Usable                               1.84                                 80,244
        Unusable                             0.00                                      0
        Excess                               0.00                                      0
        Surplus                              0.00                                      0
       Total                                 1.84                                 80,244
      Topography                             Level at street grade
      Shape                                  Irregular
      Access                                 Average
      Exposure                               Average
      Appeal                                 Average/Good
      Current Zoning                         None (N/A)
      Flood Zone                             Zone X (Shaded) & Zone AE
      Seismic Zone                           Low Risk
      IMPROVEMENT INFORMATION
      Number Of Units                        115
      Number Of Beds                         347
      Average Unit Size                      1,049 SF
      Net Rentable Area SF (NRA)             120,661 SF
      Gross Building Area SF (GBA)           229,266 SF
      Development Density                    62.4 Units/Acre (115 Units / 1.84 Acres)
      Number Of Apartment Buildings          1
      Number Of Non-Residential Buildings    0
      Total Number Of Buildings              1
      Number Of Stories                      5
      Year Built                             2014
      Quality                                Average/Good
      Condition                              Average/Good
      Marketability                          Average
      Type Of Construction                   Wood frame
      Parking Type                           Garage
      Number Of Parking Spaces               290
      Parking Spaces/Unit                    2.5
      Property Amenities                     The subject's common amenities include an H2O water deck, club room,
                                             fitness center, study rooms, dog park, security access and parking
                                             garage.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                           1
EXECUTIVE SUMMARY
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 10 of 134
CONTINUED                                                                                                                        DAL210584



HIGHEST & BEST USE
                                                 Development of a multifamily residential property as market conditions
As Vacant
                                                 warrant
As Improved                                      Continued use as a multifamily residential property
EXPOSURE TIME & MARKETING PERIOD
Exposure Time                                    Six Months or Less
Marketing Period                                 Six Months or Less
VALUATION SUMMARY
Current Occupancy                                62.8%
Stabilized Occupancy                             85.0%
Estimated Lease-Up Period                        14 Months
Current Average Rent/Unit                        $2,263/Unit
Concluded Average Rent/Unit                      $2,208/Unit
Potential Gross Income                           $3,266,800
Total Income Loss                                16.7%
Effective Gross Income                           $2,757,712
Total Expenses                                   $1,676,941
Net Operating Income                             $1,080,771
Capitalization Rate (OAR)                        5.75%
                             SUMMARY OF STRENGTHS & WEAKNESSES OF SUBJECT ASSET
STRENGTHS                                                                     WEAKNESSES
● No new student construction in pipeline                                     ● Downward trend in rent and occupancy over past 2 years
● Positive enrollment growth anticipated to continue at University of Houston ● Highly competitive student housing market
● Low interest rate environment                                               ●Two new Class A propeties recently completed in local market




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                               2
EXECUTIVE SUMMARY
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 11 of 134
CONTINUED                                                                                       DAL210584



                                             VALUATION SUMMARY

                                                                 MARKET VALUE      PROSPECTIVE VALUE
VALUATION INDICES
                                                                     AS-IS         UPON STABILIZATION

INTEREST APPRAISED                                                LEASED FEE          LEASED FEE
DATE OF VALUE                                                    JUNE 21, 2021       AUGUST 21, 2022
                                        INCOME CAPITALIZATION APPROACH
Direct Capitalization                                              $17,300,000         $18,800,000
  Direct Capitalization $/Unit                                    $150,435/Unit       $163,478/Unit
  Direct Capitalization $/Bed                                     $49,856/Bed         $54,179/Bed
  Direct Capitalization $/SF (NRA)                                 $143.38/SF          $155.81/SF
Effective Gross Income Multiplier                                  $17,800,000         $19,300,000
  EGIM $/Unit                                                     $154,783/Unit       $167,826/Unit
  EGIM $/Bed                                                      $51,297/Bed         $55,620/Bed
  EGIM $/SF (NRA)                                                  $147.52/SF          $159.95/SF
INCOME CONCLUSION                                                  $17,300,000         $18,800,000
   Income Conclusion $/Unit                                       $150,435/Unit       $163,478/Unit
   Income Conclusion $/Bed                                        $49,856/Bed         $54,179/Bed
   Income Conclusion $/SF (NRA)                                    $143.38/SF          $155.81/SF
                                          SALES COMPARISON APPROACH
SALES CONCLUSION                                                   $17,600,000         $19,100,000
  Sales Conclusion $/Unit                                         $153,043/Unit       $166,087/Unit
  Sales Conclusion $/Bed                                          $50,720/Bed         $55,043/Bed
  Sales Conclusion $/SF                                            $145.86/SF          $158.29/SF
                                          FINAL VALUE CONCLUSION
FINAL VALUE                                                         $17,300,000        $18,800,000
  Final $/Unit                                                     $150,435/Unit      $163,478/Unit
  Final $/Bed                                                      $49,856/Bed        $54,179/Bed
  Final $/SF (NRA)                                                  $143.38/SF         $155.81/SF
OTHER CONCLUSIONS
Insurable Replacement Cost                                          $19,100,000
  Insurable Replacement Cost/Unit                                  $166,087/Unit
  Insurable Replacement Cost/Bed                                   $55,043/Bed
  Insurable Replacement Cost/SF (GBA)                                $83.31/SF




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                             3
AERIAL PHOTOGRAPH
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 12 of 134
                                                                               DAL210584




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                           4
SUBJECTCase
        PROPERTY
            21-32292 PHOTOGRAPHS
                      Document 89-3 Filed in TXSB on 09/13/21 Page 13 of 134
                                                                                          DAL210584




          TYPICAL BUILDING EXTERIOR                           TYPICAL BUILDING EXTERIOR




                 FRONT ENTRANCE                                    H2O DECK POOL




                 FITNESS CENTER                                       DOG RUN




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                      5
SUBJECTCase
        PROPERTY
            21-32292 PHOTOGRAPHS
                      Document 89-3 Filed in TXSB on 09/13/21 Page 14 of 134
CONTINUED                                                                        DAL210584




                BUSINESS CENTER                                 STUDY ROOM




               TYPICAL LIVING AREA                             TYPICAL KITCHEN




                TYPICAL BEDROOM                               TYPICAL BATHROOM




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                             6
IDENTIFICATION  OF APPRAISAL
        Case 21-32292           ASSIGNMENT
                      Document 89-3 Filed in TXSB on 09/13/21 Page 15 of 134
                                                                                                          DAL210584


PROPERTY IDENTIFICATION
The subject is a Multifamily (Student Apartment) property totaling 115 units and 347 bedrooms. It is located on
a 1.84-acre site at 4460 South MacGregor Way in Houston, Harris County, Texas. The assessor’s parcel number
is: 1343850010001.
The legal description of the subject property is as follows: Being all of Unrestricted Reserve "A" of Valhalla
Subdivision, and situated in the Luke Moore Survey, Abstract Number 51, City of Houston, Harris County, Texas.
CLIENT IDENTIFICATION
The client of this specific assignment is Fannie Mae and Berkeley Point Capital LLC.
PURPOSE
The purpose of this appraisal is to develop opinions of the As-Is Market Value and Prospective Value Upon
Stabilization of the subject property’s leased fee interest. At the request of the client we have also completed an
Insurable Replacement Cost Estimate.
INTENDED USE
The intended use of this appraisal is to assist the client in making internal business decisions related to this
asset.
INTENDED USERS
Intended users of this report include Fannie Mae and Berkeley Point Capital LLC. Use of this report by third
parties and other unintended users is not permitted. This report must be used in its entirety. Reliance on any
portion of the report independent of others, may lead the reader to erroneous conclusions regarding the property
values. Unless approval is provided by the authors no portion of the report stands alone.
ASSIGNMENT DATES
Date of Report                                  August 4, 2021
Date of Inspection                              June 21, 2021
Valuation Date - As-Is                          June 21, 2021
Valuation Date - Prospective At Stabilization   August 21, 2022

PERSONAL INTANGIBLE PROPERTY
No personal property or intangible items are included in this valuation.
PROPERTY AND SALES HISTORY
Current Owner
The subject title is currently recorded in the name of NB Vue Mac DST who acquired title to the property on
December 18, 2015 from Vue on MacGregor LP at a reported purchase price of $34,750,000. Our appraised
value is much lower; however, rent and occupancy levels have fallen over the past couple of years in the local
market near the University of Houston. Our appraised value falls well short of the previous purchase price;
however, market conditions have become much more competitive in recent years, thus producing lower rental
rates and higher vacancy levels throughout the local student housing market.
Three-Year Sales History
Research of the applicable public records, private data services and an interview of the current owner and/or
broker revealed that the subject property has not transferred during the past three years of the effective date of
value stated in this report.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       7
IDENTIFICATION  OF APPRAISAL
        Case 21-32292           ASSIGNMENT
                      Document 89-3 Filed in TXSB on 09/13/21 Page 16 of 134
CONTINUED                                                                                                                                  DAL210584


Subject Sale Status
Research of the applicable public records, private data services and an interview of the current owner revealed
that the subject property is not under a current agreement of sale or option and is not currently offered for sale
on the open market.
DEFINITIONS
This section summarizes the definitions of value, property rights appraised, and value scenarios that are
applicable for this appraisal assignment. All other applicable definitions for this assignment are located in the
Valuation Glossary section of the Addenda.
DEFINITIONS OF VALUE
Given the scope and intended use of this assignment, the following definition of value is applicable:
Market Value
The most probable price which a property should bring in a competitive and open market under all conditions
requisite to a fair sale, the buyer and seller each acting prudently, knowledgeably, and assuming that the price
is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date
and the passing of title from seller to buyer under conditions whereby:
1. Buyer and seller are typically motivated;
2. Both parties are well informed or well advised, and acting in what they consider their own best interests;
3. A reasonable time is allowed for exposure in the open market;
4. Payment is made in terms of cash in United States dollars or in terms of financial arrangements comparable
   thereto; and
5. The price represents the normal consideration for the property sold unaffected by special or creative financing
   or sales concessions granted by anyone associated with the sale. 1
PROPERTY RIGHTS APPRAISED
The property rights appraised constitute the leased fee interest.
Leased Fee Interest
The ownership interest held by the lessor, which includes the right to receive the contract rent specified in the lease
plus the reversionary right when the lease expires. 2
VALUE SCENARIOS
As-Is Value
The estimate of the market value of real property in its current physical condition, use, and zoning as of the
appraisal date. 3
Prospective Value
A value opinion effective as of a specified future date. The term does not define a type of value. Instead, it identifies
a value opinion as effective at some specific future date. An opinion of value as of a prospective date is frequently
sought in connection with projects that are proposed, under construction, or under conversion to a new use, or those
that have not achieved sellout or a stabilized level of long-term occupancy. 4



1
  Office of Comptroller of the Currency (OCC), Title 12 of the Code of Federal Regulation, Part 34, Subpart C - Appraisals, 34.42 (g); Office of Thrift
Supervision (OTS), 12 CFR 564.2 (g); This is also compatible with the FDIC, FRS and NCUA definitions of market value.
2
  The Dictionary of Real Estate Appraisal, Sixth Edition, Appraisal Institute, Chicago, Illinois, 2015
3
  The Dictionary of Real Estate Appraisal, Sixth Edition, Appraisal Institute, Chicago, Illinois, 2015
4
  The Dictionary of Real Estate Appraisal, Sixth Edition, Appraisal Institute, Chicago, Illinois, 2015


© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          8
SCOPE OF WORK
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 17 of 134
                                                                                                         DAL210584


INTRODUCTION
The appraisal development and reporting processes requires gathering and analyzing information about those
assignment elements necessary to properly identify the appraisal problem to be solved. The scope of work
decision must include the research and analyses that are necessary to develop credible assignment results
given the intended use of the appraisal. Sufficient information includes disclosure of research and analyses
performed and might also include disclosure of research and analyses not performed. The scope of work for this
appraisal assignment is outlined below:
   ›   The appraisers analyzed the regional and local area economic profiles including employment, population,
       household income, and real estate trends. The local area was further studied to assess the general quality
       and condition, and emerging development trends for the real estate market. The immediate market area
       was inspected and examined to consider external influences on the subject.
   ›   The appraisers confirmed and analyzed legal and physical features of the subject property including sizes
       of the site and improvements, flood plain data, seismic zone, zoning, easements and encumbrances,
       access and exposure of the site, and construction materials and condition of the improvements. This
       process also included estimating the remaining economic life of the improvements, analysis of the
       subject’s site coverage and parking ratios compared to market standards, a process to identify deferred
       maintenance and a conclusion of the subject’s overall functional utility.
   ›   The appraisers completed an apartment market analysis that included the National Student Housing
       apartment market and Houston-The Woodlands-Sugar Land market. The Houston-The Woodlands-
       Sugar Land market overview analyzed supply/demand conditions using vacancy, absorption, supply
       change and rent change statistics. Conclusions were drawn regarding the subject property’s competitive
       position given its physical and locational characteristics, the prevailing economic conditions and external
       influences.
   ›   The appraisers conducted a Highest and Best Use analysis, determining the highest and best use of the
       subject property As-Vacant and As-Improved. The analysis considered legal, locational, physical and
       financial feasibility characteristics of the subject property. Development of the Highest and Best Use As-
       Improved explored potential alternative treatments of the property including demolition, expansion,
       renovation, conversion, and continued use "as-is."
   ›   The appraisers confirmed and analyzed financial features of the subject property including historical
       income/expense data, rent roll, and tax and assessment records. This information as well as trends
       established by confirmed market indicators was used to forecast performance of the subject property.
   ›   Selection of the valuation methods was based on the identifications required in USPAP relating to the
       intended use, intended users, definition and date of value, relevant property characteristics and
       assignment conditions. As a result, this appraisal developed the Income (Direct Capitalization & EGIM)
       and Sales Comparison approaches to value. The resulting value indicators were reconciled within the
       Analysis of Value Conclusions section. The appraisal develops opinions of the As-Is Market Value and
       Prospective Value Upon Stabilization of the subject property’s leased fee interest. At the request of the
       client we have also completed an Insurable Replacement Cost Estimate. The reasoning for including or
       excluding traditional approaches to value is developed within the Valuation Methodology section.
   ›   Reporting of this appraisal is in an Appraisal Report format as required in USPAP Standard 2. The
       appraiser’s analysis and conclusions are fully described within this document.
   ›   We understand the Competency Rule of USPAP and the authors of this report meet the standards.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      9
SCOPE OF WORK
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 18 of 134
CONTINUED                                                                                                                                 DAL210584


SOURCES OF INFORMATION
The following sources were contacted to obtain relevant information:

                                                      SOURCES OF INFORMATION
         ITEM                                SOURCE
         Tax Information                     Harris County Appraisal District
         Zoning Information                  City of Houston Zoning Code
         Site Size Information               Alta Survey
         Building Size Information           Harris County Tax Records
         New Construction                    RealPage
         Flood Map                           InterFlood
         Demographics                        Pitney Bowes/Gadberry Group - GroundView®
         Comparable Information              See Comparable Datasheets for details
         Legal Description                   Alta Survey
         Other Property Data                 Harris County Property Records
         Rent Roll                           On-Site Management
         Income/Expense Statements           Client



SUBJECT PROPERTY INSPECTION
The following table illustrates the Colliers International professionals involved with this appraisal report and their
status related to the property inspection.


                                               SUBJECT PROPERTY INSPECTION
         APPRAISER                                      INSPECTED                        EXTENT                      DATE OF INSPECTION
         Mark Elledge, MAI                                 Yes                       Interior/Exterior                  June 21, 2021
         Kyle Knox, MAI                                    No                               -                                 -




                                                           INSPECTED UNITS
                            UNIT TYPE        AVG UNIT SF UNIT NO.               STATUS                     COMMENTS
                     2 Bed / 2 Ba                945             118            MODEL           Adequate condition
                     3 Bed / 3 Ba               1,060            119            VACANT          "down" unit
                     4 Bed / 4 Ba               1,082            516            VACANT          Double Occupancy - "down" unit
                     TOTAL UNITS INSPECTED        3

Present at the inspection was the on-site property manager. It is our understanding that the remaining (non-
inspected) units are in similar condition to those inspected, with no interior deferred maintenance present in the
other units. The appraiser also inspected all building exteriors and common areas.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                     10
REGIONAL MAP
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 19 of 134
                                                                              DAL210584




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                         11
LOCAL AREA
       CaseMAP
           21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 20 of 134
                                                                                                           DAL210584


INTRODUCTION
The Houston-The Woodlands-Sugar Land, TX Metropolitan
Statistical Area is in southeastern Texas, on the Gulf Coast region.
The MSA contains nine counties, including Harris, Chambers, Fort
Bend, Galveston, and Montgomery. The region is in the gulf coastal
plains, where most of the area’s elevation is close to sea-level.
With an estimated population of 7,197,799 at the 2019 census, the
Houston-The Woodlands-Sugar Land, TX MSA is the fifth most
populated Core Based Statistical Area in the U.S. and the second
most populated MSA in the state of Texas. Recognized as the
world’s energy capital, the region’s economy is driven by the energy
industry. Houston continues to expand its economic base in
international business, information systems technology, and
service-related sectors. Out of the 500 U.S. corporations with the
largest revenues in 2014 listed by Fortune magazine, 26 have headquarters within the Houston-The Woodlands-
Sugar Land, TX MSA. Phillips 66, ConocoPhillips, Enterprise Products Partners, Sysco, and Plains GP Holding
are amongst the largest businesses headquartered in Houston.
DEMOGRAPHIC ANALYSIS
The following is a demographic study of the region sourced by Pitney Bowes/Gadberry Group - GroundView®,
an on-line resource center that provides information used to analyze and compare the past, present, and future
trends of geographical areas. Demographic changes are often highly correlated to changes in the underlying
economic climate. Periods of economic uncertainty necessarily make demographic projections somewhat less
reliable than projections in more stable periods. These projections are used as a starting point, but we also
consider current and localized market knowledge in interpreting them within this analysis. Please note that our
demographics provider sets forth income projections in constant dollars which, by definition, reflect projections
after adjustment for inflation. We are aware of other prominent demographic data providers that project income
in current dollars, which do not account for inflation. A simple comparison of projections for a similar market area
made under the constant and current dollar methodologies can and likely will produce data points that vary, in
some cases, widely. Further, all forecasts, regardless of demographer methodology(ies), are subjective in the
sense that the reliability of the forecast is subject to modeling and definitional assumptions and procedures.
Population
According to Pitney Bowes/Gadberry Group - GroundView®, a Geographic Information System (GIS) Company,
the Houston-The Woodlands-Sugar Land metropolitan area had a 2020 total population of 7,197,799 and
experienced an annual growth rate of 2.0%, which was higher than the Texas annual growth rate of 1.6%. The
metropolitan area accounted for 24.5% of the total Texas population (29,424,381). Within the metropolitan area
the population density was 839 people per square mile compared to the lower Texas population density of 111
people per square mile and the lower United States population density of 92 people per square mile.
                                                         POPULATION
                                 YEAR                              US         TX        CBSA
                                 2010 Total Population     308,745,538 25,145,561    5,920,416
                                 2020 Total Population     330,412,290 29,424,381    7,197,799
                                 2025 Total Population     341,167,877 31,561,640    7,855,288
                                 2010 - 2020 CAGR                0.7%       1.6%         2.0%
                                 2020 - 2025 CAGR                0.6%       1.4%         1.8%
                                 Source: Pitney Bowes/Gadberry Group - GroundView®




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       12
LOCAL AREA
       CaseMAP  (SECONDARY)
           21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 21 of 134
CONTINUED                                                                                                  DAL210584


                                                  POPULATION DENSITY
                                 YEAR                            US          TX         CBSA
                                 2020 Per Square Mile            92         111           839
                                 2025 Per Square Mile            95         119           916
                                 Source: Pitney Bowes/Gadberry Group - GroundView®


The 2020 median age for the metropolitan area was 34.60, which was 10.51% younger than the United States
median age of 38.24 for 2020. The median age in the metropolitan area is anticipated to grow by 0.39% annually,
increasing the median age to 35.28 by 2025.
                                                        MEDIAN AGE
                                 YEAR                            US          TX         CBSA
                                 2020                          38.24      34.82         34.60
                                 2025                          38.97      35.51         35.28
                                 CAGR                         0.38%      0.40%          0.39%
                                 Source: Pitney Bowes/Gadberry Group - GroundView®


Education
Five separate and distinct state universities are within the Houston-The Woodlands-Sugar Land, TX MSA. The
University of Houston is a nationally recognized Tier One research university, and it is the flagship institution of
the University of Houston system. The third largest university in Texas, the University of Houston, has an annual
enrollment of more than 40,000 students on its 667-acre campus in southeast Houston. Rice University is one
of the leading teaching and research universities of the United States and is ranked the nation's 17 h best
university by U.S. News & World Report.
Household Trends
The 2020 number of households in the metropolitan area was 2,464,485. The number of households in the
metropolitan area is projected to grow by 1.6% annually, increasing the number of households to 2,672,105 by
2025. The 2020 average household size for the metropolitan area was 2.89, which was 11.76% larger than the
United States average household size of 2.58 for 2020. The average household size in the metropolitan area is
anticipated to grow by 0.14% annually, raising the average household size to 2.91 by 2025.
                                             NUMBER OF HOUSEHOLDS
                                 YEAR                            US          TX         CBSA
                                 2020                    124,774,359 10,356,154      2,464,485
                                 2025                    128,904,424 11,085,227      2,672,105
                                 CAGR                          0.7%       1.4%           1.6%
                                 Source: Pitney Bowes/Gadberry Group - GroundView®

                                            AVERAGE HOUSEHOLD SIZE
                                 YEAR                            US          TX         CBSA
                                 2020                           2.58       2.78           2.89
                                 2025                           2.58       2.79           2.91
                                 CAGR                         0.00%      0.06%          0.14%
                                 Source: Pitney Bowes/Gadberry Group - GroundView®


The Houston-The Woodlands-Sugar Land metropolitan area had 36.27% renter occupied units, compared to the
lower 35.63% in Texas and the lower 34.78% in the United States.
                                                    HOUSING UNITS
                                                                 US          TX         CBSA
                                 Owner Occupied              65.22%     64.37%         63.73%
                                 Renter Occupied             34.78%     35.63%         36.27%
                                 Source: Pitney Bowes/Gadberry Group - GroundView®



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       13
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 22 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 23 of 134
LOCAL AREA
       CaseMAP  (SECONDARY)
           21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 24 of 134
CONTINUED                                                                                                                         DAL210584



                                                            TOP EMPLOYERS
            EMPLOYER NAME                                                       EMPLOYEES                          INDUSTRY
            Walmart                                                                 37,000             Wholesale/Retail Trade
            Memorial Hermann Health System                                          24,108     Healthcare/Social Assistance
            H-E-B Grocery Stores                                                    23,732             Wholesale/Retail Trade
            The University of Texas MD Anderson Cancer Center                       21,086     Healthcare/Social Assistance
            McDonald’s Corporation                                                  20,918   Accommodation/Food Services
            Houston Methodist Hospital                                              20,000     Healthcare/Social Assistance
            The Kroger Corporation                                                  16,000             Wholesale/Retail Trade
            United Airlines, Inc.                                                   14,941         Transportation/Warehousing
            Schlumberger Limited                                                    12,069            Mining/Oil/Gas Extraction
            Shell Oil Company                                                       11,507            Mining/Oil/Gas Extraction
            Source: https://auditor.harriscountytx.gov

The preceding chart depicts the top employers in Harris County. The retail sector has a significant presence in
Houston, with two of the top three employers in the retail industry: Walmart and H-E-B Grocery Stores. The
former employs 37,000 people, while the latter has a workforce of 23,732. Memorial Hermann Health System is
the largest non-profit health system in southeast Texas. It consists of 14 hospitals, eight cancer centers, four
heart and vascular institutes, and 27 sports medicine and rehabilitation centers. The healthcare system is the
second largest source of employment in the region with 24,108 employees. The largest employer within the
transportation sector is United Airlines. United Airlines has its largest hub at the George Bush Intercontinental
Airport in Houston. It is the airline’s hub for the southern United States and the primary gateway to Latin America.
AIRPORT STATISTICS
The following chart summarizes the local airport statistics.
                                EORGE BUSH INTERCONTINENTAL/HOUSTON AIRPORT (IA
                                    YEAR                  ENPLANED PASSENGERS                % CHG
                                    2009                          19,290,239                   -
                                    2010                          19,528,631                 1.2%
                                    2011                          19,306,660                 (1.1%)
                                    2012                          19,039,000                 (1.4%)
                                    2013                          18,952,840                 (0.5%)
                                    2014                          19,772,054                 4.3%
                                    2015                          20,595,874                 4.2%
                                    2016                          20,062,072                 (2.6%)
                                    2017                          19,603,731                 (2.3%)
                                    2018                          21,157,398                 7.9%
                                    2019                           21,905,309                3.5%
                                    Source: U.S. Department of Transportation


SUMMARY
High oil prices are not a permanent fixture of the oil business or the regional economy; however, low oil prices
are similarly impermanent. The national economy, affecting trade, technology, and corporate expansion
generally, remains strong, and Houston should draw benefits. The regional economy has achieved significant
diversification into non-energy sectors including trade, distribution, healthcare, technology and construction.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                             16
LOCAL AREA
       CaseMAP  (SECONDARY)
           21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 25 of 134
CONTINUED                                                                    DAL210584




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                        17
LOCAL AREA
       CaseANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 26 of 134
                                                                                                          DAL210584


INTRODUCTION
In this section of the report, we provide details about the local area and describe the influences that bear on the
real estate market as well as the subject property. A map of the local area is presented on the prior page. Below
are insights into the local area based on fieldwork, interviews, demographic data and experience working in this
market.
LOCAL AREA PROFILE
The subject property is located in Houston, Texas, within Harris County. The site has convenient access to I-45
approximately 1 mile to the north. In addition, the Houston Central Business District is only 3 miles to the north.
The University of Houston is one of the focal points of the local area and provides a significant economic impact
to the neighborhood.
DEMOGRAPHIC PROFILE
Below is a demographic study of the area, sourced by Pitney Bowes/Gadberry Group - GroundView®, an on-
line resource center that provides information used to analyze and compare the past, present, and future trends
of properties and geographical areas. Please note that our demographics provider sets forth income projections
in constant dollars which, by definition, reflect projections after adjustment for inflation. We are aware of other
prominent demographic data providers that project income in current dollars, which do not account for inflation.
A simple comparison of projections for a similar market area made under the constant and current dollar
methodologies can and likely will produce data points that vary, in some cases, widely. Further, all forecasts,
regardless of demographer methodology(ies), are subjective in the sense that the reliability of the forecast is
subject to modeling and definitional assumptions and procedures.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      18
LOCAL AREA
       CaseANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 27 of 134
CONTINUED                                                                                                                             DAL210584



                                                    LOCAL AREA DEMOGRAPHICS
            DESCRIPTION                  1 MILE 3 MILES 5 MILES          DESCRIPTION                1 MILE 3 MILES         5 MILES
            POPULATION                                                   AVERAGE HOUSEHOLD INCOME
             2000 Population             11,083    138,033   365,034       2020                    $73,192  $67,773         $86,388
             2010 Population             13,014    138,261   372,815       2025                    $86,841  $80,926        $103,295
             2020 Population             14,913    152,439   416,315       Change 2020-2025        18.65%   19.41%          19.57%
             2025 Population             15,700    160,412   439,931     MEDIAN HOUSEHOLD INCOME
             Change 2000-2010           17.42%       0.17%     2.13%       2020                    $50,565  $44,717         $52,552
             Change 2010-2020           14.59%     10.25%     11.67%       2025                    $62,788  $54,127         $64,418
             Change 2020-2025             5.28%      5.23%     5.67%       Change 2020-2025        24.17%   21.04%          22.58%
            POPULATION 65+                                               PER CAPITA INCOME
             2010 Population               1,320     13,505    33,841      2020                    $31,570  $25,793         $35,578
             2020 Population               1,698     19,981    51,633      2025                    $37,218  $30,850         $42,766
             2025 Population               1,948     23,232    60,935      Change 2020-2025        17.89%   19.60%          20.20%
             Change 2010-2020           28.64%     47.95%     52.58%     2020 HOUSEHOLDS BY INCOME
             Change 2020-2025           14.72%     16.27%     18.02%         <$15,000                23.5%   18.7%           15.9%
            NUMBER OF HOUSEHOLDS                                             $15,000-$24,999          9.7%   12.8%           11.1%
             2000 Households               3,608     45,026  128,911         $25,000-$34,999          4.6%   10.4%            9.6%
             2010 Households               3,597     48,409  139,817         $35,000-$49,999         11.8%   13.0%           11.5%
             2020 Households               4,140     54,241  159,233         $50,000-$74,999         16.4%   15.8%           15.5%
             2025 Households               4,359     57,197  169,358         $75,000-$99,999          9.4%    9.2%            9.5%
             Change 2000-2010           (0.30%)      7.51%     8.46%         $100,000-$149,999       14.4%   11.2%           12.1%
             Change 2010-2020           15.10%      12.05%    13.89%         $150,000-$199,999        5.1%    4.4%            5.4%
             Change 2020-2025             5.29%      5.45%     6.36%         $200,000 or greater      5.2%    4.6%            9.5%
            HOUSING UNITS (2020)                                         MEDIAN HOME VALUE        $172,038 $120,994        $143,938
             Owner Occupied                2,021     22,745    64,634    AVERAGE HOME VALUE       $209,976 $192,270        $287,665
             Renter Occupied               2,073     31,425    94,401    HOUSING UNITS BY UNITS IN STRUCTURE
            HOUSING UNITS BY YEAR BUILT                                    1, detached                2,976  28,555          70,356
             Built 2010 or later             170      3,467    13,288      1, attached                   56   2,960          10,929
             Built 2000 to 2009              341      9,027    25,459      2                             42   2,242           5,453
             Built 1990 to 1999               73      3,392    14,442      3 or 4                       138   2,433           7,268
             Built 1980 to 1989              101      2,500    11,859      5 to 9                       218   3,307           8,825
             Built 1970 to 1979              514      3,748    13,817      10 to 19                     115   3,234          11,762
             Built 1960 to 1969              387      5,480    17,602      20 to 49                     178   2,746           9,278
             Built 1950 to 1959            1,471     11,167    25,575      50 or more                   369   8,276          34,399
             Built 1940 to 1949              825      8,131    17,114      Mobile home                    1     369             699
             Built 1939 or earlier           258      7,328    20,077      Boat, RV, van, etc.            0      48              67
            Source: Pitney Bowes/Gadberry Group - GroundView®

                     POPULATION GROWTH BY AGE - 5 MILES                                    POPULATION BY AGE
               25%                                                         60%
               20%
               15%                                                         40%
               10%                                                         20%
                5%
                0%                                                          0%
                       0-17      18-29   30-39   40-49   50-64     65+            0-17     18-29   30-39   40-49   50-64   65+
                          2010              2020            2025                  1 MILE           3 MILES           5 MILES

Community Services
Community services and facilities are readily available in the surrounding area. These include public services
such as fire stations, hospitals, police stations, and schools (all ages). The subject property is located in the
Houston Independent School District. GreatSchools.org is an on-line tool that rates every school on a scale of
one to ten based on test scores. They also track parents rating of the school on a one to five scale. The following
chart details the ratings of schools nearest to the subject.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                 19
LOCAL AREA
       CaseANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 28 of 134
CONTINUED                                                                                                          DAL210584



                                                       SCHOOL DISTRICTS
  SCHOOL                                                                       NUMBER OF SCHOOLS
  DISTRICT                                              ELEMENTARY   MIDDLE     HIGH      PUBLIC      CHARTER    TOTAL
  Houston Independent School District                      181         65        54         267          16       283
  Cypress-Fairbanks Independent School District             56         20        14         88           0         88
  Aldine Independent School District                        36         24        16         78           0         78
  Spring Branch Independent School District                 30         14        10         48           2         50
  Spring Independent School District                        26          8         6         39           0         39
  Sheldon Independent School District                       5           3         3         12           0         12
  Harris County Dept Of Education                           2           4         4          4           0         4

                                                         HIGH SCHOOLS
  HIGH                                   GREATSCHOOLS    PARENT      SCHOOL    GRADES   DISTANCE        CITY     TOTAL
  SCHOOLS                                   RATING        RATING      TYPE     SERVED   FROM SBJ.     LOCATION ENROLLMENT
  Yates High School                               1         3         public    9-12     1.12 miles    Houston    814
  Austin High School                              2         3         public    9-12     1.61 miles    Houston    1,845
  Early College Academy At Southridge             10        5         public    9-12     1.80 miles    Houston    417
  Eastwood Academy                                10        3         public    9-12     1.90 miles    Houston    427
  Energy Institute High School                    5         4         public    9-12     2.00 miles    Houston    706
  Debakey High School For Health Prof             10        4         public    9-12     2.02 miles    Houston    890
  Young Women's College Prep Academy              8         3         public    6-12     2.39 miles    Houston    513
  Houston Academy For International               8         4         public    9-12     2.47 miles    Houston    487
  Jones High School                               6         3         public    9-12     2.49 miles    Houston    430
  Hcc Life Skills Program                         -         -         public     12      2.75 miles    Houston     53
  Source: GreatSchools.org




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                 20
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 29 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 30 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 31 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 32 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 33 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 34 of 134
LOCAL AREA
       CaseANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 35 of 134
CONTINUED                                                                                                 DAL210584


SUBJECT PROPERTY ANALYSIS
The following discussion draws context and analysis on how the subject property is influenced by the local and
immediate areas.
Subject Property Analysis
The uses adjacent to the property are noted below:
   ›   North - Brays Bayou/Jogging Trails
   ›   South - Single Family Development
   ›   East - Macgregor Park
   ›   West - Single Family Development
Access
The subject site has a corner location with frontage on two arterials. Based on our field work, the subject’s
access is rated average compared to other properties with which it competes.
Visibility
The subject is clearly visible in both directions along the fronting streets. The visibility of the property is not
hampered by adjacent properties, trees or other obstructions. In comparison to competitive properties, the
subject property has good visibility.
Subject Conclusion
Trends in the local and immediate areas, adjacent uses and the property’s specific location features indicate an
overall positive external influence for the subject, and is concluded to have an average position in context of
competing properties.
SUMMARY
In summary, the subject represents a homogeneous land use within the neighborhood near the campus of The
University of Houston. The local area near and around the campus is conveniently accessible by several major
traffic routes. The defined area represents a mature and established market. Development includes a
complimentary mix of residential and commercial development, generally constructed within the past 5 to 60
years. The local area is currently in the stability phase of the life cycle with only a minimal amount of new
development in recent years. The local area and the subject neighborhood should remain a desirable investment
market in the foreseeable future with stable property values.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      27
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 36 of 134
SITE DESCRIPTION
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 37 of 134
CONTINUED                                                                                                   DAL210584


Exposure                      Average - The subject has adequate visibility and exposure along South
                              MacGregor Way and Calhoun Road. The property is proximate to University of
                              Houston (UH) and within walking distance to the campus.
Seismic                       The subject is in a low risk zone.
Flood Zone                    Zone X (Shaded). This is referenced by Community Number 480296, Panel
                              Number 48201C0880M, dated January 06, 2017. Zone X (shaded) is a moderate
                              and minimal risk area. Areas of moderate or minimal hazard are studied based
                              upon the principal source of flood in the area. However, buildings in these zones
                              could be flooded by severe, concentrated rainfall coupled with inadequate local
                              drainage systems. Local stormwater drainage systems are not normally
                              considered in a community’s flood insurance study. The failure of a local drainage
                              system can create areas of high flood risk within these zones. Flood insurance is
                              available in participating communities, but is not required by regulation in these
                              zones. Nearly 25-percent of all flood claims filed are for structures located within
                              these zones. Moderate risk areas within the 0.2-percent-annual-chance
                              floodplain, areas of 1-percent-annual-chance flooding where average depths are
                              less than 1 foot, areas of 1-percent-annual-chance flooding where the
                              contributing drainage area is less than 1 square mile, and areas protected from
                              the 1-percent-annual-chance flood by a levee. No BFEs or base flood depths are
                              shown within these zones. (Zone X (shaded) is used on new and revised maps in
                              place of Zone B.) Zone AE. This is referenced by Community Number 480296,
                              Panel Number 48201C0880M, dated January 06, 2017. Zone AE is a High Risk
                              Special Flood Hazard Area (SFHA). Special Flood Hazard Areas represent the
                              area subject to inundation by 1-percent-annual chance flood. Structures located
                              within the SFHA have a 26-percent chance of flooding during the life of a
                              standard 30-year mortgage. Federal floodplain management regulations and
                              mandatory flood insurance purchase requirements apply in these zones. Areas
                              subject to inundation by the 1-percent-annual-chance flood event determined by
                              detailed methods. BFEs are shown within these zones. (Zone AE is used on new
                              and revised maps in place of Zones A1–A30.)

Easements                     A preliminary title report was not available for review. During the on-site inspection,
                              no adverse easements or encumbrances were noted. This appraisal assumes that
                              there is no negative value impact on the subject improvements. If questions arise
                              regarding easements, encroachments, or other encumbrances, further research is
                              advised.
Soils                         A detailed soils analysis was not available for review. Based on the development
                              of the subject, it appears the soils are stable and suitable for the existing
                              improvements.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                        29
SITE DESCRIPTION
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 38 of 134
CONTINUED                                                                                                DAL210584


Hazardous Waste               We have not conducted an independent investigation to determine the presence
                              or absence of toxins on the subject property. If questions arise, the reader is
                              strongly cautioned to seek qualified professional assistance in this matter. Please
                              see the Assumptions and Limiting Conditions for a full disclaimer.
Conclusion                    Overall, the subject site is considered an adequate residential site in terms of its
                              location, exposure, and access to employment, education and shopping
                              centers/restaurants. All of these characteristics provide supporting uses for the
                              subject site making it desirable for multifamily development. Overall there are no
                              known factors that would limit the site's development according to its highest and
                              best use.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     30
EXHIBITSCase 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 39 of 134
                                                                               DAL210584


PLAT MAP




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                          31
EXHIBITSCase 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 40 of 134
CONTINUED                                                                      DAL210584


FLOOD MAP




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                          32
IMPROVEMENT   DESCRIPTION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 41 of 134
                                                                                                              DAL210584


Introduction                     The information presented below is a basic description of the existing
                                 improvements. This information is used in the valuation of the property. Reliance
                                 has been placed upon information provided by sources deemed dependable for
                                 this analysis. It is assumed that there are no hidden defects, and that all structural
                                 components are functional and operational, unless otherwise noted. If questions
                                 arise regarding the integrity of the improvements or their operational components,
                                 it may be necessary to consult additional professional resources.
Property Type                Multifamily - Student Apartment
Number of Units              115
Number of Beds               347
Beds Per Unit Ratio          3.02
Average Unit Size            1,049 SF
Total     Number          of 1
Buildings
Number of Stories            5
Development Density          62.4 Units/Acre (115 Units / 1.84 Acres)
Net Rentable Area (NRA) 120,661 SF
Gross     Building      Area 229,266 SF
(GBA)
Parking Total                290 (Garage)
  Open Parking Spaces        -
  Covered Parking Spaces     -
  Detached Garage Spaces -
  Parking Garage Spaces      290
  Parking Comment            Parking is adequate and is consistent with the other projects in the market
  Parking Spaces/Unit        2.5
Year Built                   2014
Age/Life Analysis
  Actual Age                 7 Years
  Effective Age              5 Years
  Economic Life              55 Years
  Remaining Life             50 Years
Quality                      Average/Good
Condition                    Average/Good
Marketability                Average




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                          33
IMPROVEMENT   DESCRIPTION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 42 of 134
CONTINUED                                                                                              DAL210584



                                                              UNIT MIX
                   UNIT TYPES                   NO. UNITS NO. BEDS % OF TOTALUNIT SIZE (SF)         NRA (SF)
                   Efficiency, WDP                  5         5       4.3%            350              1,750
                   Efficiency, WDP                  5         5       4.3%            358              1,790
                   1 Bed / 1 Bath, WDP              5         5       4.3%            488              2,440
                   1 Bed / 1 Bath, WDP              5         5       4.3%            501              2,505
                   2 Bed / 2 Bath, WDP             13        26     11.3%             794             10,322
                   2 Bed / 2 Bath, WDP              5        10       4.3%            853              4,265
                   2 Bed / 2 Bath, WDP              5        10       4.3%            945              4,725
                   2 Bed / 2 Bath, WDP              3         6       2.6%            937              2,811
                   3 Bed / 3 Bath, WDP              1         3       0.9%          1,060              1,060
                   2 Bed / 2 Bath, Dbl Occ, WDP    10        40       8.7%          1,082             10,820
                   4 Bed / 4 Bath, WDP              5        20       4.3%          1,336              6,680
                   4 Bed / 4 Bath, WDP              5        20       4.3%          1,460              7,300
                   4 Bed / 4 Bath, WDP             29       116     25.2%           1,244             36,076
                   4 Bed / 4 Bath, WDP              5        20       4.3%          1,219              6,095
                   4 Bed / 4 Bath, WDP             14        56     12.2%           1,573             22,022
                   TOTAL/AVERAGE                  115       347      100%           1,049            120,661
                   TOTAL NET RENTABLE AREA (NRA)                                                     120,661
                   Office / Clubhouse                                                                  3,929
                   Garage / Common Area                                                              104,676
                   TOTAL GROSS BUILDING AREA (GBA)                                                    229,266

                              WDP = washer/dryer provided
                              The unit sizes were provided by the subject manager and rent roll. Clubhouse and
                              Parking Garage area based on information provided by the appraisal district
Basic Construction            Wood frame
Foundation                    Reinforced concrete slab
Framing                       Wood post and beam
Exterior Walls                Brick, Hardi board siding and stucco
Roof Type                     Flat deck roof
Roof Cover                    TPO Membrane Surface
Insulation                    Exact type unknown, assumed adequate (R-type) and to code for both walls and
                              ceilings.
Plumbing                      Each bathroom includes a toilet, sink, and a shower/tub kit with wall-mounted
                              showerhead. Kitchens include a sink, garbage disposal, and a dishwasher. All units
                              have a full size washer/dryer provided.
Air Conditioning              Central HVAC
Heating                       The units are heated with a forced-air heating system.
Hot Water                     Each unit has an individual electric hot water heater.
Lighting                      Each unit has adequate lighting (Fluorescent lights in the kitchen, incandescent
                              lighting fixtures elsewhere).




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     34
IMPROVEMENT   DESCRIPTION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 43 of 134
CONTINUED                                                                                                 DAL210584


Electrical                    Each unit is separately metered, although the property covers all electric expenses
                              up to $25/month per resident.
Interior Walls                Painted and medium textured finish on gypsum board.
Ceilings                      Painted and medium textured finish on gypsum board.
Windows                       Windows are double pane vinyl sliders with horizontal mini-blinds.
Doors                         Exterior doors are typically steel with peepholes. Interior doors are hollow, painted
                              wood.
Flooring                      Floor coverings for bath and kitchen areas are vinyl plank. Living areas are a
                              mixture of vinyl plank or carpet. The bedrooms have wall-to-wall carpeting.
Elevators                     Two elevators
Project Amenities             The subject's common amenities include an H2O water deck, club room, fitness
                              center, study rooms, dog park, security access and parking garage.
Unit Amenities                Each unit features a complete stainless steel appliance package (including
                              microwave oven), ceiling fans, walk-in closets, premium flooring and a
                              washer/dryer provided. Units are furnished with a couch, chair, end table coffee
                              table, entertainment stand and television. Bedrooms are equipped with a bed,
                              dresser, desk and chair. Patios/balconies are included in some of the units.
Appliances                    Each unit is equipped with a standard stainless steel appliance package consisting
                              of an electric oven/range combination, dishwasher, microwave oven and
                              refrigerator/freezer.
Laundry                       Washer/dryer provided in all units.
Countertops                   The subject’s units contain granite countertops.
Cabinets                      Typical wood cabinetry
Security                      Each unit is sprinklered and includes a fire/smoke detector and dead bolt.
Fire Protection               The subject has a fire sprinkler system and smoke alarms.
Landscaping                   The subject has a typical amount of landscaping. There are mature plantings
                              surrounding the property. Plantings throughout the property include trees, flowers,
                              mowed lawn, shrubs and hedges. There is a sprinkler system.
Deferred Maintenance          Deferred maintenance is measured as the cost of repairing or restoring the item to
                              new or reasonably new condition. According to the Property Condition
                              Assessment (PCA) Report prepared by f3, Inc. and dated May 27, 2021, there are
                              several deferred maintenance items. First of all, the access gate to the parking
                              garage needs to be repaired and returned to service. The damaged concrete joint
                              sealant needs to be removed and replaced to prevent further storm water intrusion
                              into to parking garage. Select areas of the flat roofs are damaged and need to be
                              inspected and repaired as needed by a licensed roofing contractor. The common
                              breezeways and corridors were damaged by frozen burst pipes during the Winter
                              Storm in February 2021. The microbial growth in the breezeways and corridors
                              needs to be remediated and the walls/ceilings need to be repaired / repainted as
                              needed. In addition, there are four "down" units (119, 225, 416 and 516) with water


© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      35
IMPROVEMENT   DESCRIPTION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 44 of 134
CONTINUED                                                                                               DAL210584


                              damage and mold contamination from frozen burst pipes during the previously
                              mentioned Winter Storm. These units need to be cleaned and renovated in order
                              to return to rent ready condition. Lastly, the parking stall and fire lane markings
                              need to be restriped in the parking garage. The total cost to repair all of the
                              deferred maintenance items equates to $482,450. We have deducted this amount
                              from each of the valuation method conclusions in this appraisal report.
Hazardous Materials           This appraisal assumes that the improvements are constructed free of all
                              hazardous waste and toxic materials, including (but not limited to) asbestos.
                              Please refer to the Assumptions and Limiting Conditions section regarding this
                              issue.
ADA Compliance                This analysis assumes that the subject complies with all ADA requirements. Please
                              refer to the Assumptions and Limiting Conditions section regarding this issue.
Conclusion                    The subject improvements are in average condition for their age and for the
                              surrounding neighborhood. The interiors have Class A standard finish, similar to
                              most other properties in the immediate area. The roofs are reportedly in adequate
                              condition with no roof leaks reported. The property has an attractive design and
                              average curb appeal.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                    36
ASSESSMENT   & TAXATION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 45 of 134
                                                                                                                        DAL210584


INTRODUCTION
Ad valorem real estate taxes are based on the assessed value of real property, hence, the term ad valorem
(according to value). For the subject property, the assessed value is calculated at 100.0% of the market value,
as estimated by Harris County. The assessed value and property tax for the current year are summarized in the
following table.

                                                    ASSESSMENT & TAXES
             Tax Year                  2021                                                 Tax Rate         2.514396
             Tax Rate Area        Harris County                                             Taxes Current        Yes
             APN                       LAND          IMPV          TOTAL       EXEMPTIONS     TAXABLE       BASE TAX
             1343850010001           $4,021,450   $32,091,581    $36,113,031       $0        $36,113,031     $908,025
             Totals                  $4,021,450   $32,091,581    $36,113,031       $0        $36,113,031     $908,025
             Total/Unit               $34,969      $279,057       $314,026         $0         $314,026         $7,896
             Total/SF (NRA)            $33.33       $265.96        $299.29        $0.00        $299.29          $7.53
             Total Base Tax                                                                                  $908,025
             Total Base Tax Per Unit                                                                           $7,896
             Total Base Tax Per SF (NRA)                                                                        $7.53
             Source: Harris County Assessment & Taxation

The subject’s historical tax assessment trend is detailed in the chart below:

                                            SUBJECT HISTORICAL TAX ANALYSIS
                              TAX YEAR                          TAXABLE                      %∆
                              2017                              $27,000,000                    -
                              2018                              $31,016,116                  15%
                              2019                              $31,564,230                   2%
                              2020                              $36,593,609                  16%
                              2021                              $36,113,031                  -1%
                              Appraiser's Projection           $18,800,000                  -47.9%
                              Source: Harris Assessment & Taxation


The total taxable value for the subject property is $36,113,031, which equates to $314,026/Unit and
$104,072/Bed. There are no exemptions in place. Total taxes for the property are $908,025 or $7,896/Unit and
$2,617/Bed.
In Texas, the amount of tax is determined by the product of the tax rate and the assessed valuation of the
property. The tax rate is set each year by the governing bodies of local taxing entities such as county
commissioners, school boards, cities and special districts, usually in October. It includes multiple individual
charges for flood, schools, hospitals, utilities, and general city and county levies. The assessed valuation of each
piece of property is set by the county assessor according to state statutory guidelines. The subject property is
not encumbered by bonds.
The State of Texas is a non-disclosure state, meaning that the sales price of a property does not have to be
revealed to the public. Therefore, property taxes are not automatically increased to the sales price of the property.
Additionally, the Texas Constitution requires that taxation of properties must be "equal and uniform." Therefore,
the assessment for a property must be similar to comparable properties in the area.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                   37
ASSESSMENT   & TAXATION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 46 of 134
CONTINUED                                                                                                                                  DAL210584


TAX COMPARABLES
To determine if the assessment and taxes on the subject property are reasonable, we considered historical
information, as well as information from similar properties in the market. They are illustrated in the table below.
                                                       TAX COMPARABLES
                  SUBJECT            COMP 1           COMP 2           COMP 3         COMP 4             LOW               HIGH        AVG


Property Name     Vue on MacGregor Campus Vue         The Icon         Tower 5040     The Proper         -                 -           -


                                                                                      4971 Martin
                  4460 South         4459 North                        5040 Calhoun
Address                                            3509 Elgin Street                  Luther King Jr.,   -                 -           -
                  MacGregor Way      MacGregor Way                     Road
                                                                                      Boulevard

City, State       Houston, TX        Houston, TX      Houston, TX      Houston, TX    Houston, TX        -                 -           -

Year Built        2014               2020             2017             2020           2016               2017              2020        2019
Units             115                145              130              147            235                130               235         164
Beds              347                465              380              291            535                291               535         418
NRA               120,661            159,103          129,425          108,660        243,690            108,660           159,103     160,220
Avg. Unit Size    1049               1097             996              739            1037               739               1,097       967
Taxable $         $36,113,031        $47,618,469      $35,760,719      $44,791,955    $66,910,682        $35,760,719       $66,910,682 $48,770,456
Taxable $/Unit    $314,026           $328,403         $275,082         $304,707       $284,726           $275,082          $328,403    $298,230
Taxable $/Bed     $104,072           $102,405         $94,107          $153,924       $125,067           $94,107           $153,924    $118,876
Taxable $/SF      $299.29            $299.29          $276.30          $412.22        $274.57            $274.57           $412.22     $315.60




CONCLUSION
All the tax comparables are located in the vicinity of the subject and are considered direct competitors. Please
note that we did not include Comparable Rent 2 due to the fact that this property is owned and operated by the
University of Houston and has a tax exemption in place. The subject’s 2021 assessment was slightly decreased
from the previous year, and appears in-line with the other nearby student housing properties. However, the
current assessed value appears to be extremely high in relation to the appraised value in this report. Overall,
we have projected a stabilized assessment that falls well below the current amount and below the comparable
range on a per unit and per bed basis. Our projected stabilized assessment is deemed to be reasonable and
similar to our As Stabilized market value estimate. Based on an analysis of the historical and comparable data,
we conclude the subject's annual stabilized tax burden (based on current tax rates) is estimated as follows:


                                                ESTIMATED STABILIZED TAXES
                         Estimated Stabilized Assessment                                                     $18,800,000
                         Estimated Stabilized Assessment/Unit                                                   $163,478
                         Estimated Stabilized Assessment/Bed                                                     $54,179
                         Estimated Stabilized Assessment/SF                                                      $155.81
                         Current Tax Rate / $100                                                                2.514396
                         Stabilized Taxes Estimate (rounded)                                                    $472,706
                         Stabilized Taxes/Bed                                                                     $1,362
                         Stabilized Taxes/SF of NRA                                                                $3.92




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                       38
ZONING ANALYSIS
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 47 of 134
                                                                                                         DAL210584


INTRODUCTION
Zoning requirements typically establish permitted and prohibited uses, building height, lot coverage, setbacks,
parking and other factors that control the size and location of improvements on a site. The zoning characteristics
for the subject property are summarized below:
                                               ZONING SUMMARY
           Municipality Governing Zoning       City of Houston Planning & Zoning Department
           Current Zoning                      None (N/A)
           Permitted Uses                      Multi-Family
           Current Use                         Multi-Family Apartments
           Is Current Use Legally Permitted?   Yes

ZONING CONCLUSIONS
The subject is located in the City of Houston, which has no formal zoning. According to the City of Houston's
Planning Department, all developments require site plan approval and each building within a development is
subject to its own building permit, in accordance with rules established under Chapter 42, the city's land
development ordinance. The appraisers are aware that the City of Houston references that buildings are subject
to the International Building Code and the International Fire Code, which are published by the International Code
Council. Thus, the City of Houston does not directly impose density, height, setback, parking ratio requirements,
etc; though these are accounted for in the International Building Code and/or Chapter 42. Given that the subject
is occupied, we assume that the property is a legally conforming use with past site plan approval and building
permits issued. The appraisers suggest retaining a compliance letter from the City of Houston for undisputable
determination.
Detailed zoning studies are typically performed by a zoning or land use expert, including attorneys, land use
planners, or architects. The depth of our analysis correlates directly with the scope of this assignment, and it
considers all pertinent issues that have been discovered through our due diligence. Please note that this
appraisal is not intended to be a detailed determination of compliance, as that determination is beyond the scope
of this real estate appraisal assignment.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     39
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 48 of 134
                                                                                                         DAL210584


INTRODUCTION
The market analysis section provides a comprehensive study of supply/demand conditions, examines
transaction trends, and interprets ground level information conveyed by market participants. Based on these
findings and an analysis of the subject property, conclusions are drawn with regard to the subject’s competitive
position within the marketplace. Below is a list of the various sections covered in the following Apartment Market
Analysis:
   ›   National Student Housing Market Analysis
   ›   Houston-The Woodlands-Sugar Land Apartment Market
   ›   Braeswood Place/Astrodome/South Union Apartment Submarket
   ›   Competitive Dataset Analysis
   ›   Broker / Market Participant Interviews
   ›   Transaction Trends
   ›   Subject Property Analysis
INTRODUCTION TO STUDENT HOUSING
The market analysis section provides a comprehensive study of supply/demand conditions, examines
transaction trends, and interprets ground level information conveyed by market participants. Based on these
findings and an analysis of the subject property, conclusions are drawn with regard to the subject’s competitive
position within the marketplace.
The subject is a student housing property that rents by the bed. Though falling within the more broadly-
based category of multi-housing, the facility’s specific design attributes, including small bedrooms in the rental
units themselves and abundant common, social gathering spaces, as well as the unit and complex amenity
characteristics, reveal its original design and development for serving a student population, as opposed to a
standard rental population. Therefore, it is appropriate to examine those factors contributing to the student
housing market, and the trends within that market.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     40
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 49 of 134
CONTINUED                                                                                                                                                                 DAL210584


NATIONAL STUDENT MARKET ANALYSIS
Nationally, enrollment growth is the most important trend driving student housing. According to the U.S.
Department of Education, total national enrollments at degree-granting institutions steadily increased during the
period between 1990 and 2017, from 13.9 to 19.8 million students. This represents an overall increase of 42%
during that time period and an average annual increase of approximately 1.3%. The U.S. Department of
Education projects higher institution enrollment will increase to 20.1 million by 2029, which represents a
decreasing annual growth rate of 0.15%.
                     Table 303.10. Total fall enrollment in degree-granting postsecondary institutions, by attendance status, sex of student, and
                                                             control of institution: Selected years, 1947 through 2029
                                        Attendance status                            Sex of student                           Control of institution
                                                                                                                                              Private
                       Total                                   Percent                                Percent
Year             enrollment     Full-time          Part-time part-time           Male        Female    female        Public      Total      Nonprofit                         For-profit
1                         2             3                  4         5              6               7        8            9        10              11                               12
2015            19,988,204    12,287,512      7,700,692           38.5     8,723,819     11,264,385      56.4    14,572,843 5,415,361      4,065,891                    1,349,470
2016            19,846,904    12,125,314      7,721,590           38.9     8,638,422     11,208,482      56.5    14,585,840 5,261,064      4,078,956                    1,182,108
2017            19,778,151    12,076,141      7,702,010           38.9     8,571,314     11,206,837      56.7    14,571,739 5,206,412      4,108,489                    1,097,923
2018            19,645,918    11,991,721      7,654,197           39.0     8,442,662     11,203,256      57.0    14,529,264 5,116,654      4,134,244                      982,410
2019\5\         19,720,000    12,025,000      7,695,000           39.0     8,470,000     11,250,000      57.0    14,586,000 5,135,000               ---                        ---

2020\5\         19,744,000      12,022,000      7,722,000              39.1    8,476,000      11,268,000         57.1     14,605,000      5,139,000              ---            ---
2021\5\         19,778,000      12,021,000      7,757,000              39.2    8,487,000      11,292,000         57.1     14,633,000      5,145,000              ---            ---
2022\5\         19,813,000      12,027,000      7,786,000              39.3    8,498,000      11,315,000         57.1     14,661,000      5,152,000              ---            ---
2023\5\         19,862,000      12,045,000      7,817,000              39.4    8,515,000      11,346,000         57.1     14,698,000      5,163,000              ---            ---
2024\5\         19,926,000      12,078,000      7,848,000              39.4    8,544,000      11,382,000         57.1     14,747,000      5,179,000              ---            ---

2025\5\          19,993,000     12,120,000       7,873,000            39.4    8,574,000     11,419,000           57.1     14,796,000      5,197,000              ---             ---
2026\5\          20,070,000     12,165,000       7,905,000            39.4    8,608,000     11,463,000           57.1     14,854,000      5,217,000              ---             ---
2027\5\          20,099,000     12,169,000       7,930,000            39.5    8,621,000     11,478,000           57.1     14,877,000      5,222,000              ---             ---
2028\5\          20,110,000     12,159,000       7,951,000            39.5    8,627,000     11,483,000           57.1     14,887,000      5,223,000              ---             ---
2029\5\          20,115,000     12,144,000       7,971,000            39.6    8,630,000     11,485,000           57.1     14,893,000      5,222,000              ---             ---
---Not available.
\1\Degree-credit enrollment only.
\2\Includes part-time resident students and all extension students (students attending courses at sites separate from the primary reporting campus). In later years, part-time
student enrollment was collected as a distinct category.
\3\Large increases are due to the addition of schools accredited by the Accrediting Commission of Career Schools and Colleges of Technology.
\4\Because of imputation techniques, data are not consistent with figures for other years.
\5\Projected.
NOTE: Data through 1995 are for institutions of higher education, while later data are for degree-granting institutions. Degree-granting institutions grant associate’s or higher
degrees and participate in Title IV federal financial aid programs. The degree-granting classification is very similar to the earlier higher education classification, but it includes
more 2-year colleges and excludes a few higher education institutions that did not grant degrees. Some data have been revised from previously published figures.
SOURCE: U.S. Department of Education, National Center for Education Statistics, Biennial Survey of Education in the United States; Opening Fall Enrollment in Higher
Education, 1963 through 1965; Higher Education General Information Survey (HEGIS), "Fall Enrollment in Colleges and Universities" surveys, 1966 through 1985; Integrated
Postsecondary Education Data System (IPEDS), "Fall Enrollment Survey" (IPEDS-EF:86-99); IPEDS Spring 2001 through Spring 2019, Fall Enrollment component; and
Enrollment in Degree-Granting Institutions Projection Model, 2000 through 2029. (This table was prepared December 2019.)


Though still below 10% of total U.S. enrollment, the number of international students is growing, contributing to
the evolving student population. This shift in demographics has the potential to impact the demand for purpose-
built student housing. The international student data included is from the Institute of International Education and
indicates the international student population is growing across the United States, but is primarily concentrated
in two states: California and New York. According to the Institute of International Education, the number of
international students in the U.S. reached the one million mark during the 2015-16 school year, when it
represented 5.2% of total U.S. enrollment. International enrollment grew by nearly 69,000 students that year,
well above the historical average of 25,000 students. While the growth rate for international students has slowed
since then, the percentage of international students within higher education has actually ticked up slightly to
5.5%.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                           41
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 50 of 134
CONTINUED                                                                                                                                                                                                 DAL210584




Most international students seek prestigious schools located in diverse, culture-rich states with a variety of
attractions such as California, New York, Texas, and Massachusetts. The influx of international students to the
U.S. typically contributes to the increase in enrollment, the main driver of student housing.
Undergraduate Enrollment
According to the Department of Education’s December 2019 enrollment figures (most current available), total
undergraduate enrollment in degree-granting postsecondary institutions is projected to be 16.7 million students
in Fall 2020; an increase of 27 percent from 2000, when enrollment was 13.2 million students. Total enrollment
growth was highest between 2000-2010, but decreased through 2018. It is projected to decrease through 2020
before gradually increasing again at a more stable pace through 2029.
                        Table 303.70. Total undergraduate fall enrollment in degree-granting postsecondary institutions, by attendance status, sex of student, and control
                                                                        and level of institution Selected years, 1970 through 2029
                                                                                                    Males                  Females                                       Private
Level and year                                     Part- time
                             Total     Full-time                   Males      Females        Full-time    Part-time  Full-time    Part-time       Public        Total    Nonprofit                           For-profit
1                               2              3            4          5              6              7            8          9           10           11          12            13                                 14
Total, all
  levels

2010                   18,082,427      11,457,040      6,625,387     7,836,282      10,246,145      5,118,975     2,717,307      6,338,065     3,908,080      13,703,000      4,379,427     2,652,993       1,726,434
2011                   18,077,303      11,365,175      6,712,128     7,822,992      10,254,311      5,070,553     2,752,439      6,294,622     3,959,689      13,694,899      4,382,404     2,718,923       1,663,481
2012                   17,735,638      11,097,092      6,638,546     7,714,938      10,020,700      4,984,389     2,730,549      6,112,703     3,907,997      13,478,100      4,257,538     2,744,400       1,513,138
2013                   17,476,304      10,939,276      6,537,028     7,660,140       9,816,164      4,950,210     2,709,930      5,989,066     3,827,098      13,348,292      4,128,012     2,755,463       1,372,549
2014                   17,294,136      10,784,392      6,509,744     7,586,299       9,707,837      4,877,531     2,708,768      5,906,861     3,800,976      13,244,533      4,049,603     2,772,065       1,277,538

2015                   17,046,673      10,603,030      6,443,643     7,502,254       9,544,419      4,809,098     2,693,156      5,793,932     3,750,487      13,150,823      3,895,850     2,822,122       1,073,728
2016                   16,874,649      10,430,068      6,444,581     7,416,859       9,457,790      4,725,510     2,691,349      5,704,558     3,753,232      13,143,979      3,730,670     2,813,742         916,928
2017                   16,773,036      10,371,863      6,401,173     7,351,259       9,421,777      4,683,715     2,667,544      5,688,148     3,733,629      13,112,594      3,660,442     2,819,080         841,362
2018                   16,610,235      10,267,135      6,343,100     7,225,999       9,384,236      4,602,752     2,623,247      5,664,383     3,719,853      13,049,326      3,560,909     2,821,653         739,256
2019\1\                16,673,000      10,296,000      6,377,000     7,250,000       9,423,000      4,612,000     2,638,000      5,684,000     3,739,000      13,100,000      3,573,000            ---             ---

2020\1\                16,692,000      10,293,000      6,399,000     7,254,000       9,438,000      4,608,000     2,646,000      5,685,000     3,753,000      13,118,000      3,575,000             ---             ---
2021\1\                16,721,000      10,292,000      6,428,000     7,263,000       9,457,000      4,606,000     2,657,000      5,686,000     3,771,000      13,142,000      3,578,000             ---             ---
2022\1\                16,750,000      10,297,000      6,452,000     7,273,000       9,477,000      4,606,000     2,667,000      5,692,000     3,785,000      13,167,000      3,582,000             ---             ---
2023\1\                16,790,000      10,312,000      6,478,000     7,288,000       9,503,000      4,610,000     2,678,000      5,703,000     3,800,000      13,201,000      3,590,000             ---             ---
2024\1\                16,845,000      10,341,000      6,504,000     7,312,000       9,533,000      4,622,000     2,690,000      5,718,000     3,814,000      13,244,000      3,600,000             ---             ---

2025\1\                  16,901,000     10,377,000    6,524,000       7,338,000        9,564,000      4,639,000     2,699,000      5,738,000      3,826,000     13,289,000    3,613,000            ---              ---
2026\1\                  16,967,000     10,415,000    6,551,000       7,367,000        9,600,000      4,656,000     2,711,000      5,760,000      3,841,000     13,340,000    3,626,000            ---              ---
2027\1\                  16,991,000     10,419,000    6,572,000       7,378,000        9,613,000      4,658,000     2,720,000      5,761,000      3,851,000     13,361,000    3,630,000            ---              ---
2028\1\                  16,999,000     10,410,000    6,589,000       7,383,000        9,616,000      4,656,000     2,727,000      5,755,000      3,862,000     13,370,000    3,629,000            ---              ---
2029\1\                  17,003,000     10,397,000    6,606,000       7,385,000        9,618,000      4,651,000     2,734,000      5,746,000      3,872,000     13,375,000    3,628,000            ---              ---
---Not available.
\1\Projected.
\2\Beginning in 1980, 2-year institutions include schools accredited by the Accrediting Commission of Career Schools and Colleges of Technology.
NOTE: Data through 1995 are for institutions of higher education, while later data are for degree-granting institutions. Degree-granting institutions grant associate’s or higher degrees and participate in Title IV
federal financial aid programs. The degree-granting classification is very similar to the earlier higher education classification, but it includes more 2-year colleges and excludes a few higher education
institutions that did not grant degrees. Some data have been revised from previously published figures.
SOURCE: U.S. Department of Education, National Center for Education Statistics, Higher Education General Information Survey (HEGIS), "Fall Enrollment in Colleges and Universities" surveys, 1970 through
1985; Integrated Postsecondary Education Data System ( PEDS), "Fall Enrollment Survey" ( PEDS-EF:86-99); PEDS Spring 2001 through Spring 2019, Fall Enrollment component; and Enrollment in
Degree-Granting Institutions Projection Model, 2000 through 2029. (This table was prepared December 2019.)


National trends will inevitably not play out in all markets, and enrollment patterns will vary by university as well
as by the type of institution. For instance, the National Student Clearinghouse Research Center reports that four-
year public institutions have seen increases in enrollment the past four years, four-year private not-for-profit
institutions have experienced modest increases, and the four-year for-profit and two-year public sectors have
seen significant decreases in enrollment.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                                                         42
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 51 of 134
CONTINUED                                                                                                  DAL210584


COVID-19 Enrollment Impact
The National Student Clearinghouse Research Center presented a report dated June 10, 2021 which indicates
a 3.5% annual decline in overall enrollment. This was driven by undergraduate declines of 4.9% (727,000
students) and partially offset by a 4.6% (124,000 students) increases in graduate enrollment. The declines in
undergraduate enrollment were greatest at two-year community colleges. Public four-year colleges were
nominally impacted as noted in the table below:




At the undergraduate level, community colleges exhibited the greatest losses followed by private, non-profit,
four-year institutions. Public four-year institutions are faring much better, but there is a wider variance based on
campus setting. City institutions are doing better than suburban and rural public four-year colleges. However,
community colleges have declined universally, regardless of location.




California led the nation in enrollment loss by headcount with a decrease of nearly 123,000 students. New Mexico
declined the most by percentage by dropping 11.4%. Michigan placed in the top five states for both declining
enrollment (-29,189) and percentage drop (-6.4%). Meanwhile, only seven states increased enrollments, with
New Hampshire rising 10.8% or 18,153 students. Newly added this year, state-level spring enrollments are
broken out by institution sector. See tables 8a and 8b in the report.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       43
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 52 of 134
CONTINUED                                                                                                     DAL210584


Traditional college-age students, 18 to 24, declined 5% or more than 524,000 students, including a steep loss of
13.2% or more than 365,000 students at community colleges. Adult students, 25 or older, show a 1.2% decline
or nearly 75,000 students.
Undergraduate Education Costs
According to the National Center for Education Statistic’s May 2021 report, the average net price of attendance
(total cost minus grant and scholarship aid) for first-time, full-time undergraduate students attending 4-year
institutions was $13,900 at public institutions, compared with $27,200 at private nonprofit institutions and $23,800
at private for-profit institutions (in constant 2019–2020 dollars).




In 2018–19, total revenues at degree-granting postsecondary institutions in the United States were $672 billion
(in current dollars). Total revenues were $416 billion at public institutions, $242 billion at private nonprofit
institutions, and $14 billion at private for-profit institutions. The primary sources of revenue for degree-granting
postsecondary institutions in 2018–19 were tuition and fees; investments; and government grants, contracts,
and appropriations; and auxiliary enterprises. Public institutions received the largest proportion of their revenues
from government sources (including federal, state, and local government grants, contracts, and appropriations),
which constituted 41 percent of their overall revenues, while student tuition and fees constituted the largest
primary source of revenue at private for-profit institutions (91 percent). At private nonprofit institutions, the
category of all other revenue sources (including gifts, capital or private grants and contracts, hospital revenue,
sales and services of educational activities, and other revenue) constituted 36 percent of overall revenues, and
student tuition and fees constituted 32 percent of overall revenues.
In 2018–19, degree-granting postsecondary institutions in the United States spent $632 billion (in current
dollars). Total expenses were $401 billion at public institutions, $219 billion at private nonprofit institutions, and
$12 billion at private for-profit institutions. In 2018–19, instruction expenses per full-time-equivalent (FTE) student
(in constant 2019–20 dollars) was the largest expense category at public institutions ($11,010) and private
nonprofit institutions ($19,150). At private for-profit institutions, the combined category of academic support,




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                          44
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 53 of 134
CONTINUED                                                                                                       DAL210584


student services, and institutional support expenses was the largest category of expenses per FTE student
($10,930).
A bullish sign for student housing is the reported increase in time required for students to graduate. According to
the National Center for Education Statistics, “Between 2010 and 2018, the overall 6-year graduation rate for first-
time, full-time undergraduate students who began seeking a bachelor’s degree at 4-year degree-granting
institutions increased by 4 percentage points, from 58 percent (for students who began their studies in 2004 and
graduated within 6 years) to 62 percent (for students who began their studies in 2012 and graduated within 6
years)”. This increase in length of college career leads to higher total enrollment at any given time. This, in turn,
increases demand for student housing.
Supply & Demand
Student housing development has been fairly
consistent over the past nine years. About 40,000 to
50,000 student housing beds have delivered
annually, excepting two peak years in 2013 and
2014. That consistency will again be on display in
Fall 2021 when 42,000 new purpose-built off campus
student housing beds are scheduled to deliver.
Within the core 175 universities, 10 will see
significant new supply of 1,000 or more beds this fall.
Many of those universities have experienced a
supply boom in recent years. Beyond the 11 schools
with more than 1,000 new beds delivering, an
additional dozen or so will see between 750 and
1,000 new beds in Fall 2021.
According to RealPage data from May 2021, Student housing Fall 2021 pre-leasing is been improving. April
proved to be the strongest month so far, bringing significant improvement in several key metrics. As schools
                                                                announce reopening plans for the Fall 2021
                                                                academic year with a heavier emphasis on in-
                                                                person learning, students and their parents
                                                                appear more confident in committing to a lease. As
                                                                a result, pre-leasing jumped nearly 10% between
                                                                March and April, and modest rent growth returned,
                                                                in a much-needed boost to an otherwise sluggish
                                                                season. As COVID-19 cases decrease and
                                                                vaccines become more widely available, it seems
                                                                possible that April could mark a turning point
                                                                toward an improved leasing environment. Pre-
                                                                leasing still significantly trails past years’ rates, but
if monthly gains continue at this pace, that might not be the case for much longer. After March 2020, pre-leasing
for the Fall 2020 school year softened as college campuses closed and uncertainty loomed.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                            45
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 54 of 134
CONTINUED                                                                                                  DAL210584


In another positive sign, at least mild annual effective rent growth has returned across product at all distances
from campus. After annual rent change hit 0% in March, rates ticked up 0.5% in April. Properties more than one
mile from campus are seeing the strongest annual
rent growth at 0.8%, followed by 0.6% growth in
properties a half-mile to one mile from campus and
0.3% growth in properties within a half-mile of
campus. Another positive performance metric can be
seen with in-place occupancy, or the measure of how
many students are physically occupying their leased
beds. Starting in March 2020, in-place occupancy fell
slightly every remaining month of the school year. For
the Fall 2020 school year, the opposite has been true.
In-place occupancy had ticked up every month since
August.
Student Demand
Off-campus housing trends have become more upscale; as students now look for amenities typically associated
with apartment living that rarely exist in dorm environments. Proximity to campus is their first priority. Today’s
students want to be able to walk to their classrooms, to their nightlife, and, if applicable, to Greek housing.
Another high priority—particularly for the parents—is safety. Parents want to know that their child is in a safe and
secure environment. Students want to feel like they are getting good value for their dollar, and with many new
student housing facilities, they are paying higher rents than they did for on-campus housing, so they have to feel
that they are getting enough bang for their buck.
High-speed internet access throughout a community
is probably the most important amenity. Other
important amenities would include fitness rooms,
study rooms, and—particularly in southern
climates—a swimming pool.
New developments with ample amenities and high-
end finishes command much higher rents than older,
existing housing stock. Looking at individual assets,
properties located closer to campus continue to see
stronger results.
Investment and Capital Markets
As with conventional multifamily transactions in 2020, student housing investment softened during the COVID-
19 pandemic. However, investment activity is coming back to the sector. In total, some $5.8 billion worth of assets
traded in the year-ending March 2021, according to Real Capital Analytics. That was down about 9.2% annually.
During the last year, the sales volume dipped as low as $4.1 billion in September, but has been steadily climbing
since




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       46
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 55 of 134
CONTINUED                                                                                              DAL210584




The last few months of 2020 and the first few of 2021 showed an uptick in total investment volume, suggesting
that investor appetite pulled back due to the pandemic rather than due to broader shifting sentiments. One year
ago, in March 2020, student housing investment was at $6.4 billion, roughly $590 million over today’s volume.
In March 2019, the annual investment volume stood at more than $11.2 billion, or nearly double March 2021’s
rate. The recent peak for student housing investment was in late 2018, which can be attributed to Greystar Real
Estate Partner’s $4.6 billion acquisition of EdR. Once 12 months had passed from that prolific transaction, the
sales volume moderated back to baseline.
In the year-ending March 2021, a little more than 33,800 beds traded, compared to about 29,300 in the previous
year. That was the result of some 191 individual properties trading. Meanwhile, cap rates remain stubborn at
5.4%, down about 30 basis points year-over-year. Most purchases in the past year came from cross-border
investors, and most dispositions came from institutional and/or equity funds, according to RCA data
The following charts were provided by RealCapital Analytics and illustrate sales volume, pricing, and cap rate
trends.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      47
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 56 of 134
CONTINUED                                                                                                 DAL210584




Once an overlooked niche, the student housing sector is attracting increased attention from major investors, who
see the sector as offering less rental growth volatility and a recession-resistant hedge to conventional
apartments.
The prevalence of deeper pocketed capital chasing core and value-add student housing has benefitted the
private market in terms of liquidity and stability over the long-run. Private buyers have become a larger
percentage of the buyer pool as student housing evolved from a niche sector to an accepted institutional property
sector over the past two decades. The chart presented below was provided by RealCapital Analytics and
illustrates the source of local capital flows and investment activity.




The fundamentals of the student housing industry remain stable, and student housing product has become a
mainstay in most real estate investment portfolios. The sector continues to enjoy a historically low interest rate
environment and widely available financing. New supply could have impacts on cap rates in the medium term;
however, current trends are still that of compression.
National Student Housing Market Analysis Conclusions
The data seems to support overall improvement for student housing fundamentals – a trend that generally
echoes broader, improving sentiment among Americans hopeful for a return to their pre-pandemic way of life.
Reports continue to describe an increase in college applications as students anticipate a more normal campus
life when classes resume in the Fall. That anticipation stems from announcements by several universities of a
return of full capacity, in-person classes and by extension, extracurricular activities such as sporting events and
social clubs for the Fall 2021 year.
Even before the spring figures, there were signs that the U.S. student housing market could be in for turnaround.
RealPage research found that many of the nation’s top performing campuses were among the first to announce
fully on-campus learning. When schools broadcast a more normal Fall semester, performance rebounds. Large
schools that were early to announce in-person classes for Fall 2021 – such as Clemson University, Virginia Tech
and the University of Georgia – are already 80% pre-leased.
There is also an argument to be made for an oncoming surge in leasing. No-show students from Fall 2020 could
return this year and further boost Fall 2021’s prospects. And the international enrollment picture is coming into
focus too. The recent announcement that the U.S. embassy in China has resumed visa processing shows that


© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      48
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 57 of 134
CONTINUED                                                                                                DAL210584


international sentiment for U.S. student housing has improved. The tight turnaround required to process visas in
time for school may preclude a significant boost for Fall 2021, but it serves as yet another indication of an
inflection point.
However, some uncertainty remains. Any number of influences could shift and slow the newfound momentum.
Recent leasing news has been positive and investor sentiment points toward potential for additional
improvement. Despite the difficulties of the previous year, student housing investment volumes remain within
10% of their pre-pandemic level. It is still somewhat early to tell if recent data portend longer term improvement
trends or if they will be fleeting. However, that looks less and less likely as other positive indicators emerge.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     49
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 58 of 134
CONTINUED                                                                                              DAL210584


HOUSTON-THE WOODLANDS-SUGAR LAND METRO APARTMENT MARKET ANALYSIS
The following is an analysis of supply/demand trends in the Houston-The Woodlands-Sugar Land Apartment
Market using information provided by MPF Research, widely recognized as a market leader in Apartment data
and statistics. Through their coverage of the MPF-100, a collection of the 100 largest primary and secondary
markets in the US, data is primarily sourced at the floor-plan, transaction level. This is made possible through
MPF’s sister company relationship with RealPage, the developers of YieldStar and OneSite revenue and
property management software suites, resulting in access to access individual lease transactions for roughly 3.7
million units.
We will first analyze the metro market, followed by the submarket. The following map highlights MPF’s coverage
of the Houston-The Woodlands-Sugar Land Metro Market and the individual submarkets tracked. The subject is
located within the Braeswood Place/Astrodome/South Union submarket denoted as (12) below.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                   50
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 59 of 134
CONTINUED                                                                                                                                         DAL210584


Current Market Snapshot
The table below presents a current quarter snapshot of key indicators for the Houston-The Woodlands-Sugar
Land Metro Market.
        HOUSTON-THE WOODLANDS-SUGAR LAND MARKET AT A GLANCE                                                                            2021 Q1
                                      TOTAL       OCCUP-      ABSORP. NEW INV. REMOVALSINVENTORYINVENTORY UNDER                        NEAR-TERM
                                      UNITS      ANCY (%)      (UNITS)        (UNITS)       (UNITS)    UNITS ∆      %∆       CONST. DELIVERIES1
      INVENTORY                       712,376      92.5%          722             4,766        0        4,766       0.7%      22,889   15,750
                                                             BY VINTAGE                                      BY STYLE
      CATEGORY                        2000+         1990s       1980s             1970s   PRE-1970s LOW-RISE MID-RISE HIGH-RISE          TOTAL
      Occupancy                       93.0%        93.0%        92.8%             91.2%      91.5%      92.7%      92.1%      89.6%       92.5%
      Quarterly Occ. ∆                 -0.1%        -0.6%       -0.9%             -0.9%      -0.6%      -0.7%       0.2%       0.1%       -0.5%
      Annual Occ. ∆                    -0.7%        -0.8%       -0.7%             -0.8%      -1.1%      -0.5%      -1.5%      -3.3%       -0.7%
      Rent ($/mo.)                    $1,340       $1,145        $884             $854       $948       $1,009     $1,403     $2,070     $1,098
      Rent ($/sf)                      $1.38        $1.25        $1.10            $1.03      $1.10      $1.15      $1.49      $2.02       $1.23
      Annual Revenue ∆2                -4.8%        -3.9%        0.6%             -0.4%      -3.8%      -0.9%      -9.4%      -11.6%      -3.0%
      % Offering Concessions          40.8%        45.9%        45.3%             47.6%      46.5%      43.8%      45.8%      44.1%       44.0%
      Avg. Concession                  6.3%         4.3%         3.7%             4.9%       4.1%       4.4%        7.2%       9.9%       5.3%
      Qtr. Same-Property Rent ∆        0.3%         0.8%         0.5%             0.8%       -0.2%      0.6%        0.0%       0.3%       0.5%
      Ann. Same-Property Rent ∆ -4.1%               -3.1%        1.2%             0.4%       -2.7%      -0.4%      -7.9%      -8.3%       -2.3%
                                  1                                           2
      Source: MPF Research®           Delivering within next four quarters.       Annual Revenue Change = Annual Occ. Change + Annual Rent Change

Occupancy
As presented, the Houston-The Woodlands-Sugar Land market maintains a current inventory of 712,376 units,
up approximately 0.70% (4,766 units) from the previous quarter. The current market-wide occupancy rate of
92.5% is indicated through a range extending from 89.6% to 93.0% across all property styles and vintages. When
compared to the previous quarter, the market-wide average occupancy rate has decreased 0.5%. On a current-
quarter annualized basis, occupancy rates have decreased 0.7%.
Rental Rates / Revenue
On a per unit basis, rental rates by vintage range from a low of $854 per month to a high of $1,340 per month.
When analyzed on the basis of style, rental rates range from $1,009 (low-rise) to $2,070 (high-rise). In total, the
market-wide inventory-weighted average rental rate is $1,098 per unit per month. On a per square foot basis,
rental rates range from a low of $1.03 to a high of $1.38 when analyzing property vintage and $1.15 to $2.02
when analyzed by property style. In aggregate, the market-wide average rental rate is $1.23 per square foot.
Annual revenue change, defined as annual occupancy change plus annual rent change represents a decrease
of -3.0% versus the previous same-quarter annual period.
Concessions
Analyzed by vintage, the percentage of properties currently offering concessions range from 40.8% (2000+) to
47.6% (1970s). When singularly analyzing property style, this range shifts to a low of 43.8% (low-rise) to a high
of 45.8% (mid-rise). An aggregate, market-wide average of 44.0% is indicated.
The average concession given ranges from 3.7% to 6.3% (vintage) and 4.4% to 9.9% (style) of potential gross
income. An inventory-weighted average across all vintages and styles of 5.3% of potential gross income is
indicated.
Trailing Metro Performance
Key supply/demand, occupancy, rental rate, and concession statistics for available trailing annual and quarterly
periods are summarized below.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                             51
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 60 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 61 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 62 of 134
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 63 of 134
CONTINUED                                                                                                                            DAL210584


        CONCESSIONS AS PERCENT OF PGI                               HOUSTON-THE WOODLANDS-SUGAR LAND METRO
                                                     BY VINTAGE                                     BY STYLE
              PERIOD             2000+       1990s      1980s        1970s       PRE-1970s LOW-RISE MID-RISE HIGH-RISE        TOTAL
                2016             7.0%        4.8%        4.0%         4.3%         3.7%     5.0%            6.9%   9.1%       5.5%
                2017             5.5%        3.8%        3.1%         3.4%         3.6%     3.4%            6.6%   8.3%       4.3%
                2018             5.4%        3.1%        3.4%         4.2%         3.7%     4.0%            5.6%   7.0%       4.5%
                2019             5.0%        3.4%        3.3%         3.9%         3.3%     3.5%            5.1%   8.8%       4.2%
                2020             6.2%        4.0%        3.5%         4.3%         4.4%     4.1%            6.8%   10.9%      5.1%
              2020 Q2            4.7%        3.4%        3.5%         4.1%         3.6%     3.8%            5.0%   6.4%       4.2%
              2020 Q3            5.9%        3.9%        3.0%         3.9%         3.6%     3.9%            5.9%   9.3%       4.7%
              2020 Q4            6.2%        4.0%        3.5%         4.3%         4.4%     4.1%            6.8%   10.9%      5.1%
            2021 Q1         6.3%             4.3%         3.7%        4.9%         4.1%     4.4%            7.2%   9.9%       5.3%
      Source: MPF Research®


Metro Construction Activity
              CONSTRUCTION ACTIVITY SUMMARY HOUSTON-THE WOODLANDS-SUGAR LAND METRO
                                                                                             UNITS UNDER             UNITS
            CATEGORY                                                                        CONSTRUCTION           COMPLETED1
             Conventional (Market)                                                                 28,701            18,037
            TOTAL                                                                                  28,701            18,037
            Source: MPF Research® 1Properties completed in the last 4 quarters

Within the Houston-The Woodlands-Sugar Land Metro area, there are a total of 28,701 conventional units
currently under construction highlighted by activity in the Greater Heights/Washington Avenue,
Downtown/Montrose/River Oaks and Katy submarkets. There are currently 945 units under construction within
the subject’s submarket and 0 units have delivered within the past four quarters.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                55
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 64 of 134
CONTINUED                                                                                                  DAL210584


The following table sets forth the detailed construction activity, by submarket, for conventional properties in the
market.
         CONVENTIONAL CONSTRUCTION DETAIL HOUSTON-THE WOODLANDS-SUGAR LAND METRO
                                                                            UNITS UNDER          UNITS
       CATEGORY                                                             CONSTRUCTION      COMPLETED1
        Downtown/Montrose/River Oaks                                            3,860            1,374
        Greenway/Upper Kirby                                                    2,272             370
        Greater Heights/Washington Avenue                                       4,494            2,255
        East Inner Loop                                                          331              292
        Spring Branch                                                            660              357
        Northwest Houston                                                        378              263
        North Central Houston                                                     0               270
        Northeast Houston                                                        352              251
        Hobby Airport                                                             0               252
        Gulfton/Westbury                                                         336              338
        Bear Creek                                                               415              817
        Katy                                                                    2,604            3,041
        Cypress/Waller                                                           602             1,148
        Champions West                                                            0               686
        Spring/Tomball                                                          2,386            1,696
        The Woodlands                                                           1,068             750
        Conroe/Montgomery County                                                1,258             552
        Humble/Kingwood                                                         1,577             572
        Baytown                                                                   0               700
        Clear Lake                                                               928              701
        Galveston/Texas City                                                     328              170
        Sugar Land/Stafford                                                      346              902
        Rosenberg/Richmond                                                      1,766             280
        West University/Medical Center/Third Ward                                249               0
        Braeswood Place/Astrodome/South Union                                    945               0
        Galleria/Uptown                                                          383               0
        Memorial                                                                 278               0
        Far West Houston                                                         318               0
        Friendswood/Pearland                                                     567               0
       TOTAL                                                                    28,701           18,037
       Source: MPF Research® 1Properties completed in the last 4 quarters

Market Conclusion
Overall the Houston apartment market has been in a growth stage over the past few years with a high volume
of new construction and development. Effective rent and occupancy levels have remained fairly steady over the
past couple of years. The market should remain desirable in the near term as population and employment growth
are expected to continue at recent levels.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      56
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 65 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 66 of 134
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 67 of 134
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 68 of 134
CONTINUED                                                                                                                                      DAL210584


        PERCENT OF PROPERTIES OFFER
                                  BRAESWOOD
                                    NG CONCESSIONS
                                             PLACE/ASTRODOME/SOUTH UNION SUBMARKET
                                            BY VINTAGE                                  BY STYLE           SUBMARKET METRO VERSUS
         PERIOD         2000+       1990s      1980s   1970s           PRE-1970sLOW-RISE MID-RISE HIGH-RISE TOTAL    TOTAL METRO
            2016        44.4%       0.0%        46.5%         74.9%     100.0%        55.5%     33.2%      0.0%       49.4%      46.7%     
            2017        26.5%       8.7%        56.2%         73.7%      n.a.         52.1%     9.5%       0.0%       40.1%      29.0%     
            2018        25.8%       12.5%       82.5%         72.3%      n.a.         54.4%     21.1%      0.0%       44.3%      35.8%     
            2019        31.3%       14.6%       32.5%         77.6%      0.0%         48.4%     16.6%      77.5%      41.5%      40.4%     
            2020        58.3%       78.9%       55.5%         58.9%      0.0%         67.9%     38.3%      52.0%      59.3%      45.2%     
         2020 Q2        36.0%       11.2%       62.8%         51.4%      0.0%         42.4%     33.4%      81.0%      40.8%      46.4%     
         2020 Q3        38.6%       0.0%        45.7%         32.2%      0.0%         32.2%     32.8%      85.3%      33.8%      45.4%     
         2020 Q4        58.3%       78.9%       55.5%         58.9%      0.0%         67.9%     38.3%      52.0%      59.3%      45.2%     
         2021 Q1      59.0%   16.0%     68.5%      58.6%    0.0%      56.9%     53.0%                      73.7%      56.2%      44.0%     
      Source: MPF Research® Legend:  Outperforming  Underperforming  Similar


    CONCESSIONS AS PERCENT OF PGI                             BRAESWOOD PLACE/ASTRODOME/SOUTH UNION SUBMARKET
                                            BY VINTAGE                                     BY STYLE           SUBMARKET METRO VERSUS
        PERIOD              2000+     1990s    1980s   1970s             PRE-1970s LOW-RISE MID-RISE HIGH-RISE TOTAL    TOTAL METRO
            2016             5.9%      n.a.        3.2%         4.3%       4.8%          5.0%       4.2%       n.a.       4.9%      5.5%        
            2017             2.6%     1.3%         1.0%         3.6%          n.a.       2.7%       0.6%       n.a.       2.6%      4.3%        
            2018             7.5%     4.9%         4.4%         4.0%          n.a.       5.7%       3.2%       n.a.       5.3%      4.5%        
            2019             5.8%     4.7%         3.5%         3.9%          n.a.       4.6%       5.1%      5.3%        4.7%      4.2%        
            2020             6.0%     2.7%         5.2%         5.5%          n.a.       5.3%       5.5%      4.1%        5.3%      5.1%        
        2020 Q2              4.2%     3.2%         2.2%         4.5%          n.a.       4.0%       3.1%      5.3%        3.8%      4.2%        
        2020 Q3              5.7%      n.a.        2.7%         4.1%          n.a.       5.0%       4.1%      7.4%        4.9%      4.7%        
        2020 Q4              6.0%     2.7%         5.2%         5.5%          n.a.       5.3%       5.5%      4.1%        5.3%      5.1%        
        2021 Q1         5.7%     5.3%       5.8%   11.2%       n.a.      7.8%                       5.5%      4.8%        7.0%      5.3%        
  Source: MPF Research® Legend:  Outperforming  Underperforming  Similar


Submarket Construction Activity
The following projects are listed as being currently under construction within the submarket.
  CONSTRUCTION ACTIVITY                         BRAESWOOD PLACE/ASTRODOME/SOUTH UNION SUBMARKET
             PROPERTY                          PROPERTY                NO. OF        NO. OF         PROJECT           START      FINISH
               NAME                               TYPE                 UNITS         STORIES        STATUS            DATE       DATE
            Alta Med Main                      Conventional             338             4       Under Construction    1/1/19     4/1/21
        Barvin Development                     Conventional             281             5       Under Construction    9/1/20     7/1/22
            The Fountains                      Conventional             326             4       Under Construction    3/1/20     3/1/22
                                              TOTAL UNITS:              945
Source: MPF Research®


Within the submarket, there are a total of 945 units within three projects under construction and planned for
completion by July 2022. Each of these new communities represent conventional properties and is not
considered to be a competitor of the subject.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          60
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 69 of 134
CONTINUED                                                                                                DAL210584


UNIVERSITY OF HOUSTON STUDENT HOUSING MARKET
The subject property is located in proximity to The University of Houston.

Enrollment
The following chart details the Full Time historical enrollment trends at The University of Houston from 2010 to
2020.

                                               FULL TIME ENROLLMENT

                                                Undergraduate                      Total Enrollment
                                 YEAR             Enrollment    Total Enrollment     Growth Rate
                                  2010               29,378          38,752               -
                                  2011               30,452          39,820             2.8%
                                  2012               31,367          40,747             2.3%
                                  2013               30,400          39,540             -3.0%
                                  2014               31,722          40,914             3.5%
                                  2015               33,404          42,704             4.4%
                                  2016               34,688          43,774             2.5%
                                  2017               36,088          45,364             3.6%
                                  2018               38,348          46,324             2.1%
                                  2019               37,689          46,148             -0.4%
                                  2020              38,597          47,101              2.1%
                           Source: University of Houston


As shown in the previous chart, total enrollment has steadily increased over the past 10 years.
According to information provided by the University of Houston Residence Department, there are seven on-
campus residence halls with a total capacity of approximately 7,000 beds. The Residence Department did not
provide occupancy rates for the past semester, but did indicate that that the number of residents was down
slightly from the past as a result of fewer students interested in living on campus. This situation is most likely
due to more students living at home and commuting to school as a result of the COVID-19 crisis. The Residence
Department noted that there are no new additional dorm rooms planned to be constructed in the immediate
future. Please note that none of the students at The University of Houston are required to live on campus.
LEASE TERMS
Typical student tenant lease terms range from 7 to 12 months with rates varying accordingly, typically being
higher for shorter lease terms. However, even tenants that sign 12-month leases are typically required to vacate
the premises for two weeks in July so management can turn over the units/bedrooms prior to the upcoming
school year. Accommodations can sometimes be made for tenants that plan to renew their leases.
Parents/guardians are generally required to co-sign lease agreements and finically guarantee the leases for
student housing properties. The subject property is no exception to this and generally requires a parental
guarantee for student leases; however, the subject will accept an additional deposit in lieu of a parental
guarantee, which is not uncommon in the market.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     61
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 70 of 134
CONTINUED                                                                                               DAL210584


BROKER / MARKET PARTICIPANT INTERVIEWS
Interviews with brokers and other market participants were conducted to put previously discussed trends and
data into better context of what is really occurring in the marketplace.

                                      SALES PERSPECTIVE INTERVIEW
            Name                                                        Casey Schaefer
            Company                                                     CBRE
            Location                                                    Dallas, Texas
            Survey Date                                                 2Q 21
            Survey Property Profile                                     Student Housing




According to Casey Schaefer, student housing broker with CBRE, sale transactions slowed down in 2020 due to
the Covid-19 pandemic. Mr. Schaefer did indicate that investment demand has increased again over the past
several months, including several conventional buyers who are making offers on student housing properties. Mr.
Schaefer did indicate that lenders have recently begun looking to provide additional funding for investor
purchases, and thus investment interest has picked up over the past six months. This property type is still
considered to have somewhat limited availability, with few listings offered within the marketplace at the current
time. Currently capitalization rates for stabilized Class A assets generally range from 5.00% to 6.00%. According
to Mr. Schaefer, a potential buyer for the subject would be looking to acquire an asset at a discounted price.
TRANSACTION TRENDS
Sales Volume
The volume of sale transactions for similar assets has been somewhat low over the past 12 months within the
marketplace. This assertion is supported by the comparable sales that were selected for the Sales Comparison
Approach. These sales represent a blend of fairly recent and older transactions, which provides support for the
reported market sales activity. Sales volume is directly impacted by the activity levels of sellers and buyers of
this property type.
Seller Activity
Based on research completed on various listing sources including CoStar and Loopnet, properties similar to the
subject in terms of pricing and overall investment appeal have somewhat limited availability, with few listings
offered within the marketplace. This trend was confirmed with Casey Schaefer during the market participant
interview process, and represents the general sentiment of market participants interviewed for this and other
assignments.
Most Probable Buyer Profile/Activity
In the open market, the subject property type would command most interest from national and regional buyers
that are actively pursuing student housing properties. There is currently strong buyer demand for substitute
properties of the subject based on the information provided by active brokers during confirmation of market
transactions. The most probable buyer is a national and regional investor in student housing.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                    62
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 71 of 134
CONTINUED                                                                                                                       DAL210584


Transaction Trends Conclusion
Based on the preceding analysis, there is a moderate sales market for the subject property type. Investment
interest and demand is slowly increasing over the past six months. As previously discussed, the velocity of sale
transactions has been low over the past couple of years in the market. Currently there is fairly strong buyer
demand, while there is somewhat limited availability for this property type on the supply side.
PEER GROUP ANALYSIS
The most significant supply and demand indicators for the subject are the occupancy rates exhibited by directly
competing student oriented properties. The comparables selected are each leased on a per bed basis, and
located proximate to the subject. These are the same comparables used in our market rent analysis found in the
Income Approach. A summary of student housing properties considered to be primary competition for the subject
is shown below. Please note that Comparable Rent 3 includes two phases and we have only included The Icon
portion (Phase I) since The Lofts portion (Phase II) is still in the initial lease-up phase.

                                                 VACANCY SURVEY AS OF JUNE 2021
            PROJECT                                                                           BEDS    VACANT BEDS    VACANCY
            Vue on MacGregor                                                                   347            129       37.2%
            Campus Vue                                                                         465            107      23.0%
            Cullen Oaks                                                                        716            623      87.0%
            The Icon and The Lofts at The Icon                                                 380             81      21.3%
            Tower 5040                                                                         291             47      16.2%
            The Proper                                                                         535            225      42.1%
            TOTAL/AVERAGE                                                                     2,734          1,212      44.3%
            ADJUSTED AVERAGE (excluding subject and Cullen Oaks)                              1,671           460       27.5%
            Source: Colliers International Valuation & Advisory Services; *Excludes subject


Please note that Cullen Oaks is slightly older and reflects a garden style property. In addition, this property is
owned and operated by the University of Houston, and occupancy should increase once the upcoming school
year begins. According to on-site leasing personnel, the property has typically operated at 85% to 90% in recent
years; however, the number of student residents dropped off significantly for the past school year. Tower 5040
is the newest student housing property and reflects the highest occupancy rate and pre-leased % for the
upcoming school year. As reflected in the chart, the entire student housing market is struggling with excessive
vacancy levels, including the subject.
The level of rental concessions being offered in a market area provides another indication of the level of demand
for apartment units. Concessions are generally not reflected at stabilized properties once the school year begins;
however, many properties have offered some type of concession or leasing incentive during the previous lease-
up season. If certain benchmarks haven’t been met throughout the Spring and Summer lease up season, that’s
typically when stronger, traditional concessions will enter the market if needed. Currently, concessions are still
very prevalent in the market as properties are attempting to fill up excess available units before the start of the
Fall semester.
Tenant Appeal Conclusion
Based on our analysis of the subject property and investigation of comparable properties in the marketplace, the
subject is considered to have average tenant appeal.
Buyer Appeal Conclusion
Based on our analysis of the subject property and investigation of substitute properties in the marketplace, the
subject is considered to have average overall buyer appeal with an average competitive position if the asset was
exposed to the open market.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                           63
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 72 of 134
CONTINUED                                                                                                    DAL210584


General Vacancy Conclusion
As summarized in the table below this market analysis relied on various published data sources and field
research for assessing how supply/demand conditions influence the long-term vacancy estimate of the subject
property.

                                           GENERAL VACANCY CONCLUSION
            REIS                                                   2021 Q1        YTD Avg.   2019 Year End
             Houston-The Woodlands-Sugar Land                         7.5%           7.0%            7.0%
             Braeswood Place/Astrodome/South Union                    9.7%           9.3%            7.5%
            Competitive Set                                          44.3%               -               -
            Competitive Set - Adjusted                               27.5%
            Subject                                                  37.2%               -               -
            GENERAL VACANCY RATE CONCLUSIONS                                                        15.0%




Based on the subject's size, location and appeal, the competitive set and market participant interviews warrant
primary consideration for our projected vacancy conclusion. Based on our research and conversations with
several leasing agents in the local market, the student housing market is very competitive. As of the effective
date of this appraisal, the subject property has a current vacancy rate of 37.2%. The occupancy levels have
declined during 2019, 2020 and 2021; however, the subject averaged less than 7% vacancy during 2018. Given
the lack of additional new properties planned in the area and continued enrollment growth, the subject should
be able to increase the occupancy level within the next year, especially with aggressive leasing strategies and
efficient management. At some point in the next 12 to 24 months the property should be able to move back
toward the occupancy levels recorded in 2018. Based on our analysis of supply/demand trends and considering
the subject's actual performance and projected trends in the area, a general stabilized vacancy rate of 15.0% is
concluded.
COVID-19 IMPACT
COVID-19 virus (aka coronavirus) is a serious illness and pandemic that has affected the world and more
specifically the United States. The effects thus far include volatility in the stock and capital markets. The impact
to demand and ultimately values for real estate is ongoing, with certain asset classes being impacted more than
others; however, there is still a relatively wide range of viewpoints on the potential impact. The range of views
from market participants suggests the risk premium is widening and we should analyze implications to both near-
term and longer-term valuation assumptions. Real estate as an investment type historically takes a longer period
of time to be impacted in comparison to alternative investment types, such as stocks and bonds. CIVAS
professionals have consulted with market participants in preparation of this assignment to understand and best
address how the subject property may be impacted.
Based on our discussions with investors and advisors, and other market participants active in the student housing
asset class as presented in the market analysis, their input suggests that more normal operational patterns are
expected to return in the future, recognizing that on campus classes and student life may change materially in
the coming 1-2 years as we adapt to the impact of COVID-19. Many universities (especially larger tier 1
campuses) utilized on-line classes for a large percentage of their undergraduate coursework in Spring 2020; and
many offered on-line options in Fall 2020. Market participants report that there is an increase in student
populations returning to campus in the Fall of 2021.
With respect to student housing, current market feedback indicated that there was a pullback in transaction
activity given the uncertainty of operations in the near term. However, current data indicates that enrollment
levels at most schools remains elevated with minimal drop-off in leasing activity. Feedback from investors is that


© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                        64
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 73 of 134
CONTINUED                                                                                                 DAL210584


there may be requests to discount rents if on-line courses become the norm; however, in the case of many
schools, the many students remained on-campus and lived on or near campus. Market feedback indicates that
presently near-campus student housing is anticipated to return to near occupancy levels previously experienced
for the Fall 2021 semester. Again, this is supported by leasing activity for the current academic year.
While this is an evolving situation with respect to student housing, current market feedback indicates that further
clarity and consensus may take upward to a year to fully understand the impact of COVID-19.
SUMMARY OF MARKET ANALYSIS
Overall, based on an analysis of national, regional and local student housing market trends, combined with
interviews with planners, owners, managers and brokers, the subject’s market is expected to continue to slowly
rebound after new product entered the market. It is our opinion that the student housing properties in the
immediate area will remain stable with slow growth in demand over the next couple of years, given projected
enrollment trends at The University of Houston and lack of additional new construction in the pipeline.
EXPOSURE TIME & MARKETING PERIOD
Exposure time is defined as "The estimated length of time the property interest being appraised would have been
offered on the market prior to the hypothetical consummation of a sale at market value on the effective date of
the appraisal; a retrospective opinion based on an analysis of past events assuming a competitive and open
market" (The Dictionary of Real Estate Appraisal, Appraisal Institute, 2015). Reasonable exposure time is
impacted by the aggressiveness and effectiveness of a property’s exposure to market participants, availability
and cost of financing, and demand for similar investments. Exposure time is best established based the recent
history of marketing periods for comparable sales, discussions with market participants and information from
published surveys.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      65
MARKET ANALYSIS
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 74 of 134
CONTINUED                                                                                                  DAL210584


The following information was taken into consideration to develop estimates of exposure time and marketing
period for the subject property:


                                      EXPOSURE TIME & MARKETING PERIOD
                   SOURCE                        QUARTER       RANGE          AVG LAST Q LAST YR
                   PriceWaterhouse Coopers
                     National Apartment Market    1Q 21       1.0 to   12.0    5.3    5.3     3.9
                   AVERAGE                                    1.0 to   12.0    5.3    5.3     3.9




The availability of acquisition financing factors into exposure time. In recent quarters, financing has been
available for well-positioned commercial real estate, particularly for stabilized assets within core MSAs and
owner/user deals. For second tier or marginal properties, financing has been available but subject to more
stringent requirements. Based on review of the local capital market, we conclude that adequate financing options
would have been available to consummate a sale of the property on the date of value.
Exposure Time Conclusion
The preceding information generally supports an exposure time range from 3 to 6 months for Multifamily (Student
Apartment) properties. The subject property is of average/good quality and is in average/good condition. Based
on its overall physical and locational characteristics, the subject has average overall appeal to investors.
Considering these factors, a reasonable estimate of exposure time for the subject property is six months or less.
Marketing Period Conclusion
Marketing period is very similar to exposure time, but reflects a projected time period to sell the property, rather
than a retrospective estimate. We have reviewed open listings and discussed the market with local participants,
and given the nature of the subject property, we feel that a time period of six months or less is supported for the
subject's marketing period.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       66
HIGHESTCase
       & BEST   USE ANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 75 of 134
                                                                                                            DAL210584


INTRODUCTION
The highest and best use of an improved property is defined as that reasonable and most probable use that will
support its highest present value. The highest and best use, or most probable use, must be legally permissible,
physically possible, financially feasible, and maximally productive. This section develops the highest and best
use of the subject property As-Vacant and As-Improved.
AS-VACANT ANALYSIS
Legal Factors
The legal factors that possibly influence the highest and best use of the subject site are discussed in this section.
Private restrictions, zoning, building codes, historic district controls, and environmental regulations are
considered, if applicable to the subject site. The subject is not zoned. Thus, the potential use that meets the
requirements of the legal permissibility test is open to any development.
Physical & Locational Factors
Regarding physical characteristics, the subject site is irregular in shape and has level topography with average
access and average exposure. The subject is surrounded by a variety of multifamily residential and commercial
uses. Given the subject’s location and surrounding uses, the subject site is desirable for residential development.
Although a mixed-use area, residential is a suitable use with a significant amount of supporting retail and
commercial uses in the immediate area. Of the outright permitted uses, physical and locational features best
support development of a multifamily residential property as market conditions warrant for the site’s highest and
best use as-vacant.
Feasibility Factors
The financial feasibility of those uses that meet the legal and physical tests discussed is analyzed further in this
section. Supply and demand conditions affect the financial feasibility of possible uses. Indicators of feasibility,
which typically indicate favorable or non-favorable supply and demand conditions, include construction financing
and proposed projects. Financial feasibility factors generally do not support immediate development of the
subject site. If the market continues to improve with stronger demand, development of the subject site may be
feasible within the next few years.
As-Vacant Conclusion
Based on the previous discussion, the subject’s highest and best use as-vacant is concluded to be development
of a multifamily residential property as market conditions warrant.
AS-IMPROVED ANALYSIS
Legal Factors
The subject’s Multifamily (Student Apartment) use (as-improved) is permitted outright.                 The subject
improvements are considered a legal conforming use.
Physical & Locational Factors
The physical and location characteristics of the subject improvements have been previously discussed in this
report. In summary, the subject’s improvements were constructed in 2014 and have a remaining economic life
of 50 years based on our estimate. The project is of average/good quality construction and in average/good
condition, with adequate service amenities. The subject improvements as-improved are sufficiently supported by
site features including its irregular shape, level topography, average access and average exposure. Further, the
subject’s location supports the subject improvements as-improved with similar and homogeneous developments
present in the subject’s immediate market area. Physical and location factors influencing the highest and best
use of the property support the subject’s use as-improved.



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                        67
HIGHESTCase
       & BEST   USE ANALYSIS
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 76 of 134
CONTINUED                                                                                                DAL210584


Alternative Uses & Feasibility Factors
In addition to legal and physical considerations, analysis of the subject property as-improved requires the
treatment of two important issues: 1) consideration of alternative uses for the property; and 2) the marketability
of the most probable use. The five possible alternative treatments of the property are demolition, expansion,
renovation, conversion, and the subject’s use as-improved.
   ›   Demolition The subject improvements contribute significant value above the current land value.
       Therefore, demolition is not applicable in this case.
   ›   Expansion The subject property comprises approximately 1.84 acres (80,244 SF) and is improved with
       a Multifamily (Student Apartment). The subject site does not contain additional site area for expansion;
       therefore, expansion of the subject is not considered a viable option.
   ›   Renovation The subject property is approximately 7 years old and is in average/good condition.
       Renovation, in the form of capital expenditures, would not increase the rent levels or value appreciably.
       For this reason, renovation is not appropriate at the current time.
   ›   Conversion Conversion is neither appropriate nor applicable to this property.
   ›   Continued Use “As-Is” The final option is the continued use of the property "As-Is." This is legal,
       physically possible, and financially feasible. Therefore, continued use, a Multifamily (Student Apartment)
       is considered appropriate.
Among the five alternative uses, the subject’s use as-improved is supported to be its Highest and Best Use.
Marketability Factors
As previously indicated in the Market Analysis, the subject property has average marketability. The condition of
the property reflects average/good maintenance and appeal. In general apartment supply/demand conditions
and immediate market area trends support viable short and long-term operations of the subject’s use as-
improved. Based on our analysis of the subject property and investigation of comparable properties in the
marketplace, the subject is considered to have average tenant appeal. Based on our analysis of the subject
property and investigation of substitute properties in the marketplace, the subject is considered to have average
overall buyer appeal with an average competitive position if the asset was exposed to the open market.
As-Improved Conclusion
Legal, physical, and market considerations have been analyzed to evaluate the highest and best use of the
property. This analysis is presented to evaluate the type of use that will generate the greatest level of future
benefits possible from the property. Based on the previous discussion, the highest and best use of the subject
property as-improved is concluded to be continued use as a multifamily residential property.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     68
VALUATION  METHODS
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 77 of 134
                                                                                                           DAL210584


INTRODUCTION
The following presentation of the appraisal process deals directly with the valuation of the subject property. The
following paragraphs describe the standard approaches to value that were considered for this analysis.
INCOME APPROACH
The Income Approach is based on the premise that properties are purchased for their income producing
potential. It considers both the annual return on the invested principal and the return of the invested principal.
This valuation technique entails careful consideration of contract rents currently in place, projected market rents,
other income sources, vacancy allowances, and projected expenses associated with the efficient operation and
management of the property. The relationship of these income estimates to property value, either as a single
stream or a series of projected streams, is the essence of the income approach. The two fundamental methods
of this valuation technique include Direct Capitalization and Effective Gross Income Multiplier.
•   Direct Capitalization
    This method analyzes the relationship of one year’s stabilized net operating income to total property value.
    The stabilized net operating income is capitalized at a rate that implicitly considers expected growth in cash
    flow and growth in property value over a buyer’s investment horizon. The implied value may be adjusted to
    account for non-stabilized conditions or required capital expenditures to reflect an as is value.
•   Effective Gross Income Multiplier
    Also known as the EGIM, this method is appropriate within the Income Approach because it is recognized
    that purchasers are concerned with the income-producing ability of the property. The EGIM is derived by
    dividing the effective gross annual income of each comparable into the sales price. The EGIM has the
    advantages of simplicity and easy calculation. It is based on the premise that rents and sales prices move in
    the same direction and, essentially, in the same proportion as do net income and sales prices. The EGIM is
    typically used without adjustments. The final selection of an effective income multiplier is based upon the
    applicability of each comparable and a range is established.
Development of the Income Approach is a specific scope requirement of this assignment. Characteristics specific
to the subject property warrant that this valuation technique is developed. The subject is an investment property;
therefore, the Income Approach represents the decision making process of knowledgeable buyers and sellers of
this property type. Direct Capitalization and the EGIM method are both applicable and developed within this
analysis. The resulting opinions of value are correlated into a final value by the Income Approach.
SALES COMPARISON APPROACH
The Sales Comparison Approach is based on the principle of substitution, which asserts that no one would pay
more for a property than the value of similar properties in the market. This approach analyzes comparable sales
by applying transactional and property adjustments in order to bracket the subject property on an appropriate
unit value comparison. The sales comparison approach is applicable when sufficient data on recent market
transactions is available. Alternatively, this approach may offer limited reliability because many properties have
unique characteristics that cannot be accounted for in the adjustment process.
Development of the Sales Comparison Approach is a specific scope requirement of this assignment.
Characteristics specific to the subject property warrant that this valuation technique to be developed. Sufficient
sales data is available to provide a credible value estimate by the Sales Comparison Approach. Based on this
reasoning, the Sales Comparison Approach is presented within this appraisal.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       69
VALUATION  METHODS
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 78 of 134
CONTINUED                                                                                                  DAL210584


LAND VALUATION
Development land in the subject marketplace is most often valued utilizing the Sales Comparison Approach.
Development of the subject site value is not a specific scope requirement of this assignment. Characteristics
specific to the subject property do not warrant that a site value is developed. Therefore, this appraisal does not
provide valuation of the subject site.
COST APPROACH
The Cost Approach is a set of procedures through which a value indication is derived for the fee simple estate
by estimating the current cost to construct a reproduction of (or replacement for) the existing structure, including
an entrepreneurial incentive or profit; deducting depreciation from the total cost; and adding the estimated land
value. Adjustments may then be made to the indicated value of the fee simple estate in the subject property to
reflect the value of the property interest being appraised. For investment properties, this valuation technique is
most often relied upon as a test of financial feasibility for proposed construction.
Development of the Cost Approach is not a specific scope requirement of this assignment. Characteristics
specific to the subject property do not warrant that this valuation technique is developed. The Cost Approach has
limited applicability due to the age of the improvements and lack of market based data to support an estimate of
accrued depreciation. Based on the preceding information, the Cost Approach will not be presented.
RECONCILIATION OF VALUE CONCLUSIONS
The Income (Direct Capitalization & EGIM) and Sales Comparison approaches are used to value the subject
property, which will be reconciled into the final opinions of market value in the Analysis of Value Conclusions
section.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       70
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 79 of 134
                                                                                                           DAL210584


INTRODUCTION
The Income Approach is based on the premise that properties are purchased for their income producing
potential. It considers both the annual return on the invested principal and the return of the invested principal.
This valuation technique entails careful consideration of contract rents currently in place, projected market rents,
other income sources, vacancy allowances, and projected expenses associated with the efficient operation and
management of the property. The relationship of these income estimates to property value, either as a single
stream or a series of projected streams, is the essence of the income approach. The two fundamental methods
of this valuation technique include Direct Capitalization and Effective Gross Income Multiplier.
Direct Capitalization
This method analyzes the relationship of one year’s stabilized net operating income to total property value. The
stabilized net operating income is capitalized at a rate that implicitly considers expected growth in cash flow and
growth in property value over a buyer’s investment horizon. The implied value may be adjusted to account for
non-stabilized conditions or required capital expenditures to reflect an as is value.
Discounted Cash Flow (DCF)
The DCF analysis models a property’s performance over a buyer’s investment horizon from the current as is
status of the property, to projected stabilization of operations and through the projected sale of the property at
the end of the holding period. Net cash flows from property operations and the reversion are discounted at a rate
reflective of the property’s economic and physical risk profile.
Effective Gross Income Multiplier
Also known as the EGIM, this method is appropriate within the Income Approach because it is recognized that
purchasers are concerned with the income-producing ability of the property. The EGIM is derived by dividing the
effective gross annual income of each comparable into the sales price. The EGIM has the advantages of
simplicity and easy calculation. It is based on the premise that rents and sales prices move in the same direction
and, essentially, in the same proportion as do net income and sales prices. The EGIM is typically used without
adjustments. The final selection of an effective income multiplier is based upon the applicability of each
comparable and a range is established.
Given the appraisal problem and defined scope of work, the following table summarizes the value scenarios and
Income Approach methods developed within this appraisal report:


                                    INCOME APPROACH VALUE SCENARIOS
                   VALUE                                           METHODS USED
                   SCENARIO                               DIRECT CAP  DCF      EGIM
                   As-Is Market Value                                                  
                   Prospective Value Upon Stabilization                                

As previously discussed within the Valuation Methods section, Direct Capitalization and EGIM analysis are used
in this appraisal, and the Discounted Cash Flow method is not developed.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       71
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 80 of 134
CONTINUED                                                                                                                                                                                        DAL210584


Income Approach Framework
The following identifies the primary sections and order in which the Income Approach is developed.
      ›       Subject Income History
      ›       Apartment Rent Analysis
      ›       Income & Expense Analysis
      ›       Investment Market Analysis
      ›       Direct Capitalization
      ›       Effective Gross Income Analysis
      ›       Income Approach Reconciliation
Subject Income History/Concessions
Over the past year, the subject has offered various types of concessions. Currently, the property is not offering
any concessions.
  SUBJECT LEASING INFORMATION
                                          UNITS  AVG                                   BED % UNIT %               ASKING RENT                      ACTUAL RENT                            RECENT LEASES
                            UNIT SUMMARY PERCENT UNIT            NRA       BED SUMMARY OCC- OCC-           PER    PER   TOTAL       AVG PER UNIT PER BED TOTAL           AVG     PER UNIT   NUM   PER BED AVG
UNIT TYPE                   OCC VAC TOT OF TOTAL SF               SF      OCC VAC BEDS UPIED UPIED         UNIT BED      $/MO       $/SF AVERAGE AVERAGE $/MO            $/SF    AVERAGE LEASES AVERAGE $/SF
Efficiency, WDP             2.00  3.00 5   4.3%   350            1,750     2     3   5  40%   40%         $1,100 $1,100 $5,500      $3.14  $903    $903    $1,805        $2.58      -        0       -     -
Efficiency, WDP              2.00   3.00    5    4.3%    358     1,790     2     3   5  40%   40%         $1,140 $1,140    $5,700   $3.18   $916     $916      $1,831    $2.56      -       0       -      -
1 Bed / 1 Bath, WDP          4.00   1.00    5    4.3%    488     2,440     4     1     5    80%     80%   $1,315 $1,315    $6,575   $2.69   $1,162   $1,162    $4,648    $2.38      -       0       -      -
1 Bed / 1 Bath, WDP          4.00   1.00    5    4.3%    501     2,505     4     1     5    80%     80%   $1,350 $1,350    $6,750   $2.69   $1,124   $1,124    $4,495    $2.24      -       0       -      -
2 Bed / 2 Bath, WDP         12.50   0.50   13    11.3%   794     10,322   25     1    26    96%     96%   $1,444 $722     $18,772   $1.82   $1,703   $851     $21,286    $2.14    $1,504    2     $752   $1.89
2 Bed / 2 Bath, WDP          3.00   2.00    5    4.3%    853     4,265     6    4     10    60%     60%   $1,604 $802      $8,020   $1.88   $1,701   $851      $5,103    $1.99      -       0       -      -
2 Bed / 2 Bath, WDP          2.50   2.50    5    4.3%    945     4,725     5    5     10    50%     50%   $1,772 $886      $8,860   $1.88   $1,698   $849      $4,245    $1.80      -       0       -      -
2 Bed / 2 Bath, WDP          1.50   1.50   3     2.6%    937     2,811     3    3     6     50%     50%   $1,830 $915      $5,490   $1.95   $1,737   $869      $2,606    $1.85    $1,513    1     $757   $1.61
3 Bed / 3 Bath, WDP          0.00   1.00   1     0.9%    1,060   1,060     0    3     3      0%      0%   $2,631 $877      $2,631   $2.48    N/A       -                            -       0       -      -
2 Bed / 2 Bath, Dbl Occ, WDP 2.75   7.25   10    8.7%    1,082 10,820     11    29    40    28%     28%   $2,220 $555     $22,200   $2.05   $2,529   $632      $6,954    $2.34    $2,456    2     $614   $2.27
4 Bed / 4 Bath, WDP          4.50   0.50   5     4.3%    1,336   6,680    18    2     20    90%     90%   $2,608 $652     $13,040   $1.95   $2,900   $725     $13,049    $2.17    $2,760    2     $690   $2.07
4 Bed / 4 Bath, WDP          3.75   1.25   5     4.3%    1,460   7,300    15    5     20    75%     75%   $2,740 $685     $13,700   $1.88   $2,823   $706     $10,588    $1.93    $2,797    3     $699   $1.92
4 Bed / 4 Bath, WDP         21.50   7.50   29    25.2%   1,244 36,076     86    30    116   74%     74%   $2,600 $650     $75,400   $2.09   $2,837   $709     $61,001    $2.28    $2,825   14     $706   $2.27
4 Bed / 4 Bath, WDP          3.25   1.75   5     4.3%    1,219   6,095    13    7     20    65%     65%   $2,600 $650     $13,000   $2.13   $2,866   $717      $9,315    $2.35      -       0       -      -
4 Bed / 4 Bath, WDP          6.00   8.00   14    12.2%   1,573 22,022     24    32    56    43%     43%   $2,900 $725     $40,600   $1.84   $3,135   $784     $18,811    $1.99    $3,096    8     $774   $1.97
TOTAL/AVG                     73    42     115   100%    1,049 120,661    218   129   347   62.8%   63.7% $2,141 $710     $246,238 $2.04    $2,263   $760     $165,735   $2.17    $2,739   32     $720   $2.11
RECENT LEASES AS OF JANUARY 1, 2021 THROUGH JUNE 21, 2021



Subject Utility Structure
   › Water / Sewer - Included in the rent
   › Trash Removal - Included in the rent
   › Gas – No gas service at the subject property
   › Electricity – Included in the rent up to a cap of $25/month per resident
   › Cable - Included in the rent
   › Internet - Included in the rent
ANALYSIS OF RENT COMPARABLES
Unit of Comparison
The analysis is conducted on a rent per month basis, reflecting market behavior. This unit of comparison is
predominantly used in this market.
Selection of Comparables
A complete search of the area was conducted in order to find the most comparable complexes in terms of age,
appeal, condition, number of units, and amenities. The rent comparables are located in the subject’s local market
area, and each leased on a “per bed” basis. The subject is in average/good condition with average/good appeal for
the market area considering its vintage. The comparables selected in this analysis are rated fairly similar properties
to the subject property.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                                                    72
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 81 of 134
CONTINUED                                                                                                               DAL210584


Presentation
The following presentation summarizes the comparables most similar to the subject property. A Rent
Comparable Summation Table, Rent Comparable Location Map, Data Sheets, and analysis of the rent
comparables is presented on the following pages.



                                      RENT SUMMATION TABLE
     COMPARABLE        SUBJECT         COMPARABLE 1 COMPARABLE 2 COMPARABLE 3             COMPARABLE 4 COMPARABLE 5
     Name              Vue on          Campus Vue      Cullen Oaks    The Icon and The    Tower 5040     The Proper
                       MacGregor                                      Lofts at The Icon
     Address           4460 South      4459 North      4600 Cullen    3509 Elgin Street   5040 Calhoun   4971 Martin Luther
                       MacGregor Way   MacGregor Way   Boulevard                          Road           King Jr., Boulevard
     City              Houston         Houston         Houston        Houston             Houston        Houston
     State             TX              TX              TX             TX                  TX             TX
     Zip               77021           77004           77004          77004               77004          77021
                                                  PHYSICAL INFORMATION
     Project Design    Mid-Rise        Mid-Rise        Garden         Mid-Rise            Mid-Rise       Mid-Rise
     Number of Units   115             145             411            344                 147            235
     NRA               120,661         159,103         278,030        300,664             108,660        243,690
     Year Built        2014            2015            2007           2017/20             2020           2016
     Average SF/Unit   1,049           1,097           676            874                 739            1,037
     Location          Fair/Average    Fair/Average    Fair/Average   Fair/Average        Fair/Average   Fair/Average
     Appeal            Average/Good    Average/Good    Average        Average/Good        Average/Good   Average/Good
     Quality           Average/Good    Average/Good    Average        Average/Good        Average/Good   Average/Good
     Condition         Average/Good    Average/Good    Average        Average/Good        Good           Average/Good
                                                    RENT INFORMATION
     Occupancy         62.8%           77.0%           13.2%          78.7%               83.7%          58.0%
     Rent Type         Student         Student         Student        Student             Student        Student
     $/Unit Average    $2,141          $2,685          $1,643         $2,282              $2,261         $1,953
     $/Bed Average     $760            $952            $843           $976                $1,023         $772
     $/SF Average      $2.04           $2.45           $2.43          $2.61               $3.06          $1.88
     E BD $/Unit Avg   $909            -               $1,006         $1,286              $1,299         -
     1 BD $/Unit Avg   $1,143          $1,445          $1,064         $1,449              $1,799         $1,357
     2 BD $/Unit Avg   $1,806          $2,445          $1,616         $1,925              $2,615         $1,720
     3 BD $/Unit Avg   -               -               -              $2,925              -              $2,297




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                    73
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 82 of 134
CONTINUED                                                                                                                     DAL210584


RENT COMPARABLE LOCATION MAP




                                                    COMPARABLE KEY
COMP      NAME                   ADDRESS                                                OCC %   AVG SF/UNIT     $/SF AVG    $/UNIT AVG
SUBJECT   Vue on MacGregor       4460 South MacGregor Way, Houston, TX                  62.8%           1,049       $2.04         $2,141
No. 1     Campus Vue             4459 North MacGregor Way, Houston, TX                  77.0%           1,097       $2.45         $2,685
No. 2     Cullen Oaks            4600 Cullen Boulevard, Houston, TX                     13.2%            676        $2.43         $1,643
No. 3     The Icon                3509 Elgin Street, Houston, TX                        78.7%            996        $2.59         $2,578
No. 4     Tower 5040              5040 Calhoun Road, Houston, TX                        83.7%            739        $3.06         $2,261
No. 5     The Proper              4971 Martin Luther King Jr., Boulevard, Houston, TX   58.0%           1,037       $1.88         $1,953




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                           74
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 83 of 134
CONTINUED                                                                                                                               DAL210584




  COMPARABLE 1
 LOCATION INFORMATION
 Name                            Campus Vue
 Address                         4459 North MacGregor Way
 City, State, Zip Code           Houston, TX, 77004
 MSA                             Houston-The Woodlands-Sugar Land, TX
 PHYSICAL INFORMATION
 Project Design                  Mid-Rise
 Number of Units                 145
 Year Built                      2015
 Net Rentable Area (NRA)         159,103
 Average Unit Size (SF)          1,097
 Rent Type                       Student
 Location                        Fair/Average
 Quality                         Average/Good
 Condition                       Average/Good
                                 Fitness Center, Swimming Pool, Game
 Project Amenities                                                       CAMPUS VUE
                                 Room, BBQ/Picnic Area, Electronic Gate,
                                 Rooftop Area, Clubhouse, Elevators      OCCUPANCY / ABSORPTION
                                                                          Vacant Units                     33
                                                                          Occupancy Rate                   77%
 Unit Amenities                  Microwave, Ceiling Fans, Balcony/Patio, Fees & Deposits                   N/Av
                                 Walk-in Closets, Premium Countertops,                                     Reduced rates presented below
                                 Premium Appliances, Washer/Dryer In- Concessions
                                 Unit, Furnished, Parking Garage
                                                                         CONFIRMATION
                                                                          Name                             Confidential

 Parking                         Parking Garage                           Source                           Confidential
 UTILITIES                         INCL. IN RENT      NOT INCL. IN RENT Date                               06/22/2021
 Electricity                               
 Water                                                              REMARKS
 Sewer                                                              This comparable is located along the north line of North MacGregor Way,
 Garbage                                                            just west of Calhoun Road. All units are fully furnished with a bed,
                                                                     mattress, night stand, dresser, desk and chair, couch, coffee table, end
 Telephone                                                          table, dining table and chairs, and entertainment center with a 50" flat
 Gas                                                                screen television. In addition, each unit features a stackable or full-size
 Cable/Satellite                                                    washer/dryer provided. The owner pays all utilities including cable and
 High-Speed Internet                                                internet. There is an additional charge of $45/month for the community
 UNIT MIX                                                            parking garage. The property is reportedly 62% pre-leased for the Fall
 DESCRIPTION             UNITS    SIZE         LOW     HIGH AVG RENT 2021 semester.
 1 Bed / 1 Bath            5       341                        $1,265
 1 Bed / 1 Bath           15       494                        $1,495
 1 Bed / 1 Bath            5       524                        $1,475
 2 Bed / 2 Bath           20       776                        $2,200
 2 Bed / 2 Bath, Dbl Occ  14      1088                        $2,796
 4 Bed / 4 Bath           86      1356                        $3,140




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                        75
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 84 of 134
CONTINUED                                                                                                                                        DAL210584


  COMPARABLE 2
 LOCATION INFORMATION
 Name                              Cullen Oaks
 Address                           4600 Cullen Boulevard
 City, State, Zip Code             Houston, TX, 77004
 MSA                               Houston-The Woodlands-Sugar Land, TX
 PHYSICAL INFORMATION
 Project Design                    Garden
 Number of Units                   411
 Year Built                        2007
 Net Rentable Area (NRA)           278,030
 Average Unit Size (SF)            676
 Rent Type                         Student
 Location                          Fair/Average
 Quality                           Average
 Condition                         Average
                                   Common Laundry, Swimming Pool,
 Project Amenities                                                       CULLEN OAKS
                                   Clubhouse, Fitness Center, Business
                                   Center, BBQ/Picnic Area, Sport Court, OCCUPANCY / ABSORPTION
                                   Game Room, Electronic Gate            Vacant Units                            357
                                                                             Occupancy Rate                      13%
 Unit Amenities                    Microwave, Complete Appliance Package, Fees & Deposits                        N/Av
                                   Ceiling Fans, Balcony/Patio, Premium                                          None
                                   Flooring, Furnished, Parking Garage    Concessions

                                                                             CONFIRMATION

                                                                             Name                                Confidential


 Parking                           Open Surface, and Parking Garage          Source                              Confidential
 UTILITIES                           INCL. IN RENT      NOT INCL. IN RENT Date                                   06/22/2021
 Electricity                                 
 Water                                                                      REMARKS
 Sewer                                                                      This comparable is located along the west line of Cullen Boulevard, just
 Garbage                                                                    south of Wheeler Avenue. Furnished units are available with a bed,
                                                                             mattress, night stand, dresser, desk and chair, couch, coffee table, end
 Telephone                                                                  table, built-in dining table with chairs, and Phase II includes a television.
 Gas                                                                        There is no additional charge for the community parking garage. Internet,
 Cable/Satellite                                                            cable TV, water/sewer, trash, and a monthly electricity allowance of $25-
 High-Speed Internet                                                        $40 are included.
 UNIT MIX
 DESCRIPTION               UNITS    SIZE         LOW       HIGH   AVG RENT
 Efficiency                 50       317                           $1,006
 2 Bed / 1 Bath             50       502                           $1,019
 1 Bed / 1 Bath             50       528                           $1,064
 2 Bed / 1 Bath             50       684                           $1,398
 2 Bed / 2 Bath             50       732                           $1,822
 2 Bed / 2 Bath             50       771                           $1,850
 2 Bed / 2 Bath             50       798                           $1,876
 2 Bed / 2 Bath             11       880                           $2,150
 4 Bed / 2 Bath             50      1035                           $2,996




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                  76
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 85 of 134
CONTINUED                                                                                                                                 DAL210584


  COMPARABLE 3
 LOCATION INFORMATION
 Name                              The Icon and The Lofts at The Icon
 Address                           3509 Elgin Street
 City, State, Zip Code             Houston, TX, 77004
 MSA                               Houston-The Woodlands-Sugar Land, TX
 PHYSICAL INFORMATION
 Project Design                    Mid-Rise
 Number of Units                   344
 Year Built                        2017 / 2020
 Net Rentable Area (NRA)           300,664
 Average Unit Size (SF)            874
 Rent Type                         Student
 Location                          Fair/Average
 Quality                           Average/Good
 Condition                         Average/Good
                                   Clubhouse, Swimming Pool, Fitness
 Project Amenities                                                     THE ICON AND THE LOFTS AT THE ICON
                                   Center, Business Center, BBQ/Picnic
                                   Area, Game Room, Electronic Gate    OCCUPANCY    / ABSORPTION
                                                                       Vacant Units              28 (Icon portion)
                                                                            Occupancy Rate                   79% (Icon portion)
 Unit Amenities                    Microwave, Ceiling Fans, Wa k-in Closets, Fees & Deposits                 N/Av
                                   Premium Flooring, Premium Countertops,                                    Discounted rates
                                                                             Concessions
                                   Premium      Appliances,       Furnished,
                                   Washer/Dryer In-Unit, Parking Garage      CONFIRMATION
                                                                             Name                            Confidential
 Parking                           Parking Garage                           Source                           Confidential
 UTILITIES                           INCL. IN RENT      NOT INCL. IN RENT Date                               06/22/2021
 Electricity                                 
 Water                                                                REMARKS
 Sewer                                                                This comparable is located at the northeast corner of Elgin Street and
 Garbage                                                              Scott Street, one-half mile south of Interstate 45. The entire property
                                                                       consists of two phases. The original portion (The Icon) was constructed
 Telephone                                                            in 2017. Phase 2 (Icon Lofts) was completed at the end of 2020 and is
 Gas                                                                  still in the lease-up phase. Currently The Icon is 78.68% occupied, but
 Cable/Satellite                                                      reportedly 82.11% pre-leased. The Lofts is 64.47% occupied and 71.49%
 High-Speed Internet                                                  pre-leased. All of the units are fully furnished (including television) and
 UNIT MIX                                                              come with a full-size washer/dryer provided. Tenants pay $35/month for
 DESCRIPTION               UNITS     SIZE        LOW     HIGH AVG RENT an open parking space and $60/month for a reserved space in the
 Efficiency, Icon           15        399                       $1,275 community parking garage. The discounted rates are presented below for
 1 Bed / 1 Bath, Icon       15        591                       $1,399 analysis purposes.
 2 Bed / 1 Bath, Icon       10        591                       $1,550
 2 Bed / 2 Bath, Icon       15        931                       $2,308
 4 Bed / 2 Bath, Icon       25       1064                       $2,796
 4 Bed / 4 Bath, Icon       50       1362                       $3,500
 Efficiency, Lofts          44        399                       $1,275
 Efficiency, Lofts          18        430                       $1,275
 Efficiency, Lofts           5        430                       $1,300
 Efficiency, Lofts           5        489                       $1,350
 Efficiency, Lofts           5        511                       $1,375
 1 Bed / 1 Bath, Lofts      22        591                       $1,475
 2 Bed / 1 Bath, Lofts      18        617                       $1,550
 1 Bed / 1 Bath, Lofts       7        567                       $1,475
 2 Bed / 2 Bath, Lofts      10        970                       $2,398
 4 Bed / 2 Bath, Lofts      30       1064                       $2,796
 3 Bed / 3 Bath, Lofts      22       1125                       $2,925
 4 Bed / 4 Bath, Lofts      18       1362                       $3,500
 5 Bed / 5 Bath, Lofts      10       1983                       $4,475




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          77
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 86 of 134
CONTINUED                                                                                                                                DAL210584


  COMPARABLE 4
 LOCATION INFORMATION
 Name                            Tower 5040
 Address                         5040 Calhoun Road
 City, State, Zip Code           Houston, TX, 77004
 MSA                             Houston-The Woodlands-Sugar Land, TX
 PHYSICAL INFORMATION
 Project Design                  Mid-Rise
 Number of Units                 147
 Year Built                      2020
 Net Rentable Area (NRA)         108,660
 Average Unit Size (SF)          739
 Rent Type                       Student
 Location                        Fair/Average
 Quality                         Average/Good
 Condition                       Good
                                 Fitness Center, Spa/Sauna, Business
 Project Amenities                                                   TOWER 5040
                                 Center, Game Room, BBQ/Picnic Area,
                                 Dog Park, Elevators, Swimming Pool, OCCUPANCY / ABSORPTION
                                 Electronic Gate, Clubhouse          Vacant Units                          24
                                                                         Occupancy Rate                    84%
 Unit Amenities                  Microwave, Ceiling Fans, Balcony/Patio, Fees & Deposits                   N/Av
                                 Walk-in Closets, Premium Countertops,                                     None
                                                                          Concessions
                                 Premium Flooring, Premium Appliances,
                                 Furnished, Washer/Dryer In-Unit, Parking CONFIRMATION
                                 Garage
                                                                          Name                             Confidential

 Parking                         Parking Garage                          Source                            Confidential
 UTILITIES                         INCL. IN RENT      NOT INCL. IN RENT Date                               06/22/2021
 Electricity                                                  
 Water                                                                  REMARKS
 Hot Water                                                              This comparable is located along the west line of Calhoun Road, just
 Sewer                                                                  southwest of Martin Luther King Jr. Boulevard. The property is newly
                                                                         constructed and began preleasing on November 1st, 2019. The
 Garbage                                                                improvements were completed on July 15th, 2020, the date on which the
 Telephone                                                              first residents moved in. Currently the property is 95.6% leased. Each of
 Gas                                                                    the units is fully furnished (including television) and come with a
 Cable/Satellite                                                        stackable or full-size washer/dryer provided. Tenants pay $50/month for a
 High-Speed Internet                                                    reserved space in the community parking garage.
 UNIT MIX
 DESCRIPTION             UNITS    SIZE         LOW     HIGH   AVG RENT
 Efficiency               29       374                         $1,299
 Efficiency               15       375                         $1,299
 Efficiency               10       387                         $1,299
 Efficiency               10       414                         $1,299
 1 Bed / 1 Bath           13       507                         $1,799
 2 Bed / 2 Bath           21       813                         $2,748
 2 Bed / 2 Bath            5       825                         $1,998
 2 Bed / 2 Bath            3       836                         $2,198
 2 Bed / 2 Bath, Dbl Occ   4      1066                         $3,000
 4 Bed / 4 Bath            5      1290                         $3,796
 4 Bed / 4 Bath           10      1324                         $3,520
 4 Bed / 4 Bath            5      1335                         $4,740
 4 Bed / 4 Bath            2      1344                         $3,556
 4 Bed / 4 Bath           10      1367                         $3,560
 4 Bed / 4 Bath            5      1379                         $3,796




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          78
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 87 of 134
CONTINUED                                                                                                                                     DAL210584


  COMPARABLE 5
 LOCATION INFORMATION
 Name                              The Proper
 Address                           4971 Martin Luther King Jr., Boulevard
 City, State, Zip Code             Houston, TX, 77021
 MSA                               Houston-The Woodlands-Sugar Land, TX
 PHYSICAL INFORMATION
 Project Design                    Mid-Rise
 Number of Units                   235
 Year Built                        2016
 Net Rentable Area (NRA)           243,690
 Average Unit Size (SF)            1,037
 Rent Type                         Student
 Location                          Fair/Average
 Quality                           Average/Good
 Condition                         Average/Good
                                   Sport Court, Swimming Pool, Clubhouse,
 Project Amenities                                                           THE PROPER
                                   Fitness Center, Tanning, Business Center,
                                   BBQ/Picnic Area, Game Room, Electronic OCCUPANCY / ABSORPTION
                                   Gate, Dog Park                            Vacant Units                    99
                                                                              Occupancy Rate                 58%
 Unit Amenities                    Microwave,    Balcony/Patio,   Premium     Fees & Deposits                N/Av
                                   Countertops,     Premium     Appliances,                                  1 month free on all floorplans
                                                                              Concessions
                                   Washer/Dryer Hookups, Parking Garage,
                                   Complete Appliance Package, Ceiling        CONFIRMATION
                                   Fans, Walk-in Closets, Premium Flooring,   Name                           Confidential
 Parking                           Open Parking                               Source                         Confidential
 UTILITIES                           INCL. IN RENT      NOT INCL. IN RENT Date                               06/22/2021
 Electricity                                                     
 Water                                                                 REMARKS
 Hot Water                                                             This comparable is located at the southeast corner of Old Spanish Trail
 Sewer                                                                 and Martin Luther King Jr. Boulevard. All units are fully furnished with a
                                                                        bed, mattress, night stand, dresser, desk and chair, couch, coffee table,
 Garbage                                                               end table, dining table and chairs, and entertainment center. In addition,
 Telephone                                                             each unit features a full-size washer/dryer provided. The tenants are
 Gas                                                                   respons ble for electricity and water/sewer, the owner pays all other
 Cable/Satellite                                                       utilities including cable and internet. There is an additional charge of
 High-Speed Internet                                                   $50/month for the community parking garage. The property is 28%
 UNIT MIX                                                               preleased for the Fall semester. The rents presented below are net of
 DESCRIPTION               UNITS     SIZE        LOW      HIGH AVG RENT concessions.
 1 Bed / 1 Bath             35        630                        $1,357
 2 Bed / 2 Bath             30        870                        $1,815
 2 Bed / 2 Bath             30        877                        $1,696
 2 Bed / 2 Bath             20        911                        $1,769
 2 Bed / 2 Bath             20        913                        $1,659
 2 Bed / 2 Bath             20        940                        $1,623
 3 Bed / 3 Bath             20       1272                        $2,283
 4 Bed / 4 Bath             20       1372                        $2,677
 4 Bed / 4 Bath             10       1396                        $2,640
 4 Bed / 4 Bath             10       1436                        $2,801
 4 Bed / 4 Bath             10       1498                        $2,820




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          79
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 88 of 134
CONTINUED                                                                                                                                       DAL210584


DISCUSSION OF RENTAL ADJUSTMENTS
Adjustments for differences between the subject property and the comparables can be made quantitatively or
qualitatively. Adjustments for some differences can be derived from the market and are addressed below. Other
items for which dollar adjustments are more difficult to derive are addressed in the Qualitative Adjustments
paragraph.
Adjustments
The subject property and the comparables vary to some degree in terms of physical characteristics, project
amenities, unit amenities, parking, laundry, and utilities. The following grid illustrates the quantitative adjustments
applied to the comparables (when necessary) in order to make the comparables similar to the subject in terms
of these features.



                              RENT COMPARABLE ADJUSTMENT TABLE
                          $ ADJ. SUBJECT             COMP 1                  COMP 2                 COMP 3              COMP 4              COMP 5
                                                               PHYSICAL PROJECT FEATURES
Age / Condition            $25         2014         2015         $0         2007       $25       2017/20   ($100)     2020     ($100)     2016       $0
Location                   $25     Fair/Average Fair/Average     $0     Fair/Average   $0      Fair/Average $0    Fair/Average   $0   Fair/Average   $0
Physical Subtotal Adjustment                                     $0                    $25                 ($100)              ($100)                $0
                                                                      PROJECT AMENITIES
Swimming Pool                 $10     Yes           Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Fitness Center                $10     Yes           Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Clubhouse                     $10     Yes           Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Electronic Gate               $10     Yes           Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Project Amenities Subtotal   Adjustment                          $0                    $0                    $0                  $0                  $0
                                                                       UNIT AMENITIES
Premium Appliances         $25         Yes          Yes          $0         No         $25        Yes        $0       Yes        $0       Yes        $0
Premium Countertops        $15         Yes          Yes          $0         No         $15        Yes        $0       Yes        $0       Yes        $0
Furnished                  $25         Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Unit Amenities Subtotal Adjustment                               $0                    $40                   $0                  $0                  $0
                                                                          LAUNDRY
Washer/Dryer In-Unit      $30          Yes          Yes          $0         No         $30        Yes        $0       Yes        $0       Yes        $0
Laundry Subtotal Adjustment                                      $0                    $30                   $0                  $0                  $0
                                                                          PARKING
Parking Covered Included  $50          No           No           $0        Yes         ($50)       No        $0       No         $0        No        $0
Parking Subtotal Adjustment                                      $0                    ($50)                 $0                  $0                  $0
                                                               UTILITIES INCLUDED IN RENT
Electricity                  $20       Yes          Yes          $0         Yes        $0         Yes        $0       No         $20      No         $20
Water                        $10       Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       No         $10
Sewer                        $10       Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       No         $10
Garbage                       $5       Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Cable                        $25       Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Internet                     $25       Yes          Yes          $0         Yes        $0         Yes        $0       Yes        $0       Yes        $0
Utilities Subtotal Adjustment                                    $0                    $0                    $0                  $20                 $40
TOTAL ADJUSTMENTS                                                $0                    $45                 ($100)                ($80)               $40




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                80
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 89 of 134
CONTINUED                                                                             DAL210584


RENT COMPARABLE ADJUSTMENT GRID
The following tables adjust the comparables to the subject property quantitatively.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                 81
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 90 of 134
CONTINUED                                                                                                                                         DAL210584



                                   RENT COMPARABLE ADJUSTMENT SUMMARY
                                  NO. BEDS AVG EFF. RENTEFF. RENT                   ADJUSTMENTS                      TOTAL         ADJUSTED
       COMPARABLE 1              UNITS /UNIT SIZE   $/UNIT   $/BED PHYSICAL PROJECT UNIT LAUNDRY PARKING UTILITIES    ADJ     $/UNIT $/BED    $/SF
       1 Bed / 1 Bath              5    1    341    $1,265   $1,265    $0      $0    $0     $0      $0      $0        $0      $1,265 $1,265 $3.71
       1 Bed / 1 Bath             15    1    494    $1,495   $1,495    $0      $0    $0     $0      $0      $0        $0      $1,495 $1,495 $3.03
       1 Bed / 1 Bath              5    1    524    $1,475   $1,475    $0      $0    $0     $0      $0      $0        $0      $1,475 $1,475 $2.81
       2 Bed / 2 Bath             20    2    776    $2,200   $1,100    $0      $0    $0     $0      $0      $0        $0      $2,200 $1,100 $2.84
       2 Bed / 2 Bath, Dbl Occ    14    4   1,088   $2,796   $699      $0      $0    $0     $0      $0      $0        $0      $2,796   $699   $2.57
       4 Bed / 4 Bath             86    4   1,356   $3,140   $785      $0      $0    $0     $0      $0      $0        $0      $3,140   $785   $2.32

       COMPARABLE 2
       Efficiency                 50    1    317    $1,006   $1,006   $25      $0    $40   $30     ($50)    $0        $45     $1,051 $1,051 $3.32
       2 Bed / 1 Bath             50    2    502    $1,019   $510     $25      $0    $40   $30     ($50)    $0        $45     $1,064   $532   $2.12
       1 Bed / 1 Bath             50    1    528    $1,064   $1,064   $25      $0    $40   $30     ($50)    $0        $45     $1,109 $1,109 $2.10
       2 Bed / 1 Bath             50    2    684    $1,398   $699     $25      $0    $40   $30     ($50)    $0        $45     $1,443   $722   $2.11
       2 Bed / 2 Bath             50    2    732    $1,822   $911     $25      $0    $40   $30     ($50)    $0        $45     $1,867   $934   $2.55
       2 Bed / 2 Bath             50    2    771    $1,850   $925     $25      $0    $40   $30     ($50)    $0        $45     $1,895   $948   $2.46
       2 Bed / 2 Bath             50    2    798    $1,876   $938     $25      $0    $40   $30     ($50)    $0        $45     $1,921   $961   $2.41
       2 Bed / 2 Bath             11    2    880    $2,150   $1,075   $25      $0    $40   $30     ($50)    $0        $45     $2,195 $1,098 $2.49
       4 Bed / 2 Bath             50    4   1,035   $2,996   $749     $25      $0    $40   $30     ($50)    $0        $45     $3,041   $760   $2.94

       COMPARABLE 3
       Efficiency, Icon           15    1    399    $1,275   $1,275   ($100)   $0    $0     $0      $0      $0       ($100)   $1,175 $1,175 $2.94
       1 Bed / 1 Bath, Icon       15    1    591    $1,399   $1,399   ($100)   $0    $0     $0      $0      $0       ($100)   $1,299 $1,299 $2.20
       2 Bed / 1 Bath, Icon       10    2    591    $1,550   $775     ($100)   $0    $0     $0      $0      $0       ($100)   $1,450   $725   $2.45
       2 Bed / 2 Bath, Icon       15    2    931    $2,308   $1,154   ($100)   $0    $0     $0      $0      $0       ($100)   $2,208 $1,104 $2.37
       4 Bed / 2 Bath, Icon       25    4   1,064   $2,796   $699     ($100)   $0    $0     $0      $0      $0       ($100)   $2,696   $674   $2.53
       4 Bed / 4 Bath, Icon       50    4   1,362   $3,500   $875     ($100)   $0    $0     $0      $0      $0       ($100)   $3,400   $850   $2.50
       Efficiency, Lofts          44    1    399    $1,275   $1,275   ($100)   $0    $0     $0      $0      $0       ($100)   $1,175 $1,175 $2.94
       Efficiency, Lofts          18    1    430    $1,275   $1,275   ($100)   $0    $0     $0      $0      $0       ($100)   $1,175 $1,175 $2.73
       Efficiency, Lofts           5    1    430    $1,300   $1,300   ($100)   $0    $0     $0      $0      $0       ($100)   $1,200 $1,200 $2.79
       Efficiency, Lofts           5    1    489    $1,350   $1,350   ($100)   $0    $0     $0      $0      $0       ($100)   $1,250 $1,250 $2.56
       Efficiency, Lofts           5    1    511    $1,375   $1,375   ($100)   $0    $0     $0      $0      $0       ($100)   $1,275 $1,275 $2.50
       1 Bed / 1 Bath, Lofts      22    1    591    $1,475   $1,475   ($100)   $0    $0     $0      $0      $0       ($100)   $1,375 $1,375 $2.33
       2 Bed / 1 Bath, Lofts      18    2    617    $1,550   $775     ($100)   $0    $0     $0      $0      $0       ($100)   $1,450   $725   $2.35
       1 Bed / 1 Bath, Lofts       7    1    567    $1,475   $1,475   ($100)   $0    $0     $0      $0      $0       ($100)   $1,375 $1,375 $2.43
       2 Bed / 2 Bath, Lofts      10    2    970    $2,398   $1,199   ($100)   $0    $0     $0      $0      $0       ($100)   $2,298 $1,149 $2.37
       4 Bed / 2 Bath, Lofts      30    4   1,064   $2,796   $699     ($100)   $0    $0     $0      $0      $0       ($100)   $2,696   $674   $2.53
       3 Bed / 3 Bath, Lofts      22    3   1,125   $2,925   $975     ($100)   $0    $0     $0      $0      $0       ($100)   $2,825   $942   $2.51
       4 Bed / 4 Bath, Lofts      18    4   1,362   $3,500   $875     ($100)   $0    $0     $0      $0      $0       ($100)   $3,400   $850   $2.50
       5 Bed / 5 Bath, Lofts      10    5   1,983   $4,475   $895     ($100)   $0    $0     $0      $0      $0       ($100)   $4,375   $875   $2.21

       COMPARABLE 4
       Efficiency                 29    1    374    $1,299   $1,299   ($100)   $0    $0     $0      $0      $20      ($80)    $1,219 $1,219 $3.26
       Efficiency                 15    1    375    $1,299   $1,299   ($100)   $0    $0     $0      $0      $20      ($80)    $1,219 $1,219 $3.25
       Efficiency                 10    1    387    $1,299   $1,299   ($100)   $0    $0     $0      $0      $20      ($80)    $1,219 $1,219 $3.15
       Efficiency                 10    1    414    $1,299   $1,299   ($100)   $0    $0     $0      $0      $20      ($80)    $1,219 $1,219 $2.94
       1 Bed / 1 Bath             13    1    507    $1,799   $1,799   ($100)   $0    $0     $0      $0      $20      ($80)    $1,719 $1,719 $3.39
       2 Bed / 2 Bath             21    2    813    $2,748   $1,374   ($100)   $0    $0     $0      $0      $20      ($80)    $2,668 $1,334 $3.28
       2 Bed / 2 Bath              5    2    825    $1,998   $999     ($100)   $0    $0     $0      $0      $20      ($80)    $1,918   $959   $2.32
       2 Bed / 2 Bath              3    2    836    $2,198   $1,099   ($100)   $0    $0     $0      $0      $20      ($80)    $2,118 $1,059 $2.53
       2 Bed / 2 Bath, Dbl Occ     4    4   1,066   $3,000   $750     ($100)   $0    $0     $0      $0      $20      ($80)    $2,920   $730   $2.74
       4 Bed / 4 Bath              5    4   1,290   $3,796   $949     ($100)   $0    $0     $0      $0      $20      ($80)    $3,716   $929   $2.88
       4 Bed / 4 Bath             10    4   1,324   $3,520   $880     ($100)   $0    $0     $0      $0      $20      ($80)    $3,440   $860   $2.60
       4 Bed / 4 Bath              5    4   1,335   $4,740   $1,185   ($100)   $0    $0     $0      $0      $20      ($80)    $4,660 $1,165 $3.49
       4 Bed / 4 Bath              2    4   1,344   $3,556   $889     ($100)   $0    $0     $0      $0      $20      ($80)    $3,476   $869   $2.59
       4 Bed / 4 Bath             10    4   1,367   $3,560   $890     ($100)   $0    $0     $0      $0      $20      ($80)    $3,480   $870   $2.55
       4 Bed / 4 Bath              5    4   1,379   $3,796   $949     ($100)   $0    $0     $0      $0      $20      ($80)    $3,716   $929   $2.69

       COMPARABLE 5
       1 Bed / 1 Bath             35    1    630    $1,357   $1,357    $0      $0    $0     $0      $0      $40      $40      $1,397 $1,397 $2.22
       2 Bed / 2 Bath             30    2    870    $1,815   $908      $0      $0    $0     $0      $0      $40      $40      $1,855   $928   $2.13
       2 Bed / 2 Bath             30    2    877    $1,696   $848      $0      $0    $0     $0      $0      $40      $40      $1,736   $868   $1.98
       2 Bed / 2 Bath             20    2    911    $1,769   $885      $0      $0    $0     $0      $0      $40      $40      $1,809   $905   $1.99
       2 Bed / 2 Bath             20    2    913    $1,659   $830      $0      $0    $0     $0      $0      $40      $40      $1,699   $850   $1.86
       2 Bed / 2 Bath             20    2    940    $1,623   $812      $0      $0    $0     $0      $0      $40      $40      $1,663   $832   $1.77
       3 Bed / 3 Bath             20    3   1,272   $2,283   $761      $0      $0    $0     $0      $0      $40      $40      $2,323   $774   $1.83
       4 Bed / 4 Bath             20    4   1,372   $2,677   $669      $0      $0    $0     $0      $0      $40      $40      $2,717   $679   $1.98
       4 Bed / 4 Bath             10    4   1,396   $2,640   $660      $0      $0    $0     $0      $0      $40      $40      $2,680   $670   $1.92
       4 Bed / 4 Bath             10    4   1,436   $2,801   $700      $0      $0    $0     $0      $0      $40      $40      $2,841   $710   $1.98
       4 Bed / 4 Bath             10    4   1,498   $2,820   $705      $0      $0    $0     $0      $0      $40      $40      $2,860   $715   $1.91
       3 Bed / 3 Bath             10    3   1,777   $2,324   $775      $0      $0    $0     $0      $0      $40      $40      $2,364   $788   $1.33



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                             82
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 91 of 134
CONTINUED                                                                                                           DAL210584


MARKET RENT ANALYSIS
The following tables summarize the various indicators of market rent, and provide the market rent analysis and
conclusions for the subject property (2021-2022 school year).


                                        E BEDROOM UNIT CONCLUSION
                                UNIT            RENT/MONTH           ADJUSTED RENT/MONTH            NET
 COMP         UNIT TYPE         SIZE   $/UNIT       $/BED  $/SF     $/UNIT  $/BED    $/SF          ADJ %
     2         Efficiency       317    $1,006      $1,006   $3.17   $1,051      $1,051     $3.32   4.5%
     4         Efficiency       374    $1,299      $1,299   $3.47   $1,219      $1,219     $3.26   -6.2%
     3      Efficiency, Lofts   399    $1,275      $1,275   $3.20   $1,175      $1,175     $2.94   -7.8%
     3      Efficiency, Lofts   430    $1,275      $1,275   $2.97   $1,175      $1,175     $2.73   -7.8%
     3      Efficiency, Lofts   430    $1,300      $1,300   $3.02   $1,200      $1,200     $2.79   -7.7%
     3      Efficiency, Lofts   489    $1,350      $1,350   $2.76   $1,250      $1,250     $2.56   -7.4%
     3      Efficiency, Lofts   511    $1,375      $1,375   $2.69   $1,275      $1,275     $2.50   -7.3%
     4         Efficiency       375    $1,299      $1,299   $3.46   $1,219      $1,219     $3.25   -6.2%
     4         Efficiency       387    $1,299      $1,299   $3.36   $1,219      $1,219     $3.15   -6.2%
     3      Efficiency, Icon    399    $1,275      $1,275   $3.20   $1,175      $1,175     $2.94   -7.8%
     4         Efficiency       414    $1,299      $1,299   $3.14   $1,219      $1,219     $2.94   -6.2%
 LOW                            317    $1,006      $1,006   $2.69   $1,051      $1,051     $2.50   -7.8%
 HIGH                           511    $1,375      $1,375   $3.47   $1,275      $1,275     $3.32   4.5%
 AVERAGE                        411    $1,277      $1,277   $3.13   $1,198      $1,198     $2.94   -6.0%
 MEDIAN                         399    $1,299      $1,299   $3.17   $1,219      $1,219     $2.94   -7.3%
 SUBJECT ANALYSIS & CONCLUSIONS
                                            ASKING RENT                      ACTUAL RENT              CONCLUDED RENT
 UNITS        UNIT TYPE         SIZE   $/UNIT      $/BED    $/SF    $/UNIT      $/BED      $/SF    $/UNIT   $/BED    $/SF
 5          Efficiency, WDP     350    $1,100      $1,100   $3.14    $903        $903      $2.58   $925     $925     $2.64
 5          Efficiency, WDP     358    $1,140      $1,140   $3.18    $916        $916      $2.56   $925     $925     $2.58




The rent comparables range in size from 317 SF to 511 SF, with an average unit size of 411 SF. The rent
comparables' unadjusted rent per month ranges from $1,006 to $1,375, with an average rent of $1,277. After
applying adjustments to the comparables for differences in amenities, laundry, parking and utilities, the rent
comparables' rent per month ranges from $1,051 to $1,275, with an average rent of $1,198. We have relied on
the actual recent leasing trends at the subject, and concluded to market rent levels that fall slightly below the
adjusted comparable rates. This is considered reasonable based on the fact that the subject units are smaller
than all but one of the comparable floor plans. In addition, the subject's excess vacancy also further supports
our concluded effective market rates (net of concessions).




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                  83
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 92 of 134
CONTINUED                                                                                                               DAL210584



                                          1 BEDROOM UNIT CONCLUSION
                                  UNIT            RENT/MONTH            ADJUSTED RENT/MONTH            NET
 COMP         UNIT TYPE           SIZE   $/UNIT       $/BED    $/SF    $/UNIT  $/BED    $/SF          ADJ %
   1         1 Bed / 1 Bath        341   $1,265      $1,265    $3.71   $1,265  $1,265   $3.71         0.0%
   1         1 Bed / 1 Bath        494   $1,495      $1,495    $3.03   $1,495  $1,495   $3.03         0.0%
   4         1 Bed / 1 Bath        507   $1,799      $1,799    $3.55   $1,719  $1,719   $3.39         -4.4%
   1         1 Bed / 1 Bath        524   $1,475      $1,475    $2.81   $1,475  $1,475   $2.81          0.0%
   2         1 Bed / 1 Bath        528   $1,064      $1,064    $2.02   $1,109  $1,109   $2.10          4.2%
   3      1 Bed / 1 Bath, Lofts    591   $1,475      $1,475    $2.50   $1,375  $1,375   $2.33         -6.8%
   3      1 Bed / 1 Bath, Lofts    567   $1,475      $1,475    $2.60   $1,375  $1,375   $2.43         -6.8%
   3      1 Bed / 1 Bath, Icon     591   $1,399      $1,399    $2.37   $1,299  $1,299   $2.20         -7.1%
   5         1 Bed / 1 Bath        630   $1,357      $1,357    $2.15   $1,397  $1,397   $2.22          2.9%
LOW                               341    $1,064      $1,064    $2.02   $1,109      $1,109     $2.10   -7.1%
HIGH                              630    $1,799      $1,799    $3.71   $1,719      $1,719     $3.71   4.2%
AVERAGE                           530    $1,423      $1,423    $2.75   $1,390      $1,390     $2.69   -2.0%
MEDIAN                            528    $1,475      $1,475    $2.60   $1,375      $1,375     $2.43   0.0%
SUBJECT ANALYSIS & CONCLUSIONS
                                              ASKING RENT                       ACTUAL RENT              CONCLUDED RENT
UNITS         UNIT TYPE           SIZE   $/UNIT      $/BED     $/SF    $/UNIT      $/BED      $/SF    $/UNIT   $/BED      $/SF
5         1 Bed / 1 Bath, WDP     488    $1,315      $1,315    $2.69   $1,162      $1,162     $2.38   $1,200   $1,200    $2.46
5         1 Bed / 1 Bath, WDP     501    $1,350      $1,350    $2.69   $1,124      $1,124     $2.24   $1,200   $1,200    $2.40




The rent comparables range in size from 341 SF to 630 SF, with an average unit size of 530 SF. The rent
comparables' unadjusted rent per month ranges from $1,064 to $1,799, with an average rent of $1,423. After
applying adjustments to the comparables for differences in amenities, laundry, parking and utilities, the rent
comparables' rent per month ranges from $1,109 to $1,719, with an average rent of $1,390. Our concluded
market rents fall within the adjusted comparable range and represent effective rates (net of concessions).




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                      84
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 93 of 134
CONTINUED                                                                                                                    DAL210584



                                               2 BEDROOM UNIT CONCLUSION
                                       UNIT             RENT/MONTH            ADJUSTED RENT/MONTH            NET
COMP              UNIT TYPE            SIZE    $/UNIT       $/BED    $/SF    $/UNIT  $/BED    $/SF          ADJ %
  2             2 Bed / 1 Bath          502    $1,019        $510    $2.03   $1,064   $532    $2.12          4.4%
  2             2 Bed / 1 Bath          684    $1,398        $699    $2.04   $1,443   $722    $2.11          3.2%
  3          2 Bed / 1 Bath, Icon       591    $1,550        $775    $2.62   $1,450   $725    $2.45         -6.5%
  3          2 Bed / 1 Bath, Lofts      617    $1,550        $775    $2.51   $1,450   $725    $2.35         -6.5%
  2             2 Bed / 2 Bath          732    $1,822        $911    $2.49   $1,867   $934    $2.55          2.5%
  2             2 Bed / 2 Bath          771    $1,850        $925    $2.40   $1,895   $948    $2.46          2.4%
  1             2 Bed / 2 Bath          776    $2,200      $1,100    $2.84   $2,200  $1,100   $2.84          0.0%
  2             2 Bed / 2 Bath          798    $1,876        $938    $2.35   $1,921   $961    $2.41          2.4%
  4             2 Bed / 2 Bath          813    $2,748      $1,374    $3.38   $2,668  $1,334   $3.28         -2.9%
  4             2 Bed / 2 Bath          825    $1,998        $999    $2.42   $1,918   $959    $2.32         -4.0%
  4             2 Bed / 2 Bath          836    $2,198      $1,099    $2.63   $2,118  $1,059   $2.53         -3.6%
  5             2 Bed / 2 Bath          870    $1,815        $908    $2.09   $1,855   $928    $2.13          2.2%
  5             2 Bed / 2 Bath          877    $1,696        $848    $1.93   $1,736   $868    $1.98          2.4%
  2             2 Bed / 2 Bath          880    $2,150      $1,075    $2.44   $2,195  $1,098   $2.49          2.1%
  5             2 Bed / 2 Bath          911    $1,769        $885    $1.94   $1,809   $905    $1.99          2.3%
  5             2 Bed / 2 Bath          913    $1,659        $830    $1.82   $1,699   $850    $1.86          2.4%
  5             2 Bed / 2 Bath          940    $1,623        $812    $1.73   $1,663   $832    $1.77          2.5%
  4        2 Bed / 2 Bath, Dbl Occ     1,066   $3,000        $750    $2.81   $2,920   $730    $2.74         -2.7%
  1        2 Bed / 2 Bath, Dbl Occ     1,088   $2,796        $699    $2.57   $2,796   $699    $2.57         0.0%
  3          2 Bed / 2 Bath, Icon       931    $2,308      $1,154    $2.48   $2,208  $1,104   $2.37         -4.3%
  3         2 Bed / 2 Bath, Lofts       970    $2,398      $1,199    $2.47   $2,298  $1,149   $2.37         -4.2%
LOW                                    502     $1,019      $510      $1.73   $1,064       $532      $1.77   -6.5%
HIGH                                   1,088   $3,000      $1,374    $3.38   $2,920      $1,334     $3.28   4.4%
AVERAGE                                828     $1,973      $917      $2.38   $1,961       $912      $2.37   -0.3%
MEDIAN                                 836     $1,850      $908      $2.44   $1,895       $928      $2.37   2.1%
SUBJECT ANALYSIS & CONCLUSIONS
                                                    ASKING RENT                       ACTUAL RENT              CONCLUDED RENT
UNITS           UNIT TYPE              SIZE    $/UNIT      $/BED     $/SF    $/UNIT      $/BED      $/SF    $/UNIT   $/BED     $/SF
13          2 Bed / 2 Bath, WDP         794    $1,444      $722      $1.82   $1,703       $851      $2.14   $1,700   $850      $2.14
5           2 Bed / 2 Bath, WDP         853    $1,604      $802      $1.88   $1,701       $851      $1.99   $1,750   $875      $2.05
5           2 Bed / 2 Bath, WDP         945    $1,772      $886      $1.88   $1,698       $849      $1.80   $1,800   $900      $1.90
3           2 Bed / 2 Bath, WDP         937    $1,830      $915      $1.95   $1,737       $869      $1.85   $1,800   $900      $1.92
10      2 Bed / 2 Bath, Dbl Occ, WDP   1,082   $2,220      $555      $2.05   $2,529       $632      $2.34   $2,400   $600      $2.22




The rent comparables range in size from 502 SF to 1,088 SF, with an average unit size of 828 SF. The rent
comparables' unadjusted rent/bed per month ranges from $510 to $1,374, with an average rent of $917. After
applying adjustments to the comparables for differences in amenities, laundry, parking and utilities, the rent
comparables' rent per month ranges from $532 to $1,334, with an average rent of $912 per bed. Our concluded
market rents represent effective rates (net of concessions) and are supported by in-place leases and the adjusted
comparable rate range.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                            85
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 94 of 134
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 95 of 134
CONTINUED                                                                                                                    DAL210584


                                              4 BEDROOM UNIT CONCLUSION
                                      UNIT              RENT/MONTH            ADJUSTED RENT/MONTH            NET
COMP             UNIT TYPE            SIZE     $/UNIT       $/BED    $/SF    $/UNIT  $/BED    $/SF          ADJ %
  2            4 Bed / 2 Bath         1,035    $2,996        $749    $2.89   $3,041   $760    $2.94          1.5%
  3         4 Bed / 2 Bath, Icon      1,064    $2,796        $699    $2.63   $2,696   $674    $2.53         -3.6%
  3         4 Bed / 2 Bath, Lofts     1,064    $2,796        $699    $2.63   $2,696   $674    $2.53         -3.6%
  4            4 Bed / 4 Bath         1,290    $3,796        $949    $2.94   $3,716   $929    $2.88         -2.1%
  4            4 Bed / 4 Bath         1,324    $3,520        $880    $2.66   $3,440   $860    $2.60         -2.3%
  4            4 Bed / 4 Bath         1,335    $4,740      $1,185    $3.55   $4,660  $1,165   $3.49         -1.7%
  4            4 Bed / 4 Bath         1,344    $3,556        $889    $2.65   $3,476   $869    $2.59         -2.2%
  1            4 Bed / 4 Bath         1,356    $3,140        $785    $2.32   $3,140   $785    $2.32          0.0%
  4            4 Bed / 4 Bath         1,367    $3,560        $890    $2.60   $3,480   $870    $2.55         -2.2%
  5            4 Bed / 4 Bath         1,372    $2,677        $669    $1.95   $2,717   $679    $1.98          1.5%
  4            4 Bed / 4 Bath         1,379    $3,796        $949    $2.75   $3,716   $929    $2.69         -2.1%
  5            4 Bed / 4 Bath         1,396    $2,640        $660    $1.89   $2,680   $670    $1.92          1.5%
  5            4 Bed / 4 Bath         1,436    $2,801        $700    $1.95   $2,841   $710    $1.98          1.4%
  5            4 Bed / 4 Bath         1,498    $2,820        $705    $1.88   $2,860   $715    $1.91          1.4%
  3         4 Bed / 4 Bath, Icon      1,362    $3,500        $875    $2.57   $3,400   $850    $2.50         -2.9%
  3         4 Bed / 4 Bath, Lofts     1,362    $3,500        $875    $2.57   $3,400   $850    $2.50         -2.9%
LOW                                   1,035    $2,640      $660      $1.88   $2,680       $670      $1.91   -3.6%
HIGH                                  1,498    $4,740      $1,185    $3.55   $4,660      $1,165     $3.49   1.5%
AVERAGE                               1,312    $3,290      $822      $2.53   $3,247       $812      $2.49   -1.1%
MEDIAN                                1,359    $3,320      $830      $2.62   $3,270       $818      $2.53   -2.1%
SUBJECT ANALYSIS & CONCLUSIONS
                                                    ASKING RENT                       ACTUAL RENT              CONCLUDED RENT
UNITS           UNIT TYPE             SIZE     $/UNIT      $/BED     $/SF    $/UNIT      $/BED      $/SF    $/UNIT   $/BED     $/SF
5           4 Bed /   4 Bath,   WDP   1,336    $2,608      $652      $1.95   $2,900       $725      $2.17   $2,700   $675      $2.02
5           4 Bed /   4 Bath,   WDP   1,460    $2,740      $685      $1.88   $2,823       $706      $1.93   $2,800   $700      $1.92
29          4 Bed /   4 Bath,   WDP   1,244    $2,600      $650      $2.09   $2,837       $709      $2.28   $2,700   $675      $2.17
5           4 Bed /   4 Bath,   WDP   1,219    $2,600      $650      $2.13   $2,866       $717      $2.35   $2,700   $675      $2.21
14          4 Bed /   4 Bath,   WDP   1,573    $2,900      $725      $1.84   $3,135       $784      $1.99   $3,000   $750      $1.91

The rent comparables range in size from 1,035 SF to 1,498 SF, with an average unit size of 1,312 SF. The rent
comparables' unadjusted rent/bed per month ranges from $660 to $1,185, with an average rent of $822. After
applying adjustments to the comparables for differences in amenities, laundry, parking and utilities, the rent
comparables' rent per month ranges from $670 to $1,165, with an average rent of $812. Our concluded market
rents represent effective rates (net of concessions) and are supported by the fact that the current quoted rents
fall below the actual in-place leases. Our concluded rents are also supported by the adjusted rents at
Comparable 5, which is located slightly further from the campus.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                            87
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 96 of 134
CONTINUED                                                                                                                                                                     DAL210584


Potential Rental Income

The gross rental income equals the total gross income based the rent conclusions presented previously and is
summarized in the following table.
                                                                         APARTMENT POTENTIAL GROSS INCOME
                                                                    ASKING RENT                       CONTRACT RENT (BLENDED)                   CONCLUDED MARKET RENT            CONTRACT
UNIT TYPE                      UNITS BEDS   SF     $/UNIT (MO.) $/BED (MO.) MONTHLY ANNUALLY $/UNIT (MO.) $/BED (MO.) MONTHLY ANNUALLY $/UNIT (MO.) $/BED (MO.) MONTHLY ANNUALLY V. MARKET
Efficiency, WDP                  5          350      $1,100     $1,100    $5,500     $66,000     $916      $903      $4,580    $54,960    $925       $925     $4,625    $55,500    99.0%
Efficiency, WDP                  5          358      $1,140     $1,140    $5,700     $68,400     $921      $916      $4,606    $55,272    $925       $925     $4,625    $55,500    99.6%
1 Bed / 1 Bath, WDP              5    5     488      $1,315     $1,315    $6,575     $78,900     $1,170   $1,162     $5,848    $70,176    $1,200    $1,200    $6,000    $72,000    97.5%
1 Bed / 1 Bath, WDP              5    5     501      $1,350     $1,350    $6,750     $81,000     $1,139   $1,124     $5,695    $68,340    $1,200    $1,200    $6,000    $72,000    94.9%
2 Bed / 2 Bath, WDP             13    26    794      $1,444      $722     $18,772   $225,264     $1,703    $851     $22,136    $265,632   $1,700     $850     $22,100   $265,200   100.2%
2 Bed / 2 Bath, WDP              5    10    853      $1,604      $802     $8,020     $96,240     $1,721    $851      $8,603    $103,236   $1,750     $875     $8,750    $105,000   98.3%
2 Bed / 2 Bath, WDP              5    10    945      $1,772      $886     $8,860    $106,320     $1,749    $849      $8,745    $104,934   $1,800     $900     $9,000    $108,000   97.2%
2 Bed / 2 Bath, WDP              3    6     937      $1,830      $915     $5,490     $65,880     $1,769    $869      $5,306    $63,666    $1,800     $900     $5,400    $64,800    98.3%
2 Bed / 2 Bath, Dbl Occ, WDP    10    20    1082     $2,220      $555     $22,200   $266,400     $2,435    $632     $24,354    $292,242   $2,400     $600     $24,000   $288,000   101.5%
3 Bed / 3 Bath, WDP              1    3     1060     $2,631      $877     $2,631     $31,572                 -                 #VALUE!    $2,100     $700     $2,100    $25,200
4 Bed / 4 Bath, WDP              5    20    1336     $2,608      $652     $13,040   $156,480     $2,880    $725     $14,399    $172,788   $2,700     $675     $13,500   $162,000   106.7%
4 Bed / 4 Bath, WDP              5    20    1460     $2,740      $685     $13,700   $164,400     $2,818    $706     $14,088    $169,056   $2,800     $700     $14,000   $168,000   100.6%
4 Bed / 4 Bath, WDP             29    116   1244     $2,600      $650     $75,400   $904,800     $2,802    $709     $81,251    $975,012   $2,700     $675     $78,300   $939,600   103.8%
4 Bed / 4 Bath, WDP              5    20    1219     $2,600      $650     $13,000   $156,000     $2,808    $717     $14,040    $168,474   $2,700     $675     $13,500   $162,000   104.0%
4 Bed / 4 Bath, WDP             14    56    1573     $2,900      $725     $40,600   $487,200     $3,058    $784     $42,811    $513,726   $3,000     $750     $42,000   $504,000   101.9%
TOTAL                           115   317            $2,141      $710    $246,238   $2,954,856   $2,230    $739     $256,460   #VALUE!    $2,208     $732    $253,900 $3,046,800   101.0%
 Contract + Market (Vacant Units Projected At Market Level)




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                             88
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 97 of 134
CONTINUED                                                                                                                 DAL210584


Rent Roll Analysis
The rent roll analysis serves as a crosscheck to the estimate of market rent for the subject. The collections shown
on the rent roll include rent premiums and/or discounts.

                                                    RENT ROLL ANALYSIS
                         INCOME COMPONENT                                     MONTHLY    TOTAL ANNUAL
                         73.25   Occupied Units @ Contract Rent               $165,735       $1,988,814
                         42      Vacant Units     @ Market Rates               $92,825       $1,113,900
                         115     Total Units      @ Contract Rent (Blended)   $256,460       $3,077,514
                         115     Total Units      @ Market Rent               $253,900       $3,046,800
                         % Difference (In-Place versus Market)                                   (1.0%)


Please note that our projected total annual rent income is 1% less than the actual rental income reflected in the
rent roll analysis. This situation is due to the fact that the market has softened over the past year and several of
these existing leases reflect higher rental rates than our projected market rents. All of the in-place leases will
expire by July 31, 2021. The new leases that commence in August are typically at lower rental rates with
concessions also provided. Due to this situation, we have not deducted an amount for loss to lease in our
analysis.
TOTAL INCOME BY TYPE
The graph below segregates the subject property’s income by type.


                          PERCENT OF TOTAL INCOME BY TYPE                                                   Efficiency,
                                                                                                               WDP
                                                                                                                2%



                                          4 Bed / 4 Bath, WDP
                                                  65%




                                                                                                             1 Bed / 1
                                                3 Bed / 3 Bath, WDP                                         Bath, WDP
                                                         9%                                                     5%


                    2 Bed / 2 Bath, Dbl
                        Occ, WDP
                                                                                              2 Bed / 2 Bath, WDP
                            1%
                                                                                                      18%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                     89
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 98 of 134
CONTINUED                                                                                                   DAL210584


Vacancy
Based on the subject's size, location and appeal, the competitive set, market participant interviews, and actual
leasing trends warrant primary consideration for our projected vacancy conclusion. As of the effective date of
this appraisal, the subject property has a current occupancy rate of 62.8%, which falls toward below three of the
four off campus privately owned student housing properties. It is believed that the subject’s occupancy rate can
increase somewhat on a stabilized basis given an aggressive marketing campaign, and considering the lack of
any additional new student housing projects planned in the subject market near the campus. In addition, it is
expected that there should be more students returning to live near the campus in the upcoming year with
improving COVID-19 conditions. Based on our analysis of supply/demand trends, a general vacancy rate of
15.0% is concluded.
Collection Loss
The subject’s historical figures reflect a collection loss that generally falls within the range of 1% to 2% over the
past three reporting periods. Given the subject’s quality class and tenant profile, with prudent property
management, collection loss should generally be no more than 1.0%. Typically, student properties require the
parent to guarantee the lease and collection loss should be below that of a traditional complex. Therefore, based
upon market expectations and the subject’s historical collection loss trend, we have utilized a collection loss
figure of 1.0%.
Concessions
Concessions or reduced rents are believed necessary in order to effectively compete in the local market. Our
projected market rents already account for this situation and are deemed to be net of concessions. Hence, we
have projected not projected an additional loss for concessions.
Gain/Loss to Lease
The Loss to Lease category was previously discussed in depth in the Rent Roll analysis section earlier in this
report. No loss to lease is applied since our projected market rents are actually less than the average in-place
rents on the current Rent Roll.
Administrative Unit(s)
The income loss associated with the subject’s administrative unit(s) is detailed below. Our payroll projections
specifically assume that no employees will receive free rent. If an employee does receive free rent, then
there should be a commensurate decrease in salaries. Therefore, we have not projected any income loss from
the employees. The following chart details the subject’s projected rent loss associated with administrative unit(s),
which includes a two bedroom model unit.

                                           ADMINISTRATIVE UNIT(S)
                                                                    Est. Market Rent or Annual
                           Unit #        Use          Unit Type
                                                                          Discount      Rent Loss
                            118         Model         2 BD / 2 BA         $1,800           $21,600
                                                                                   Total   $21,600
                                                                            Projection     $21,600




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                        90
INCOME APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 99 of 134
CONTINUED                                                                                                                                   DAL210584


Income Loss Summary
This category was discussed in depth in the market analysis section of the report and summarized above. Please
reference the market analysis for a full analysis. Our conclusions are summarized in the following table:
                                                            INCOME LOSS
            General Vacancy Rate                                                                                                15.0%
            Credit Loss Conclusion                                                                                               1.0%
            Concessions                                                                                                          0.0%
            Loss to Lease                                                                                                        0.0%
            Admin Unit(s)                                                                                                        0.7%
            TOTAL                                                                                                               16.7%




OTHER INCOME
In the following section, we analyzed and made conclusions for the other income items of the subject property.

  OTHER INCOME ANALYSIS & CONCLUSIONS
MISCELLANEOUS INCOME                                                                             ANALYSIS
                                      SUBJECT                   The concluded amount is all inclusive of income associated with miscellaneous
YEAR                    TOTAL        $/UNIT     $/BED    %EGI   income, including late fees and deposit forfeitures. The concluded amount for
                                                                Miscellaneous Income is based on the actual historical trends for the past several
2018                   $223,390      $1,943       $644   7.1%
                                                                reporting periods
2019                      $89,356     $777       $258    3.0%
March 2020 T-12           $83,201     $723       $240    2.8%
CONCLUSION                $85,000     $739       $245    3.1%
UTILITY REIMBURSEMENTS                                                                                 ANALYSIS
                                      SUBJECT                   The concluded amount is all inclusive of income associated with utility
YEAR                      TOTAL      $/UNIT     $/BED    %EGI   reimbursements. The subject recently started billing each resident $4.50 per month
                                                                for all utilities. In addition, tenants must reimburse the landlord for all electricity
2018                      $13,803      $120        $40   0.4%
                                                                costs above $25 per month. The conclusion is based on the historical income
2019                      $30,915     $269        $89    1.1%
                                                                information, inflation considered, and primarily accounts for the flat monthly utilities
March 2020 T-12           $38,241     $333       $110    1.3%   payment, as well as all amounts above $25 per month for each resident.
CONCLUSION                $40,000     $348       $115    1.5%
PARKING INCOME                                                                                         ANALYSIS
                                      SUBJECT                   The concluded amount is all inclusive of income associated with parking income.
YEAR                    TOTAL        $/UNIT     $/BED    %EGI   The subject quotes $85 per month for a parking space in the garage. However, it
                                                                appears that the landlord has waived some parking fees or offered reduced fees as a
2018                   $112,654        $980       $325   3.6%
                                                                leasing incentive over the past couple of years. We have projected an amount that
2019                      $99,985     $869       $288    3.4%
                                                                falls in-line with the actual performance over the past two reporting periods.
March 2020 T-12           $94,932     $825       $274    3.2%




CONCLUSION                $95,000     $826       $274    3.4%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                          91
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 100 of 134
CONTINUED                                                                                                                               DAL210584


Effective Gross Income
Given the preceding assumptions regarding rental rates, other income, vacancy and collection loss, and loss to
lease factors, the subject's effective gross income (EGI) is estimated as follows:

                                            EFFECTIVE GROSS INCOME (EGI)
YEAR                      TOTAL        $/UNIT    $/BED        %EGI                                      ANALYSIS
2018                     $3,163,391   $27,508     $9,116   100.0%    Our projected stabilized EGI is lower than the March 2020 Trailing 12 Month
                                                                     figure, which is the latest historical operating data available. Our estimated EGI
2019                     $2,934,701   $25,519     $8,457   100.0%    is believed reasonable based on the overbuilt nature of the local student market,
March 2020 T-12          $2,937,552   $25,544     $8,466   100.0%    which has led to lower effective rents and occupancy levels. The market should
                                                                     start to slowly improve over the next couple of years as long as there is no
PROFORMA                 $2,757,712   $23,980     $7,947   100.0%    additional new inventory of new student housing dwelling units.




We have based our Gross Potential Rent on the subject’s direct competitors’ rental rates and the subject’s
historical collections, as well as the projected market rents on leases that commence in August 2021. In addition,
we have combined this with a total adjustment of 16.7% for vacancy, collection loss, concessions, administrative
units, and loss-to-lease. With proper management, we believe the projected EGI is reasonable and attainable
by August 2022, given the quality of the property and the dynamics of the local market.

INCOME & EXPENSE ANALYSIS
The preceding section addressed potential risks associated with the cash flow of the subject property. Having
addressed potential risks, it is appropriate to analyze historical revenues and operating expenses. Operating
expenses include those items necessary to maintain the subject property and generate income at the forecasted
level. Expenses associated with debt financing, depreciation, or other accounting items are disregarded.
Expenses are estimated based on one or more of the following sources: (1) historical or projected operation of
the subject; (2) comparable expense properties; (3) published operating sources; or (4) individual suppliers.
Please note that the subject’s most recent financial information available and provided to the appraisers
was the March 2020 T-12 Statement. The expense comparables reflect varying accounting methods with
respect to individual line items and reserves for replacement expenses. On a line-item basis, due to the variances
in accounting and classification, their applicability is diminished. The following section provides supporting
information and discusses the individual expense conclusions for the subject property. Also included on the table
are the projected revenue on a stabilized basis:




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                         92
INCOME APPROACH Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 101 of 134
CONTINUED                                                                                                                                                                                                                DAL210584




                                                                      SUBJECT OPERATING HISTORICALS
                                                                                                                                                                                           COLLIERS FORECAST
YEAR                                               2018                                           2019                                     March 2020 T-12                                         PROFORMA
INCOME ITEMS                       TOTAL      $/UNIT       $/BED       %EGI       TOTAL      $/UNIT       $/BED       %EGI       TOTAL      $/UNIT     $/BED       %EGI       TOTAL      $/UNIT       $/BED        $/SF       %EGI
Potential Rental Income         $3,567,810   $31,024      $10,282    112.8%    $2,915,616   $25,353       $8,402     99.3%    $2,903,878   $25,251     $8,369     98.9%    $3,046,800   $26,494       $8,780    $25.25      110.5%
TOTAL RENTAL INCOME             $3,567,810   $31,024      $10,282    112.8%    $2,915,616   $25,353       $8,402     99.3%    $2,903,878 $25,251       $8,369     98.9%    $3,046,800   $26,494       $8,780    $25.25      110.5%
OTHER INCOME
  Miscellaneous Income            $223,390    $1,943         $644      7.1%      $89,356       $777         $258      3.0%      $83,201       $723       $240      2.8%      $85,000       $739         $245     $0.70        3.1%
  Utility Reimbursements           $13,803      $120          $40      0.4%      $30,915       $269          $89      1.1%      $38,241       $333       $110      1.3%      $40,000       $348         $115     $0.33        1.5%
  Parking Income                  $112,654      $980         $325      3.6%      $99,985       $869         $288      3.4%      $94,932       $825       $274      3.2%      $95,000       $826         $274     $0.79        3.4%
TOTAL OTHER INCOME                $349,847    $3,042       $1,008     11.1%     $220,256     $1,915         $635      7.5%     $216,374     $1,882       $624      7.4%     $220,000     $1,913         $634     $1.82        8.0%
POTENTIAL GROSS INCOME (PGI)    $3,917,657   $34,067      $11,290    123.8%    $3,135,872   $27,268       $9,037    106.9%    $3,120,252   $27,133     $8,992    106.2%    $3,266,800   $28,407       $9,414    $27.07      118.5%
Vacancy                         ($236,399)   ($2,056)      ($681)     (7.5%)          $0           -            -     0.0%           $0           -          -     0.0%    ($457,020)   ($3,974)     ($1,317)    ($3.79)    (16.6%)
Credit Loss                      ($71,417)     ($621)      ($206)     (2.3%)    ($25,911)    ($225)         ($75)    (0.9%)    ($35,026)    ($305)     ($101)     (1.2%)    ($30,468)    ($265)         ($88)    ($0.25)     (1.1%)
Concessions                     ($286,503)   ($2,491)      ($826)     (9.1%)    ($52,102)    ($453)       ($150)     (1.8%)    ($28,505)    ($248)       ($82)    (1.0%)          $0           -            -          -      0.0%
Loss To Lease                    ($80,456)     ($700)      ($232)     (2.5%)          $0           -            -     0.0%           $0           -          -     0.0%           $0           -            -          -      0.0%
Admin Unit(s)                    ($79,491)     ($691)      ($229)     (2.5%)   ($123,158)   ($1,071)      ($355)     (4.2%)   ($119,169)   ($1,036)    ($343)     (4.1%)    ($21,600)    ($188)         ($62)    ($0.18)     (0.8%)
EFFECTIVE GROSS INCOME (EGI)    $3,163,391   $27,508       $9,116    100.0%    $2,934,701   $25,519       $8,457    100.0%    $2,937,552   $25,544     $8,466    100.0%    $2,757,712   $23,980       $7,947    $22.86      100.0%
EXPENSE ITEMS
  Real Estate Taxes             ($784,828)   ($6,825)     ($2,262)   (24.8%)   ($804,564)   ($6,996)     ($2,319)   (27.4%)   ($806,140)   ($7,010)   ($2,323)   (27.4%)   ($472,706)   ($4,110)     ($1,362)    ($3.92)    (17.1%)
  Property Insurance             ($88,034)     ($766)      ($254)     (2.8%)    ($86,730)    ($754)       ($250)     (3.0%)    ($90,899)    ($790)     ($262)     (3.1%)    ($92,000)    ($800)       ($265)     ($0.76)     (3.3%)
  Electricity                   ($130,355)   ($1,134)      ($376)     (4.1%)   ($124,524)   ($1,083)      ($359)     (4.2%)   ($119,510)   ($1,039)    ($344)     (4.1%)   ($130,000)   ($1,130)      ($375)     ($1.08)     (4.7%)
  Water & Sewer                  ($83,640)     ($727)      ($241)     (2.6%)    ($54,885)    ($477)       ($158)     (1.9%)    ($61,600)    ($536)     ($178)     (2.1%)    ($70,000)    ($609)       ($202)     ($0.58)     (2.5%)
  Gas                                   $0          -            -     0.0%           $0           -            -     0.0%           $0           -          -     0.0%           $0           -            -          -      0.0%
  Trash Removal                  ($29,331)     ($255)        ($85)    (0.9%)    ($16,574)    ($144)         ($48)    (0.6%)    ($15,995)    ($139)       ($46)    (0.5%)    ($17,000)    ($148)         ($49)    ($0.14)     (0.6%)
  Repairs & Maintenance         ($233,101)   ($2,027)      ($672)     (7.4%)   ($172,778)   ($1,502)      ($498)     (5.9%)   ($189,816)   ($1,651)    ($547)     (6.5%)   ($165,000)   ($1,435)      ($476)     ($1.37)     (6.0%)
  Management Fee                        $0          -            -     0.0%           $0           -            -     0.0%           $0           -          -     0.0%     ($82,731)    ($719)       ($238)     ($0.69)     (3.0%)
  Payroll                       ($311,858)   ($2,712)      ($899)     (9.9%)   ($336,555)   ($2,927)      ($970)    (11.5%)   ($346,906)   ($3,017)   ($1,000)   (11.8%)   ($250,000)   ($2,174)      ($720)     ($2.07)     (9.1%)
  Advertising                    ($54,652)     ($475)      ($157)     (1.7%)    ($92,676)    ($806)       ($267)     (3.2%)    ($98,254)    ($854)     ($283)     (3.3%)   ($100,000)    ($870)       ($288)     ($0.83)     (3.6%)
  General & Administrative       ($50,388)     ($438)      ($145)     (1.6%)    ($34,715)    ($302)       ($100)     (1.2%)    ($32,820)    ($285)       ($95)    (1.1%)    ($40,000)    ($348)       ($115)     ($0.33)     (1.5%)
  Property Specific             ($276,188)   ($2,402)      ($796)     (8.7%)   ($194,851)   ($1,694)      ($562)     (6.6%)   ($202,035)   ($1,757)    ($582)     (6.9%)   ($205,000)   ($1,783)      ($591)     ($1.70)     (7.4%)
  Franchise Taxes                       $0          -            -     0.0%           $0           -            -     0.0%           $0           -          -     0.0%      ($9,128)      ($79)        ($26)    ($0.08)     (0.3%)
  Reserves                              $0          -            -     0.0%           $0           -            -     0.0%           $0           -          -     0.0%     ($43,375)    ($377)       ($125)     ($0.36)     (1.6%)
TOTAL EXPENSES                 ($2,042,375) ($17,760)     ($5,886)   (64.6%) ($1,918,852) ($16,686)      ($5,530)   (65.4%) ($1,963,975) ($17,078)    ($5,660)   (66.9%) ($1,676,941) ($14,582)      ($4,833)   ($13.90)    (60.8%)

NET OPERATING INCOME (NOI)      $1,121,016    $9,748       $3,231     35.4%    $1,015,849    $8,833       $2,928     34.6%     $973,577     $8,466     $2,806     33.1%    $1,080,771    $9,398       $3,115     $8.96       39.2%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                                                                     93
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 102 of 134
CONTINUED                                                                                                                                                                                    DAL210584


Analysis of Operating Expenses
Expenses are estimated based on one or more of the following sources: (1) historical or projected operation of
the subject; (2) comparable expense properties; (3) published operating sources; or (4) individual suppliers. The
expense comparables reflect varying accounting methods with respect to individual line items and reserves for
replacement expenses. On a line-item basis, due to the variances in accounting and classification, their
applicability is diminished. The following section provides supporting information and discusses the individual
expense conclusions for the subject property. The operating expenses for the subject property were presented
previously. The following chart summarizes comparable expenses.



                                                            EXPENSE COMPARABLES
COMPARABLE                         COMP 1                      COMP 2                     COMP 3                      COMP 4                      COMP 5                  LOW        HIGH        AVG
 Expense Year                          2018                       2018                     2019                        2018                        2017                     2017       2019        2018
 Actual/Budget                     Actual                      Actual                      Actual                      Actual                      Actual                        -           -          -
 Units                                  254                       278                          168                         160                         264                   160        278         225
 Beds                                   780                       400                          504                         472                         785                   400        785         588
 Net Rentable Area                 260,700                     257,409                    207,252                     197,336                     306,302                 197,336    306,302     245,800
 Avg. Unit Size                1,026           334          926           644          1,234          411          1,233          418          1,160          390                -           -          -
 Year Built                            1994                       2004                     2009                        2016                        2015                     1994       2016        2008
 Rental Income                     $9,546                      $14,591                    $19,164                     $24,222                     $22,898                  $9,546    $24,222     $18,084
 Miscellaneous Income                  $594                       $145                     $494                       $2,301                       $820                     $145      $2,301       $871
 Miscellaneous Income % EGI            5.9%                       1.1%                     2.5%                        8.7%                        3.5%                     1.1%       8.7%        4.3%
EGI ($/UNIT)                  $10,140         $3,302       $12,983       $9,023       $19,658        $6,553       $26,522        $8,991       $23,718        $7,977       $10,140    $26,522     $18,604

EXPENSE ITEMS                   $/UNIT          $/BED        $/UNIT       $/BED         $/UNIT        $/BED         $/UNIT        $/BED         $/UNIT        $/BED         LOW        HIGH        AVG
 Real Estate Taxes                $614           $200        $1,248        $867         $3,356       $1,119         $4,996       $1,693         $2,613         $879         $614      $4,996      $2,565
 Property Insurance               $402           $131          $128         $89           $721         $240           $451         $153           $448         $151         $128       $721        $430
 Electricity                    $1,422           $463        $1,103        $767           $917         $306         $1,742         $590           $387         $130         $387      $1,742      $1,114
 Water & Sewer                    $568           $185          $279        $194         $1,266         $422           $701         $238           $597         $201         $279      $1,266       $682
 Gas                                   $7            $2         $13             $9              -             -             -             -        $12              $4          $7      $13         $11
 Trash Removal                    $184            $60           $88         $61           $253          $84           $164          $56           $220          $74          $88       $253        $182
 Repairs & Maintenance            $401           $131          $954        $663           $890         $297         $1,037         $352         $1,559         $524         $401      $1,559       $968
 Management Fee                   $308           $100          $419        $291           $588         $196           $792         $269           $709         $239         $308       $792        $563
 Payroll                        $1,806           $588        $1,304        $906         $1,824         $608         $2,266         $768         $2,528         $850        $1,304     $2,528      $1,946
 Advertising                      $265            $86          $356        $248           $255          $85           $374         $127         $1,032         $347         $255      $1,032       $456
 General & Administrative         $244            $79          $516        $359           $349         $116           $423         $143           $620         $208         $244       $620        $430
 Property Specific                $928           $302          $827        $574         $1,161         $387           $807         $274           $970         $326         $807      $1,161       $939
 Franchise Taxes                        -              -          $72       $50            $65          $22                 -             -             -             -      $65        $72         $68
 Reserves                               -              -             -            -             -             -             -             -             -             -         $0          $0          -
TOTAL EXPENSES ($/UNIT)         $7,148         $2,328        $7,309      $5,080        $11,646       $3,882        $13,752       $4,662        $11,694       $3,933        $7,148    $13,752     $10,310




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                                                            94
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 103 of 134
CONTINUED                                                                                                                                             DAL210584


Conclusion of Operating Expenses
In the following section we discuss the individual expense conclusions for the subject property.



 EXPENSE ANALYSIS & CONCLUSIONS
REAL ESTATE TAXES                                                                                                            ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               Please refer to the Assessments and Taxes section for
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   additional details. Our projected stabilized assessment
 2018              $784,828   $6,825 $2,262     $6.50   24.8%     1   $614 $200 $0.60       6.1%   reflects a significant decrease from the current year, and is
 2019              $804,564   $6,996   $2,319   $6.67   27.4%     2   $1,248 $867   $1.22   9.6%   based on the stabilized value estimate contained in this
                                                                                                   appraisal report.
 March 2020 T-12   $806,140   $7,010   $2,323   $6.68   27.4%     3   $3,356 $1,119 $3.27 17.1%
                                                                  4   $4,996 $1,693 $4.87 18.8%
                                                                  5   $2,613 $879   $2.55 11.0%
CONCLUSION         $472,706   $4,110   $1,362   $3.92   17.1%   AVG $2,565 $952     $2.50 12.5%
PROPERTY INSURANCE                                                                                                          ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               This expense includes all premiums and costs incurred for
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   insurance covering structures, public liability, rental value,
 2018               $88,034    $766   $254      $0.73   2.8%      1   $402 $131 $0.39       4.0%   and equipment. The historical insurance expense has been
 2019               $86,730   $754     $250     $0.72   3.0%      2   $128   $89    $0.13   1.0%   fairly stable over the past three reporting periods. The
                                                                                                   conclusion is based on the actual policy premiums and
 March 2020 T-12    $90,899   $790     $262     $0.75   3.1%      3   $721   $240   $0.70   3.7%
                                                                                                   historical trends over the past few reporting periods. The
                                                                  4   $451   $153   $0.44   1.7%   subject is required to carry flood insurance, and thus the
                                                                  5   $448   $151   $0.44   1.9%   actual policy premium is higher than each of the
CONCLUSION          $92,000   $800     $265     $0.76   3.3%    AVG   $430   $153   $0.42   2.4%   comparables.
ELECTRICITY                                                                                                                ANALYSIS
                                     SUBJECT                           EXPENSE COMPS               At the subject, the owner is responsible for payment of the
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF %EGI        electricity charge up to a cap of $25 per month for each
 2018              $130,355   $1,134   $376     $1.08   4.1%      1 $1,422 $463 $1.39 14.0%        resident. In addition, the owner also pays all electricity
 2019              $124,524   $1,083   $359     $1.03   4.2%      2   $1,103 $767   $1.07   8.5%   costs for the common areas. Given that electricity costs
                                                                                                   will vary from property-to-property due to a number of
 March 2020 T-12   $119,510   $1,039   $344     $0.99   4.1%      3   $917   $306   $0.89   4.7%
                                                                                                   factors, we have leaned on the subject’s historical figures for
                                                                  4   $1,742 $590   $1.70   6.6%   our projection. Our estimate accounts for slightly higher
                                                                  5   $387   $130   $0.38   1.6%   stabilized occupancy levels as compared to the most recent
CONCLUSION         $130,000   $1,130   $375     $1.08   4.7%    AVG $1,114 $451     $1.09   7.1%   12 month period.
WATER & SEWER                                                                                                                ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               Water/sewer costs can vary considerably property-to-
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   property. This is due to the various factors and charges (ex:
 2018               $83,640    $727   $241      $0.69   2.6%      1   $568 $185 $0.55       5.6%   different municipalities will charge for water at different
 2019               $54,885   $477     $158     $0.45   1.9%      2   $279   $194   $0.27   2.2%   rates). Therefore, we have leaned on the subject’s historical
                                                                                                   figures for our projection, and also accounted for a slightly
 March 2020 T-12    $61,600   $536     $178     $0.51   2.1%      3   $1,266 $422   $1.23   6.4%
                                                                                                   higher occupancy on a stabilized basis as compared to the
                                                                  4   $701   $238   $0.68   2.6%   most recent 12 month period.
                                                                  5   $597   $201   $0.58   2.5%
CONCLUSION          $70,000   $609     $202     $0.58   2.5%    AVG   $682   $248   $0.66   3.9%
GAS                                                                                                                         ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               There is no gas service at the subject property.
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI
 2018                 $0                        $0.00   0.0%      1    $7     $2  $0.01     0.1%
 2019                 $0                        $0.00   0.0%      2    $13    $9    $0.01   0.1%
 March 2020 T-12      $0                        $0.00   0.0%      3     -      -      -      -
                                                                  4     -      -      -      -
                                                                  5    $12    $4    $0.01   0.1%
CONCLUSION            $0        -        -        -     0.0%    AVG    $11    $5    $0.01   0.1%
TRASH REMOVAL                                                                                                                 ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               This category includes trash removal expenses for the
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   subject. The conclusion is based on the subject's most
 2018               $29,331    $255    $85      $0.24   0.9%      1   $184   $60 $0.18      1.8%   recent actual historical figures.
 2019               $16,574   $144      $48     $0.14   0.6%      2    $88   $61    $0.09   0.7%
 March 2020 T-12    $15,995   $139      $46     $0.13   0.5%      3   $253   $84    $0.25   1.3%
                                                                  4   $164   $56    $0.16   0.6%
                                                                  5   $220   $74    $0.21   0.9%
CONCLUSION          $17,000   $148      $49     $0.14   0.6%    AVG   $182   $67    $0.18   1.1%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                    95
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 104 of 134
CONTINUED                                                                                                                                             DAL210584


REPAIRS & MAINTENANCE                                                                                                       ANALYSIS
                                     SUBJECT                           EXPENSE COMPS               This expense covers the cost of all routine maintenance and
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   repairs. This cost increased during the most recent 12
 2018              $233,101   $2,027   $672     $1.93   7.4%      1   $401 $131 $0.39       4.0%   month reporting period, and falls at the upper end of the
 2019              $172,778   $1,502   $498     $1.43   5.9%      2   $954   $663   $0.93   7.4%   comparable range on a per bed and per unit basis. We have
                                                                                                   projected a slightly lower amount that still falls in the upper
 March 2020 T-12   $189,816   $1,651   $547     $1.57   6.5%      3   $890   $297   $0.87   4.5%
                                                                                                   half of the comparable range. This cost estimate is well
                                                                  4   $1,037 $352   $1.01   3.9%   supported for a property such as the subject's vintage. Our
                                                                  5   $1,559 $524   $1.52   6.6%   conclusion also considers the separate amount for reserves.
CONCLUSION         $165,000   $1,435   $476     $1.37   6.0%    AVG   $968   $393   $0.94   5.3%
MANAGEMENT FEE                                                                                                              ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               This expense reflects the professional management service
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF %EGI        for the subject. The subject's historical operating statements
 2018                 $0                        $0.00   0.00%     1   $308 $100 $0.30 3.04%        do not provide a separate expense amount for management
 2019                 $0                        $0.00   0.00%     2   $419   $291   $0.41 3.23%    fees. thus, our conclusion is based on a market oriented
                                                                                                   fee at 3.0% of EGI.
 March 2020 T-12      $0                        $0.00   0.00%     3   $588   $196   $0.57 2.99%
                                                                  4   $792   $269   $0.77 2.99%
                                                                  5   $709   $239   $0.69 2.99%
CONCLUSION          $82,731   $719     $238     $0.69   3.00%   AVG   $563   $219   $0.55 3.05%
PAYROLL                                                                                                                      ANALYSIS
                                     SUBJECT                           EXPENSE COMPS               the subject's historical cost trend is believed to be above
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF %EGI        market and includes an excessive number of employees. It
 2018              $311,858   $2,712   $899     $2.58   9.9%      1 $1,806 $588 $1.76 17.8%        is believed that the subject could operate effeciently with a
 2019              $336,555   $2,927   $970     $2.79   11.5%     2   $1,304 $906   $1.27 10.0%    manager,       lead      maintenance,       leasing    agent,
                                                                                                   porter/groundskeeper and some part-time leasing personnel.
 March 2020 T-12   $346,906   $3,017   $1,000   $2.88   11.8%     3   $1,824 $608   $1.78   9.3%
                                                                                                   Our forecast falls near the mid-point of the comparable range
                                                                  4   $2,266 $768   $2.21   8.5%   on a per unit, per bed and per square foot basis. This
                                                                  5   $2,528 $850   $2.46 10.7%    projected staffing level should be ample to operate the
                                                                                                   subject and continue in the trend of providing a clean
CONCLUSION         $250,000   $2,174   $720     $2.07   9.1%    AVG $1,946 $744     $1.90 11.3%    property with a professional staff.


ADVERTISING                                                                                                                 ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               This expense includes marketing, advertising and promoting
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   the subject property. For the subject, this category also
 2018               $54,652    $475   $157      $0.45   1.7%      1   $265   $86 $0.26      2.6%   includes gift cards provided to tenants as a leasing
 2019               $92,676   $806     $267     $0.77   3.2%      2   $356   $248   $0.35   2.7%   incentive. Comparable 5 reflects an extraordinarily high
                                                                                                   expense. The subject is located in an extremely
 March 2020 T-12    $98,254   $854     $283     $0.81   3.3%      3   $255   $85    $0.25   1.3%
                                                                                                   competitive market and reflects a cost at the high end of the
                                                                  4   $374   $127   $0.36   1.4%   typical range over the past reporting periods. We have relied
                                                                  5   $1,032 $347   $1.01   4.4%   on the actual historical trend and projected a similar
CONCLUSION         $100,000   $870     $288     $0.83   3.6%    AVG   $456   $178   $0.44   2.5%   amount.
GENERAL & ADMINISTRATIVE                                                                                                       ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               This expense includes office supplies, accounting, legal
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   fees, other professional fees, and all other administrative
 2018               $50,388    $438   $145      $0.42   1.6%      1   $244   $79 $0.24      2.4%   costs. The conclusion is based on the most recent historical
 2019               $34,715   $302     $100     $0.29   1.2%      2   $516   $359   $0.50   4.0%   figures, and falls in the lower half of the comparable range on
                                                                                                   a per unit and per bed basis.
 March 2020 T-12    $32,820   $285      $95     $0.27   1.1%      3   $349   $116   $0.34   1.8%
                                                                  4   $423   $143   $0.41   1.6%
                                                                  5   $620   $208   $0.60   2.6%
CONCLUSION          $40,000   $348     $115     $0.33   1.5%    AVG   $430   $181   $0.42   2.5%
PROPERTY SPECIFIC                                                                                                              ANALYSIS
                                     SUBJECT                           EXPENSE COMPS               This expense includes the subject's cable/internet
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   expenses, and other items such as utility billing fees and
 2018              $276,188   $2,402   $796     $2.29   8.7%      1   $928 $302 $0.90       9.2%   security services. We have leaned on the subject's
 2019              $194,851   $1,694   $562     $1.61   6.6%      2   $827   $574   $0.81   6.4%   historical figures for our projection, which falls well above the
                                                                                                   upper end of the expense comparable range on a per bed
 March 2020 T-12   $202,035   $1,757   $582     $1.67   6.9%      3   $1,161 $387   $1.13   5.9%
                                                                                                   and per unit basis.
                                                                  4   $807   $274   $0.79   3.0%
                                                                  5   $970   $326   $0.95   4.1%
CONCLUSION         $205,000   $1,783   $591     $1.70   7.4%    AVG   $939   $373   $0.91   5.7%
FRANCHISE TAXES                                                                                                             ANALYSIS
                                    SUBJECT                            EXPENSE COMPS               Franchise Tax is an income tax which depends on
 YEAR               TOTAL     $/UNIT $/BED       $/SF   %EGI    COMP $/UNIT $/BED $/SF      %EGI   numerous scenarios and there are various tax rates that
 2018                 $0                        $0.00   0.0%      1     -      -    -        -     could be imposed on the property owner, if any. Thus, for
 2019                 $0                        $0.00   0.0%      2    $72   $50    $0.07   0.6%   our analysis we have assumed the subject's owner would
                                                                                                   qualify for the 0.331% tax rate unless the property's EGI is
 March 2020 T-12      $0                        $0.00   0.0%      3    $65   $22    $0.06   0.3%
                                                                                                   over $20 million. If the property has an EGI below
                                                                  4     -     -       -      -     $1,130,000, no franchise tax would be due.
                                                                  5     -     -       -      -
CONCLUSION          $9,128     $79      $26     $0.08   0.3%    AVG    $68   $36    $0.07   0.4%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                      96
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 105 of 134
CONTINUED                                                                                                                                         DAL210584


RESERVES                                                                                                                      ANALYSIS
                                       SUBJECT                             EXPENSE COMPS            Reserves for replacements are not typical cash
 YEAR                   TOTAL    $/UNIT $/BED      $/SF   %EGI      COMP $/UNIT $/BED $/SF   %EGI   expenditures, but rather the annualized cost of major
 2018                     $0                      $0.00   0.0%        1     -      -    -     -     expense in the future. The expense conclusion considers
 2019                    $0                       $0.00   0.0%        2    -     -     -      -     the subject's age and condition. Please note that the
                                                                                                    financials for the subject and expense comparables did not
 March 2020 T-12         $0                       $0.00   0.0%        3    -     -     -      -
                                                                                                    include reserves; thus, we have modeled our projection
                                                                      4    -     -     -      -     across all comparables in a similar fashion to the subject.
                                                                      5    -     -     -      -
CONCLUSION             $43,375   $377      $125   $0.36   1.6%      AVG    -     -     -      -

TOTAL EXPENSES                     LOW                      HIGH                                                          CONCLUSION
SUBJECT HISTORICAL $/UNIT        $16,686                  $17,760                                   Overall, our projected expenses fall below the historical
EXPENSE COMPARABLES $/UNIT        $7,148                  $13,752                                   trend due to our anticipated decline in taxes and payroll
                                                                                                    costs. The total expense estimate is well supported by the
SALE COMPARABLE $/UNIT           $10,351                  $14,529
                                                                                                    expense comparable range. Please note that our projected
SUBJECT HISTORICAL $/BED          $5,530                   $5,886
                                                                                                    expense amount also includes reserves, which are not
EXPENSE COMPARABLES $/BED         $2,328                   $5,080                                   included in the comparable totals.
SALE COMPARABLE $/BED             $3,332                   $4,925
SUBJECT HISTORICAL %EGI           64.6%                    66.9%
EXPENSE COMPARABLES %EGI          49.3%                    70.5%
SALE COMPARABLES %EGI             44.1%                    59.9%
TOTAL EXPENSES $/UNIT                        $14,582
TOTAL EXPENSES $/BED                          $4,833
TOTAL EXPENSES %EGI                           60.8%
TOTAL EXPENSES                              $1,676,941




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                 97
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 106 of 134
CONTINUED                                                                                                              DAL210584


INVESTMENT MARKET ANALYSIS
Development of Capitalization Rate
The going-in capitalization rate, also known as overall rate (OAR), can be determined using several sources and
methods. In developing our opinion of OAR, the following techniques were used:
         ›    Comparable Sales (Sales Comparison Approach)
         ›    Investor Surveys
         ›    Band of Investment Technique
         ›    Debt Coverage Ratio Technique
Comparable Sales
The following table presents a summary of the comparable sales used ahead in the Sales Comparison Approach,
and the capitalization rates from each of those sales.


                                   CAPITALIZATION RATE COMPARABLES (OAR)
     NAME                  CITY          ST      SALE DATE         YR BLT UNITS AVG UNIT SF   $/UNIT     SALE PRICE CAP RATE
   1 Progress 405          Stillwater    OK    January 31, 2020     2016   180     1,144      $150,000   $27,000,000   5.28%
   2 Lighthouse            Wilmington    NC   February 20, 2020     2013   124     1,113      $216,935   $26,900,000   5.67%
   3 The Den               Columbia      MO      May 6, 2021        2014   158     1,230      $141,218   $22,312,500   5.80%
   4 Madera                San Antonio   TX     May 15, 2019        2009   168     1,233      $157,738   $26,500,000   5.92%
   5 Prado                 San Antonio   TX   September 14, 2018    2013   160     1,233      $240,625   $38,500,000   5.52%
   6 Catalyst Apartments   Tallahassee   FL   December 23, 2020     2013   130     1,127      $323,077   $42,000,000   5.58%
  LOW                                          September 2018                                                          5.28%
  HIGH                                            May 2021                                                             5.92%
  AVERAGE                                       February 2020                                                          5.63%
  MEDIAN                                        February 2020                                                          5.63%
  INDICATED CAPITALIZATION RATE (OAR)                                                                          5.50% to 6.00%




Capitalization rates have declined over the past several years due to interest rates remaining near all-time lows.
However, capitalization rates for student housing properties remained fairly steady over 2020 with slight
increases in some cases. According to information provided by active brokers and market participants, the
capitalization rates are declining again over the first half of 2021 with strong investment demand and continued
low interest rates. As previously explained, the subject’s local student apartment market is competitive and
appears to be overbuilt and saturated at the current time. This situation has produced a negative impact on
occupancy levels and rent growth over the past couple of years. Currently, it appears that the newest properties
in the market reflect the highest occupancy rates, with other properties (including the subject) competing for the
remaining tenants. There are no additional student housing projects reportedly planned for development, and
thus demand should outpace new inventory over the next few years, thereby producing probable occupancy
gains and income growth. In addition, it is anticipated that an increased number of students will move back to
properties near the campus in the upcoming year after staying at home and commuting to school (or taking a
year off) during the COVID-19 crisis. Considering all of these circumstances (including the uncertainty of how
long it will take for the local student housing market to rebound and reach stabilized levels again), a capitalization
rate slightly above the average of the sales appears reasonable on a stabilized basis.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                     98
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 107 of 134
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 108 of 134
CONTINUED                                                                                                   DAL210584


Band of Investment Technique
Because most properties are purchased with debt and equity capital, the overall capitalization rate must satisfy
the market return requirements of both investment positions. Lenders must anticipate receiving a competitive
interest rate commensurate with the perceived risk of the investment or they will not make funds available.
Lenders also require that the principal amount of the loan be repaid through amortization payments. Similarly,
equity investors must anticipate receiving a competitive equity cash return commensurate with the perceived risk
or they will invest their funds elsewhere.
To analyze the capitalization rate from a financial position, the Band of Investment Technique is used. Available
financing information indicates the following terms:


                                     BAND OF INVESTMENT ASSUMPTIONS
                               Loan Amortization Period                            30 Years
                               Interest Rate                                         3.50%
                               Loan-to-Value (LTV) Ratio                               75%
                               Mortgage Constant                                     5.39%

The equity dividend rate is the rate of return to the equity position and is generally higher than loan rates because
the equity position has greater risk than the debt position (since the loan is paid first and the remaining income
goes to the equity investor). The equity dividend is estimated to range between 1% to 5% more than the interest
rate. Per conversations with various brokers including CBRE, Newmark, and JLL employees, there is a significant
amount of capital in the marketplace and it is not abnormal for the equity rate to be lower than the interest rate
on Class A assets and just slightly above the mortgage rate for Class B assets, since the debt will typically have
three to five years of interest only term. Further, most investors and brokers reported that the IRR is the driving
factor which considers the debt, equity, cash flow and reversion. The previous terms and an appropriate equity
dividend rate are used in the Band of Investments calculations, which are presented on the following chart.

                                     BAND OF INVESTMENT CALCULATION
                             Mortgage Component              75%   x   5.39%   =   4.041%
                             Equity Component                25%   x   7.00%   =   1.750%
                             Indicated Capitalization Rate                         5.791%
                             INDICATED CAPITALIZATION RATE                          5.79%



Debt Coverage Ratio Technique
An alternate method to calculating capitalization rates based on financing metrics is the Debt Coverage Ratio
method, which uses the relationship between the DCR, LTV, and mortgage constant to conclude to a rate value.
Based on the assumptions previously discussed, we have concluded to a DCR of 1.35, an LTV of 75% and a
mortgage constant of 5.39%. The following calculation indicates the cap rate conclusion by this method:


                                    DEBT COVERAGE RATIO CALCULATION
                               Debt Coverage Ratio                                     1.35
                               Loan-to-Value (LTV) Ratio                               75%
                               Mortgage Constant                                     5.39%
                             INDICATED CAPITALIZATION RATE                           5.46%




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       100
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 109 of 134
CONTINUED                                                                                                     DAL210584


Capitalization Rate Conclusion
Taking all factors into consideration, the following table summarizes the various capitalization rate indicators and
provides the final capitalization rate conclusion.


                                    CAPITALIZATION RATE CONCLUSION (OAR)
                     SOURCE                         QUARTER      RANGE            AVG LAST Q LAST YR
                     Comparable Sales                         5.28% to   5.92%   5.63%       -       -
                     Investor Surveys                1Q 21    4.50% to   6.50%   5.40%   5.23%   5.31%
                     Casey Schaefer                  2Q 21    5.50% to   6.00%       -       -       -
                     Band of Investment Technique                                5.79%       -       -

                     Debt Coverage Technique                                     5.46%
                     AVERAGE                                  5.09% to   6.14%   5.57%   5.23%   5.31%
                     CAPITALIZATION CONCLUSION                                   5.75%




In general, we are of the opinion that direct market extraction derives the most reliable estimate. As explained
previously, we must consider the subject's age, location, historical operating trends, vacancy and expense
projections, and current costs of financing in projecting a capitalization rate.

After considering all relevant market factors and the specific attributes of the subject property (size, age, location,
recent operating trends, etc.), we have selected an overall capitalization rate of 5.75%. The rate selected is
effectively applied to the estimated NOI to arrive at a value estimate via direct capitalization.

ADJUSTMENTS TO VALUE
To reflect conditions in effect at the subject property as the date of value, adjustments to the capitalized value
were necessary for lease up costs. The following discussion summarizes our support of the value adjustments.
These adjustments carry forward to the other valuation sections as applicable to each approach to value.
Lease-Up Analysis
As of our valuation date of June 21, 2021, the subject property is only 62.8% occupied (based on number of
beds) and thus operating below a stabilized occupancy level. We have anticipated that the property will be fully
stabilized within 14 months from the effective appraisal date, or near the beginning of the 2022-2023 school year.
For the purposes of our analysis, the Prospective “As Stabilized” Market Value, assumes that the property is
operating at a stabilized occupancy level by August 21, 2022.
To determine the rent loss due to vacancy during the lease-up period, we will utilize the estimated stabilized
rents and apply these rents to the difference of the projected stabilized occupancy (exclusive of collection losses).




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                         101
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 110 of 134
CONTINUED                                                                                                   DAL210584



                                                         LEASE-UP ANALYSIS
                      TOTAL BEDS                                347    BEDS OCCUPIED                  218
                      ABSORPTION RATE BEDS/MONTH                 77    PGI/BED/MONTH              $732
                      STABILIZED OCCUPANCY (295 BEDS)          85.0%   DISCOUNT RATE             4.00%
                                     BEDS     BEDS      BEDS            RENT LOSS      PRESENT VALUE
                        MONTH
                                   ABSORBED REMAINING OCCUPIED         (PER MONTH)      OF RENT LOSS
                           1             0               77     218       $56,341            $56,154
                          2              0               77     218       $56,341            $55,967
                          3              0               77     218       $56,341            $55,781
                          4              0               77     218       $56,341            $55,596
                          5              0               77     218       $56,341            $55,411
                          6              0               77     218       $56,341            $55,227
                          7              0               77     218       $56,341            $55,044
                          8              0               77     218       $56,341            $54,861
                          9              0               77     218       $56,341            $54,679
                          10             0               77     218       $56,341            $54,497
                          11             0               77     218       $56,341            $54,316
                          12             0               77     218       $56,341            $54,135
                          13             0               77     218       $56,341            $53,956
                          14             77               0     295           $0                     $0
                      TOTAL LOST RENTAL INCOME                                              $715,623
                      MARKETING @ $1,000/Bed                                                 $77,000
                      PROFIT @ 30.0% of $792,623                                            $237,787
                      TOTAL LOST INCOME                                                   $1,050,000
                                                                           Rounded to nearest $50,000


Total Adjustments to Value
A summary of the value adjustments that are applicable for valuation of the subject property are summarized in
the following table.

                                        SUMMARY OF VALUE ADJUSTMENTS
                           ADJUSTMENT ITEM                                           ADJUSTMENT
                               LEASE-UP COSTS
                                Rent Loss                                                $715,623
                                Marketing                                                  $77,000
                                Subtotal Lease-Up Costs                                  $792,623
                                Entrepreneurial Profit                                   $237,787
                               TOTAL LEASE-UP COSTS                                     $1,030,410
                           TOTAL VALUE ADJUSTMENTS                                      $1,050,000
                                                                         Rounded to nearest $50,000


In addition to the lease-up costs associated with reaching stabilized occupancy, we must also deduct the
previously noted Deferred Maintenance cost of $482,450. These value adjustments were applied consistently
to both the Income and Sales Comparison Approaches.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      102
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 111 of 134
CONTINUED                                                                                                  DAL210584


DIRECT CAPITALIZATION
This method analyzes the relationship of one year’s net operating income to total property value. The net
operating income is capitalized at a rate that implicitly considers expected growth in property value over a buyer’s
investment horizon. The implied value may be adjusted to account for non-stabilized conditions or required
capital expenditures to reflect an as is value.
The following table summarizes our opinion of market value via direct capitalization for the subject property’s As-
Is Value as of June 21, 2021.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                      103
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 112 of 134
CONTINUED                                                                                                         DAL210584



                         DIRECT CAPITALIZATION SUMMATION TABLE
               UNIT TYPE                          SF/UNIT     UNITS      $/BED         $/UNIT           TOTAL
               Efficiency, WDP                         350        5        $925          $925           $55,500
               Efficiency, WDP                         358        5        $925          $925           $55,500
               1 Bed / 1 Bath, WDP                     488        5      $1,200        $1,200           $72,000
               1 Bed / 1 Bath, WDP                     501        5      $1,200        $1,200           $72,000
               2 Bed / 2 Bath, WDP                     794       13        $850        $1,700          $265,200
               2 Bed / 2 Bath, WDP                     853        5        $875        $1,750          $105,000
               2 Bed / 2 Bath, WDP                     945        5        $900        $1,800          $108,000
               2 Bed / 2 Bath, WDP                     937        3        $900        $1,800           $64,800
               2 Bed / 2 Bath, Dbl Occ, WDP          1,082       10      $8,000        $2,400          $288,000
               3 Bed / 3 Bath, WDP                   1,060        1         $53        $2,100           $25,200
               4 Bed / 4 Bath, WDP                   1,336        5        $675        $2,700          $162,000
               4 Bed / 4 Bath, WDP                   1,460        5        $700        $2,800          $168,000
               4 Bed / 4 Bath, WDP                   1,244       29        $675        $2,700          $939,600
               4 Bed / 4 Bath, WDP                   1,219        5        $675        $2,700          $162,000
               4 Bed / 4 Bath, WDP                   1,573       14        $750        $3,000          $504,000
               TOTAL                                            115      $8,780       $26,494        $3,046,800
                INCOME ITEMS                        %PGI        %EGI      $/BED        $/UNIT           TOTAL
                  Potential Rental Income (PRI)                          $8,780       $26,494        $3,046,800
                TOTAL RENTAL INCOME                                      $8,780       $26,494        $3,046,800
                OTHER INCOME
                  Miscellaneous Income                                     $245          $739           $85,000
                 Utility Reimbursements                                    $115          $348           $40,000
                 Parking Income                                            $274          $826           $95,000
                TOTAL OTHER INCOME                                         $634        $1,913          $220,000
               POTENTIAL GROSS INCOME (PGI)                              $9,414       $28,407        $3,266,800
                INCOME LOSS                         %PRI                  $/BED        $/UNIT           TOTAL
                  Vacancy                         (15.0%)               ($1,317)      ($3,974)       ($457,020)
                  Collection Loss                   (1.0%)                 ($88)       ($265)         ($30,468)
                  Concessions (% Rental Income)      0.0%                      -              -              $0
                  Loss To Lease                       0.0%                     -            -                $0
                  Admin Unit(s)                     (0.7%)                 ($62)       ($188)         ($21,600)
                TOTAL INCOME LOSS                  (16.7%)              ($1,467)      ($4,427)       ($509,088)
               EFFECTIVE GROSS INCOME (EGI)         84.4%                $7,947       $23,980        $2,757,712
                EXPENSE ITEMS                       %PGI        %EGI     $/BED         $/UNIT           TOTAL
                  Real Estate Taxes               (14.5%)     (17.1%)   ($1,362)      ($4,110)       ($472,706)
                  Property Insurance               (2.8%)      (3.3%)     ($265)        ($800)        ($92,000)
                  Electricity                      (4.0%)      (4.7%)     ($375)      ($1,130)       ($130,000)
                  Water & Sewer                    (2.1%)      (2.5%)     ($202)        ($609)        ($70,000)
                  Gas                                0.0%        0.0%          -             -               $0
                  Trash Removal                    (0.5%)      (0.6%)      ($49)        ($148)        ($17,000)
                  Repairs & Maintenance            (5.1%)      (6.0%)     ($476)      ($1,435)       ($165,000)
                  Management Fee                   (2.5%)      (3.0%)     ($238)        ($719)        ($82,731)
                  Payroll                          (7.7%)      (9.1%)     ($720)      ($2,174)       ($250,000)
                  Advertising                      (3.1%)      (3.6%)     ($288)        ($870)       ($100,000)
                  General & Administrative         (1.2%)      (1.5%)     ($115)        ($348)        ($40,000)
                  Property Specific                (6.3%)      (7.4%)     ($591)      ($1,783)       ($205,000)
                  Franchise Taxes                  (0.3%)      (0.3%)      ($26)         ($79)         ($9,128)
                  Reserves                         (1.3%)      (1.6%)     ($125)        ($377)        ($43,375)
                TOTAL EXPENSES                     (51.3%)    (60.8%)   ($4,833)     ($14,582)     ($1,676,941)
               NET OPERATING INCOME (NOI)           33.1%      39.2%     $3,115        $9,398        $1,080,771
                Capitalization Rate                                                                      5.75%
                Capitalized Value                                                                   $18,796,020
               PROSPECTIVE STABILIZED MARKET VALUE                      $54,179     $163,478      $18,800,000
                Lease- Up Costs
                  Rent Loss                       (21.9%)     (25.9%)                              ($715,623)
                  Marketing                         (2.4%)     (2.8%)                               ($77,000)
                  Total Lease-Up Costs            (24.3%)     (28.7%)                              ($792,623)
                  Entrepreneurial Profit            (7.3%)     (8.6%)                              ($237,787)
                  TOTAL LEASE-UP COSTS            (31.5%)     (37.4%)                             ($1,030,410)
                  LESS: DEFERRED MAINTENANCE      (14.8%)     (17.5%)                              ($482,450)
               AS-IS MARKET VALUE                                                  $150,435       $17,300,000
                                                                                   Rounded to nearest $100,000



© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                            104
INCOME Case
       APPROACH
            21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 113 of 134
CONTINUED                                                                                                          DAL210584


EFFECTIVE GROSS INCOME MULTIPLIER METHOD
The effective gross income multiplier (EGIM), as indicated by the comparable sales, will be applied to the
effective gross income for the subject property in order to determine an estimate of value. The multiplier is also
used as an indicator of value and takes into consideration the proportion of expense to every dollar of effective
gross income. It is derived by dividing the sale price by the effective gross income. Typically, effective gross
income multipliers, which are derived and applied before considering expenses, are used without adjustments.
However, to avoid an inaccurate conclusion of value, those comparables with similar expense ratios (% of
effective gross income) are typically emphasized. The following table summarizes each comparable sale's
expense ratio and EGIM indicator:


                                                           EGIM ANALYSIS
                      SALE      TOTAL EXPENSE EXPENSES/UNIT EXPENSES/BED EXPENSE % (EGI)                   EGIM
                      Subject     $1,676,941               $14,582           $4,833          61%             -
                      1           $1,863,200               $10,351           $3,425          57%           8.21
                      2           $1,322,400               $10,665           $3,800          46%           9.45
                      3           $1,839,000               $11,639           $3,332          60%           7.26
                      4           $1,954,808               $11,636           $3,879          55%           7.52
                      5           $2,324,600               $14,529           $4,925          52%           8.65
                      LOW         $1,322,400               $10,351           $3,332          44%           7.26
                      HIGH        $2,324,600               $14,529           $4,925          60%           10.01
                      AVERAGE     $1,859,089               $12,176           $3,994          52%           8.52
                      MEDIAN      $1,856,864               $11,638           $3,839          54%           8.43




Effective gross income multipliers are typically correlated with operating expense ratios (OER). As OERs
increase, the efficiency of the property's income producing capacity is diminished. Thus, those sales with the
highest OERs typically indicate the lowest EGIMs, and vice versa. This general trend is demonstrated by the
comparables. Based on the subject's projected expense ratio, which falls just above the comparable range, a
multiplier below the range is considered most appropriate for the subject. Therefore, a multiplier of 7.00 is
concluded. The concluded EGIM, the EGIM value calculation, and the indicated value based on the EGIM
Method are displayed in the following table.


                                                 EGIM INDICATED VALUE
                                CONCLUDED EGIM               CONCLUDED EGI                  VALUE
                                     7.00           X           $2,757,712            =   $19,300,000
                                 Lease- Up Costs
                                  Rent Loss                                                 ($715,623)
                                  Marketing                                                   ($77,000)
                                  Total Lease-Up Costs                                      ($792,623)
                                  Entrepreneurial Profit                                    ($237,787)
                                  TOTAL LEASE-UP COSTS                                     ($1,030,410)
                                  LESS: DEFERRED MAINTENANCE                                ($482,450)
                                AS-IS MARKET VALUE                                         $17,800,000
                                                                             Rounded to nearest $100,000




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                             105
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 114 of 134
                                                                                                          DAL210584


INTRODUCTION
The Sales Comparison Approach is based on the principle of substitution, which asserts that a buyer would not
pay more for a property than the value of similar properties in the market. This approach analyzes comparable
sales by applying transactional and property adjustments to bracket the subject property within an appropriate
unit value comparison.
UNIT OF COMPARISON
The most relevant unit of comparison is the price per bed. This indicator best reflects the analysis used by buyers
and sellers in this market for improved properties with similar design and utility.
COMPARABLE SELECTION
We completed a thorough search for similar improved sales in terms of property type, location, physical
characteristics, and date of sale. In selecting comparables, emphasis was placed on confirming recent improved
sales of properties that match the highest and best use, and buyer/seller profile of the subject property. Overall,
the sales selected represent the best comparables available for this analysis, and are each rated fairly similar to
the subject in terms of age, amenities and bed/unit ratios.
ADJUSTMENT PROCESS
Quantitative adjustments are made to the comparable sales. The following adjustments or general market trends
were considered for the basis of valuation.
Transactional Adjustments
Dollar adjustments to the comparable sales were considered and made when warranted for transactional
adjustments in the sequence shown below:
Property Rights Transferred     The valuation of the subject site was completed on a leased fee basis. If
                                warranted, leased fee, leasehold and/or partial interest sales were adjusted
                                accordingly.
Financing Terms                 The subject property was valued on a cash equivalent basis. Adjustments were
                                made to the comparables involving financing terms atypical of the marketplace.
Conditions of Sale              This adjustment accounts for extraordinary motivation on the part of the buyer or
                                seller often associated with distressed sales. Sale 3 represents a foreclosed
                                property that was sold by a special servicer. Thus, we have applied a
                                nominal upward adjustment for conditions of sale.
Expenditures After Purchase     Adjustments were applied if physical conditions warranted expenditures on the
                                part of the buyer to bring the comparable up to functional standards. Most often
                                this adjustment accounts for costs associated with deferred maintenance.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                     106
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 115 of 134
CONTINUED                                                                                                DAL210584


Market Conditions               Market conditions adjustments were based on a review of historical sale data,
                                market participant interviews and review of current versus historical pricing.
                                Based on our research, the following table summarizes the market conditions
                                adjustment applied in this analysis.
                                        MARKET CONDITIONS ADJUSTMENT
                                 Per Year As Of    June 2021   (As-Is)        5%


The analysis applies an upward market conditions adjustment of 5% annually reflecting the conditions between
the oldest comparable sale date up through the effective appraisal date in June 2021. This situation is supported
by a continued strong investment demand and compression in capitalization rates.
Property Adjustments
Quantitative percentage adjustments are also made for location and physical characteristics such as size, age,
site and parking ratios, access, exposure, quality and condition, as well as other applicable elements of
comparison. Where possible the adjustments applied are based on paired data or other statistical analysis. It
should be stressed that the adjustments are subjective in nature and are meant to illustrate our logic in deriving
a value opinion for the subject property.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                    107
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 116 of 134
CONTINUED                                                                                                                      DAL210584


PRESENTATION
The following Sales Summation Table, Location Map and datasheets summarize the improved sales data.
Following these items, the comparable sales are adjusted for applicable elements of comparison and the opinion
of value by the Sales Comparison Approach is concluded.



                               IMPROVED SALES SUMMATION TABLE
COMPARABLE           SUBJECT         COMPARABLE 1 COMPARABLE 2         COMPARABLE 3 COMPARABLE 4 COMPARABLE 5 COMPARABLE 6
Name                 Vue on          Progress 405    Lighthouse        The Den           Madera         Prado          Catalyst
                     MacGregor                                                                                         Apartments
Address              4460 South      1520 N Boomer   4955 Pepys Lane   1412 Grindstone   8102 West      7114 UTSA      631 West
                     MacGregor Way   Road                              Plaza Drive       Hausman Road   Boulevard      Madison Street
City                 Houston         Stillwater      Wilmington        Columbia          San Antonio    San Antonio    Tallahassee
State                TX              OK              NC                MO                TX             TX             FL
Zip                  77021           74075           28403             65201             78249          78249          32304
County               Harris          Payne           New Hanover       Boone             Bexar          Bexar          Leon
                                                     PHYSICAL INFORMATION
Project Design       Student         Student         Student           Student           Student        Student        Student
NRA (SF)             120,661         205,936         138,112           194,432           207,252        197,336        146,544
Units                115             180             124               158               168            160            130
Beds                 347             544             348               552               504            472            402
Beds/Unit Ratio      3.02            3.02            2.81              3.49              3.00           2.95           3.09
Average Unit SF      1,049           1,144           1,113             1,230             1,233          1,233          1,127
Density              62.4            16.3            17.0              16.4              11.4           32.1           52.6
Land Area (AC)       1.8             11.0            7.3               9.7               14.8           5.0            2.5
Land Area (SF)       80,244          480,902         317,117           420,790           642,510        217,364        107,593
Year Built           2014            2016            2013              2014              2009           2013           2013
Location             Fair/Average    Fair/Average    Good              Fair/Average      Average        Average/Good   Average/Good
Quality              Average/Good    Average         Average/Good      Average/Good      Average        Average/Good   Average/Good
Condition            Average/Good    Average/Good    Average/Good      Average/Good      Average        Average/Good   Average/Good
Appeal               Average/Good    Average/Good    Average/Good      Average           Average        Good           Good
                                                         UNIT MIX DETAILS
Studio               9%              0%              0%                0%                0%             0%             0%
1 Bed                9%              18%             0%                0%                0%             5%             8%
2 Bed                31%             22%             19%               30%               36%            43%            27%
3+ Bed               51%             60%             81%               70%               64%            53%            65%
Average Unit (SF)    1,049           1,144           1,113             1,230             1,233          1,233          1,127
                                                        SALE INFORMATION
Date                                 1/31/2020       2/20/2020         5/6/2021          5/15/2019      9/14/2018      12/23/2020
Status                               Recorded        Recorded          Recorded          Recorded       Recorded       Recorded
Sale Conditons                       Arms-Length     Arms-Length       Arms-Length       Arms-Length    Arms-Length    Arms-Length
Rights Transferred                   Leased Fee      Leased Fee        Leased Fee        Leased Fee     Leased Fee     Leased Fee
Transaction Price                    $27,000,000     $26,900,000       $21,250,000       $26,500,000    $38,500,000    $42,000,000
Transaction $/Unit                   $150,000        $216,935          $134,494          $157,738       $240,625       $323,077
Transaction $/Bed                    $49,632         $77,299           $38,496           $52,579        $81,568        $104,478
Transaction $/SF NRA                 $131.11         $194.77           $109.29           $127.86        $195.10        $286.60
Analysis Price                       $27,000,000     $26,900,000       $22,312,500       $26,500,000    $38,500,000    $42,000,000
Expenses % PGI                       51%             43%               55%               52%            50%            44%
Expenses % EGI                       57%             46%               60%               55%            52%            44%
NOI/Unit            $9,398           $7,919          $12,303           $7,807            $9,332         $13,275        $18,029
NOI/Bed                              $2,620          $4,384            $2,235            $3,111         $4,500         $5,830
NOI/SF NRA          $8.96            $6.92           $11.05            $6.34             $7.56          $10.76         $15.99
Occupancy           62.8%            90.0%           93.0%             92.0%             97.0%          99.0%          95.0%
Capitalization Rate                  5.28%           5.67%             5.80%             5.92%          5.52%          5.58%
PGIM                                 7.46            8.84              6.68              7.11           8.22           9.99
EGIM                                 8.21            9.45              7.26              7.52           8.65           10.01




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                           108
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 117 of 134
CONTINUED                                                                                                          DAL210584


SALES LOCATION MAP




                                               COMPARABLE KEY
COMP     NAME                  ADDRESS                                     OCC.    SALE DATE    OAR      $/UNIT
SUBJECT Vue on MacGregor       4460 South MacGregor Way, Houston, TX       62.8%       -          -      $55,000
No. 1    Progress 405          1520 N Boomer Road, Stillwater, OK          90.0%   1/31/2020    5.28%    $49,632
No. 2    Lighthouse            4955 Pepys Lane, Wilmington, NC             93.0%   2/20/2020    5.67%    $77,299
No. 3    The Den               1412 Grindstone Plaza Drive, Columbia, MO   92.0%    5/6/2021    5.80%    $38,496
No. 4    Madera                8102 West Hausman Road, San Antonio, TX     97.0%   5/15/2019    5.92%    $52,579
No. 5    Prado                 7114 UTSA Boulevard, San Antonio, TX        99.0%   9/14/2018    5.52%    $81,568
No. 6    Catalyst Apartments   631 West Madison Street, Tallahassee, FL    95.0%   12/23/2020   5.58%   $104,478




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                             109
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 118 of 134
CONTINUED                                                                                                                                             DAL210584


COMPARABLE 1
LOCATION INFORMATION
Name                Progress 405
Address                     1520 N Boomer Road
City, State, Zip Code       Stillwater, OK, 74075
County                      Payne
APN                         600025986
SALE INFORMATION
Buyer                       Tailwind Stillwater, LLC
Seller                      Castlerock Stillwater LP
Transaction Date            01/31/2020
Transaction Status          Recorded
Transaction Price           $27,000,000
Analysis Price              $27,000,000
Recording Number            2551000241
Rights Transferred          Leased Fee
Financing                   Conventional
Conditions of Sale          Arms-Length                                       PROGRESS 405
PHYSICAL INFORMATION                                                          OPERATING INCOME
Project Type                Student                                                                              TOTAL       PER UNIT            PER SF
Project Size NRA            205,936 SF                                        Rent Income                    $3,320,640        $18,448            $16.12
Units                       180                                               Other Income                     $300,000         $1,667             $1.46
Beds                        544                                               Gross Income                   $3,620,640        $20,115            $17.58
Beds/Unit Ratio             3.02                                              Vacancy @ 10.0%                ($332,064)        ($1,845)          ($1.61)
No. of Buildings/Floors     3 Buildings / 4 Floors                            Effective Gross Income         $3,288,576        $18,270            $15.97
Year Built                  2016                                              Expenses                     ($1,863,200)       ($10,351)          ($9.05)
Quality / Condition         Average / Average/Good                            Net Operating Income           $1,425,376         $7,919             $6.92
Appeal                      Average/Good                                      Occupancy at Sale                   90.0%
Building Structure          Wood                                              Expense % of PGI / EGI                               51%              57%
Site Size                   11.0 Acres (480,902 SF)                           ANALYSIS INFORMATION
Average Unit Size           1,144 SF                                          Price/Bed                                                          $49,632
Density                     16.3                                              Adjusted Price/Bed                                                 $55,762
                                                                              Capitalization Rate                                                 5.28%
Average Bed Size            379 SF                                            Equity Div. / PG M / EGIM                  -         7.46             8.21
                                                                              CONFIRMATION
Project Amenities           Tanning, Business Center, BBQ/Picnic Area, Dog    Name                        Confidential
                            Park, Spa/Sauna, Swimming Pool, Fitness Center,
                            Game Room                                         Company                     Confidential

Unit Amenities              Washer/Dryer In-Unit, Furnished, Premium          Source                      Seller's Broker
                            Appliances, Microwave, Premium Flooring,
                            Balcony/Patio, Ceiling Fans, Walk-in Closets      Date / Phone Number         07/27/2020              Confidential

UNIT MIX                                                                      REMARKS
NO. UNITS        AVG SIZE      BEDS/BATHS                                     This property is located less than one mile north of the campus of
32                  548        1Bed / 1Bath                                   Oklahoma State University in Stillwater, Oklahoma, and consists of a
40                  878        2Bed / 2Bath                                   180 unit (544-bed) student housing project contained within 3, four-story
96                1,400        4Bed / 4Bath                                   residential buildings which feature Hard-wood exteriors with flat roofs.
8                 1,540        4Bed / 4Bath                                   Additional site improvements consist of a leasing office/clubhouse
4                 1,640        4Bed / 4Bath                                   building that also includes a fitness room, locker rooms, tanning room,
                                                                              study lounge, business center and model dwelling unit. The parking
                                                                              areas are asphalt paved with 551 spaces. Each of the dwelling units is
                                                                              fully furnished, including a 40" television. Our income estimate is based
                                                                              on in-place figures with slight modifications to market. Expense
                                                                              projections are based upon in-place figures with slight modification,
                                                                              including a slight increase in anticipated taxes. the property was listed
                                                                              and marketed for sale by Newmark Knight Frank.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                110
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 119 of 134
CONTINUED                                                                                                                                           DAL210584


   COMPARABLE 2
   LOCATION INFORMATION
   Name                Lighthouse
   Address                     4955 Pepys Lane
   City, State, Zip Code       Wilmington, NC, 28403
   County                      New Hanover
   SALE INFORMATION
   Buyer                       4955 Pepys Lane, LLC
   Seller                      Lighthouse Borrower, LLC
   Transaction Date            02/20/2020
   Transaction Status          Recorded
   Transaction Price           $26,900,000
   Analysis Price              $26,900,000
   Rights Transferred          Leased Fee
   Financing                   Conventional
   Conditions of Sale          Arms-Length
   PHYSICAL INFORMATION
   Project Type                Student                                          LIGHTHOUSE
   Project Size NRA            138,112 SF                                       OPERATING INCOME
   Units                       124                                                                                 TOTAL        PER UNIT            PER SF
   Beds                        348                                              Rent Income                    $2,801,961         $22,596            $20.29
   Beds/Unit Ratio             2.81                                             Other Income                     $242,208           $1,953            $1.75
   No. of Buildings/Floors     Buildings / 4 Floors                             Gross Income                   $3,044,169         $24,550            $22.04
   Year Built                  2013                                             Vacancy @ 7.0%                  ($196,137)        ($1,582)          ($1.42)
   Quality / Condition         Average/Good / Average/Good                      Effective Gross Income         $2,848,032         $22,968            $20.62
   Appeal                      Average/Good                                     Expenses                      ($1,322,400)       ($10,665)          ($9.57)
   Building Structure          Wood                                             Net Operating Income           $1,525,632         $12,303            $11.05
   Site Size                   7.3 Acres (317,117 SF)                           Occupancy at Sale                   93.0%
   Average Unit Size           1,113 SF                                         Expense % of PGI / EGI                                43%              46%
   Density                     17.0                                             ANALYSIS INFORMATION
                                                                                Price/Bed                                                           $77,299
   Average Bed Size            397 SF                                           Adjusted Price/Bed                                                  $53,761
                                                                                Capitalization Rate                                                  5.67%
                                                                                Equity Div. / PGIM / EG M -                           8.84             9.45
                                                                                CONFIRMATION
   Project Amenities           Fitness Center, Swimming Pool, Clubhouse, Game Name                          Confidential
                               Room, Business Center, BBQ/Picnic Area, Tanning
                                                                               Company                      Confidential
   Unit Amenities              Premium Flooring, Furnished, Premium             Source                      Seller's Broker
                               Countertops, Premium Appliances, Microwave,
                               Washer/Dryer In-Unit, Walk-in Closets, Ceiling   Date / Phone Number         09/18/2020               Confidential
                               Fans, Balcony/Patio
   UNIT MIX                                                                     REMARKS
   NO. UNITS        AVG SIZE     BEDS/BATHS                                     This property is located in Wilmington, North Carolina within walking
   24                  888       2Bed / 2Bath                                   distance to the campus of The University of North Carolina at
   100               1,168       3Bed / 3Bath                                   Wilmington. Improvements consists of four story buildings with Hardi
                                                                                plank exteriors. The property has been well maintained with no items of
                                                                                deferred maintenance. Community amenities include a sand volleyball
                                                                                court, theater, computer lounge with games and an outdoor firepit. The
                                                                                dwelling units are fully furnished and contain a washer/dryer. In addition,
                                                                                granite countertops and stainless steel appliances are provided in each
                                                                                unit. Our projected income and expenses are based on the selling
                                                                                broker's proforma. The property was listed for sale by CBRE.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                   111
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 120 of 134
CONTINUED                                                                                                                                             DAL210584


    COMPARABLE 3
    LOCATION INFORMATION
    Name                The Den
    Address                     1412 Grindstone Plaza Drive
    City, State, Zip Code       Columbia, MO, 65201
    County                      Boone
    SALE INFORMATION
    Buyer                       HPI Den, LLC (Hamilton Point Inv.)
    Seller                      Undisclosed (per Assessor Records)
    Transaction Date            05/6/2021
    Transaction Status          Recorded
    Transaction Price           $21,250,000
    Analysis Price              $22,312,500
    Rights Transferred          Leased Fee
    Financing                   Cash at Settlement
    Conditions of Sale          Arms-Length
    PHYSICAL INFORMATION
    Project Type                Student                                         THE DEN
    Project Size NRA            194,432 SF                                      OPERATING INCOME
    Units                       158                                                                                TOTAL        PER UNIT            PER SF
    Beds                        552                                             Rent Income                    $2,980,800         $18,866            $15.33
    Beds/Unit Ratio             3.49                                            Other Income                     $360,000           $2,278            $1.85
    No. of Buildings/Floors     Buildings / 4 Floors                            Gross Income                   $3,340,800         $21,144            $17.18
    Year Built                  2014                                            Vacancy @ 9.0%                  ($268,272)        ($1,698)          ($1.38)
    Quality / Condition         Average/Good / Average/Good                     Effective Gross Income         $3,072,528         $19,446            $15.80
    Appeal                      Average                                         Expenses                      ($1,839,000)       ($11,639)          ($9.46)
    Site Size                   9.7 Acres (420,790 SF)                          Net Operating Income           $1,233,528           $7,807            $6.34
    Average Unit Size           1,230 SF                                        Occupancy at Sale                   92.0%
    Density                     16.4                                            Expense % of PGI / EGI                                55%              60%
                                                                                ANALYSIS INFORMATION
                                                                                Price/Bed                                                           $38,496
                                                                                Adjusted Price/Bed                                                  $42,867
    Average Bed Size            457 SF                                          Capitalization Rate                                                  5.80%
                                                                                Equity Div. / PGIM / EGIM -                           6.68             7.26
                                                                                CONFIRMATION
    Project Amenities           Sport Court, Swimming Pool, Shuttle Service, Dog  Name                      Confidential
                                Park, Fitness Center, Business Center, BBQ/Picnic
                                Area
                                                                                  Company                   Confidential


    Unit Amenities              Furnished, Balcony/Patio, Washer/Dryer In-Unit, Source                      Seller's Broker
                                Premium Flooring, Premium Countertops, Complete
                                Appliance Package, Premium Appliances,          Date / Phone Number         06/18/2021               Confidential
                                Microwave, Walk-in Closets, Ceiling Fans

    UNIT MIX                                                                    REMARKS
    NO. UNITS        AVG SIZE     BEDS/BATHS                                    This property is located in Columbia, Missouri approximately two miles
    24                  804       2Bed / 2Bath                                  from the campus of the University of Missouri.. Improvements consist of
    24                  934       2Bed / 2Bath                                  four-story buildings and open surface parking. According to the selling
    30                1,336       4Bed / 4Bath                                  broker, the property had been foreclosed in 2019 and was sold by a
    40                1,344       4Bed / 4Bath                                  special servicer. The property was approximately 92% occupied at the
    40                1,472       4Bed / 4Bath                                  time of sale and was 90% pre-leased for the Fall 2021 semester. Each
                                                                                of the units is fully furnished. Additional amenities include a pool,
                                                                                fitness center, grilling stations, sand volleyball court, sports court, dog
                                                                                park, study rooms and campus shuttle service. Our income estimate is
                                                                                based on the broker's projected stabilized rents for the upcoming school
                                                                                year. Expenses are forecast based on actual historical figures with
                                                                                slight adjustments applied. The asset was listed and marketed for sale
                                                                                by Transwestern. According to the broker, there was significant interest
                                                                                with several offers submitted.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                   112
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 121 of 134
CONTINUED                                                                                                                                           DAL210584


   COMPARABLE 4
  LOCATION INFORMATION
  Name                Madera
  Address                     8102 West Hausman Road
  City, State, Zip Code       San Antonio, TX, 78249
  County                      Bexar
  MSA                         San Antonio-New Braunfels, TX
  APN                         1140775
  SALE INFORMATION
  Buyer                       MADERA APARTMENTS LLC
  Seller                      ROYAL SAN ANTONIO 3 LLC
  Transaction Date            05/15/2019
  Transaction Status          Recorded
  Transaction Price           $26,500,000
  Analysis Price              $26,500,000
  Rights Transferred          Leased Fee
  Financing                   All Cash
  Conditions of Sale          Arms-Length                                        MADERA
  PHYSICAL INFORMATION                                                           OPERATING INCOME
  Project Type                Student                                                                               TOTAL       PER UNIT            PER SF
  Project Size NRA            207,252 SF                                         Rent Income                    $3,702,960         $22,041           $17.87
  Units                       168                                                Other Income                      $23,352            $139            $0.11
  Beds                        504                                                Gross Income                   $3,726,312         $22,180           $17.98
  Beds/Unit Ratio             3.                                                 Vacancy @ 5.5%                  ($203,663)        ($1,212)         ($0.98)
  No. of Buildings/Floors     5 Buildings / 3 Floors                             Effective Gross Income         $3,522,649         $20,968           $17.00
  Year Built                  2009                                               Expenses                      ($1,954,808)      ($11,636)          ($9.43)
  Parking Spaces / Ratio      522 (3.1/Unit)                                     Net Operating Income           $1,567,841          $9,332            $7.56
  Quality / Condition         Average / Average                                  Occupancy at Sale                   97.0%
  Appeal                      Average                                            Expense % of PGI / EGI                               52%              55%
  Site Size                   14.8 Acres (642,510 SF)                            ANALYSIS INFORMATION
  Zoning                      MF-33                                              Price/Bed                                                          $52,579
  Average Unit Size           1,233 SF                                           Adjusted Price/Bed                                                 $58,363
  Density                     11.4                                               Capitalization Rate                                                 5.92%
  Average Bed Size            411 SF                                             Equity Div. / PGIM / EGIM -                          7.11             7.52
                                                                                 CONFIRMATION
  Project Amenities           Electronic Gate, BBQ/Picnic Area, Business         Name                        Confidential
                              Center, Fitness Center, Game Room, Clubhouse,
                              Swimming Pool                                      Company                     Confidential

  Unit Amenities              Balcony/Patio, Ceiling Fans, Premium Appliances,   Source                      Confidential
                              Walk-in Closets, Washer/Dryer In-Unit,
                              Washer/Dryer Hookups, Furnished                    Date / Phone Number         04/3/2019               Confidential

  UNIT MIX                                                                       REMARKS
  NO. UNITS        AVG SIZE        BEDS/BATHS                                    This student housing property is near the campus of University of Texas
  36                  960          2Bed / 2Bath                                  at San Antonio. The property is fully furnished, including a TV for each
  24                  977          2Bed / 2Bath                                  unit. Based off the T-12 month NOI, the property transacted on a 5.36%
  12                1,142          3Bed / 3Bath                                  capitalization rate inclusive of $375 per unit ($125/bed) in reserves. For
  36                1,205          3Bed / 3Bath                                  the proforma, we have grown income approximately 6% over the T-12
  60                1,536          4Bed / 4Bath                                  month EGI and utilized market expenses with taxes adjusted to
                                                                                 approximately 90% of the purchase price.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                   113
Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 122 of 134
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 123 of 134
CONTINUED                                                                                                                                            DAL210584


   COMPARABLE 6
   LOCATION INFORMATION
   Name                Catalyst Apartments
   Address                     631 West Madison Street
   City, State, Zip Code       Tallahassee, FL, 32304
   County                      Leon
   MSA                         Tallahassee, FL
   SALE INFORMATION
   Buyer                       Catalyst PropCo, LLC
   Seller                      Catalyst UCal, LLC
   Transaction Date            12/23/2020
   Transaction Status          Recorded
   Transaction Price           $42,000,000
   Analysis Price              $42,000,000
   Recording Number            5529/2263
   Rights Transferred          Leased Fee
   Financing                   Conventional
   Conditions of Sale          Arms-Length                                       CATALYST APARTMENTS
   PHYSICAL INFORMATION                                                          OPERATING INCOME
   Project Type                Student                                                                              TOTAL        PER UNIT            PER SF
   Project Size NRA            146,544 SF                                        Rent Income                     $4,004,010        $30,800            $27.32
   Units                       130                                               Other Income                     $200,225           $1,540            $1.37
   Beds                        402                                               Gross Income                    $4,204,235        $32,340            $28.69
   Beds/Unit Ratio             3.09                                              Vacancy                            ($9,895)           ($76)          ($0.07)
   Year Built                  2013 - Renovated 2019                             Effective Gross Income          $4,194,340        $32,264            $28.62
   Quality / Condition         Average/Good / Average/Good                       Expenses                      ($1,850,527)       ($14,235)          ($12.63)
   Appeal                      Good                                              Net Operating Income            $2,343,813        $18,029            $15.99
   Building Structure          Wood                                              Occupancy at Sale                   95.0%
   Site Size                   2.5 Acres (107,593 SF)                            Expense % of PGI / EGI                                44%              44%
   Zoning                      UV                                                ANALYSIS INFORMATION
   Average Unit Size           1,127 SF                                          Price/Bed                                                     $104,477.61
   Density                     52.6                                              Adjusted Price/Bed                                             $79,925.37
                                                                                 Capitalization Rate                                                  5.58%
                                                                                 Equity Div. / PG M / EGIM -                           9.99            10.01
                                                                                 CONFIRMATION
   Project Amenities           Fitness Center, Swimming Pool, Elevators,         Name                        Appraisal Documents
                               Clubhouse, Business Center, Exterior Lighting     Company                     Confidential
   Unit Amenities              Deadbolt, Air Conditioning, Dishwasher, Garbage   Source                      Appraisal Document
                               Disposal, Washer/Dryer Hookups, Parking Open,
                               Washer/Dryer In-Unit
                                                                                 Date / Phone Number         12/30/2020               Confidential


   UNIT MIX                                                                      REMARKS
   NO. UNITS        AVG SIZE     BEDS/BATHS         DESCRIPTION                  Project Design: Mid-Rise
   10                  546       1Bed / 1Bath       1 BD/1 BA                     This property transacted as part of a larger portfolio acquisition between
   35                  866       2Bed / 2Bath       2 BD/2 BA                    University Communities (Seller) and GSA Investment Management
   18                1,077       3Bed / 3Bath       3 BD/3 BA                    Limited (Buyer). The total sale price was reported to be $740,000,000
   67                1,364       4Bed / 4Bath       4 BD/4 BA                    with $42,000,000 allocated to Catalyst. This allocation was generally
                                                                                 intended to reflect individual market value of the property, however our
                                                                                 understanding is it may reflect some nominal rounding from the
                                                                                 buyer/seller in order to come to an overall agreement on the portfolio
                                                                                 transaction. Our understanding is there were no atypical terms or
                                                                                 conditions; there were no reported seller concessions; and the
                                                                                 transaction was arm’s length between unaffiliated parties. The financials
                                                                                 represent actual T12 income and expenses, adjusted to include
                                                                                 reassessed taxes and reserves.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                                     115
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 124 of 134
CONTINUED                                                                                                                                  DAL210584



                                IMPROVED SALES ADJUSTMENT TABLE
COMPARABLE              SUBJECT          COMPARABLE 1       COMPARABLE 2 COMPARABLE 3 COMPARABLE 4 COMPARABLE 5 COMPARABLE 6
Name                    Vue on           Progress 405       Lighthouse        The Den           Madera            Prado             Catalyst
                        MacGregor                                                                                                   Apartments
Address                 4460 South       1520 N Boomer      4955 Pepys Lane   1412 Grindstone   8102 West         7114 UTSA         631 West
                        MacGregor Way    Road                                 Plaza Drive       Hausman Road      Boulevard         Madison Street
City, State             Houston, TX      Stillwater, OK     Wilmington, NC    Columbia, MO      San Antonio, TX   San Antonio, TX   Tallahassee, FL
NRA                     120,661          205,936            138,112           194,432           207,252           197,336           146,544
Units                   115              180                124               158               168               160               130
Beds                    347              544                348               552               504               472               402
Beds/Unit Ratio         3.02             3.02               2.81              3.49              3.00              2.95              3.09
Average Bedroom SF      348              379                397               352               411               418               365
Density                 62.4             16.3               17.0              16.4              11.4              32.1              52.6
Land Area (AC)          1.8              11.0               7.3               9.7               14.8              5.0               2.5
Land Area (SF)          80,244           480,902            317,117           420,790           642,510           217,364           107,593
Year Built              2014             2016               2013              2014              2009              2013              2013
Location                Fair/Average     Fair/Average       Good              Fair/Average      Average           Average/Good      Average/Good
Quality                 Average/Good     Average            Average/Good      Average/Good      Average           Average/Good      Average/Good
Condition               Average/Good     Average/Good       Average/Good      Average/Good      Average           Average/Good      Average/Good
Appeal                  Average/Good     Average/Good       Average/Good      Average           Average           Good              Good
                                                              SALE INFORMATION
Date                                     1/31/2020          2/20/2020         5/6/2021          5/15/2019         9/14/2018         12/23/2020
Status                                   Recorded           Recorded          Recorded          Recorded          Recorded          Recorded
Rights Transferred                       Leased Fee         Leased Fee        Leased Fee        Leased Fee        Leased Fee        Leased Fee
Occupancy               62.8%            90.0%              93.0%             92.0%             97.0%             99.0%             95.0%
Capitalization Rate                      5.28%              5.67%             5.80%             5.92%             5.52%             5.58%
NOI/Unit                                 $7,919             $12,303           $7,807            $9,332            $13,275           $18,029
NOI/SF NRA                               $6.92              $11.05            $6.34             $7.56             $10.76            $15.99
$/Unit                                   $150,000           $216,935          $134,494          $157,738          $240,625          $323,077
$/Bed                                    $49,632            $77,299           $38,496           $52,579           $81,568           $104,478
$/SF NRA                                 $131.11            $194.77           $109.29           $127.86           $195.10           $286.60
Transaction Price                        $27,000,000        $26,900,000       $21,250,000       $26,500,000       $38,500,000       $42,000,000
                                                       TRANSACTIONAL ADJUSTMENTS
Property Rights                          0%                 0%                0%                0%                0%                0%
Conditions of Sale                       0%                 0%                5%                0%                0%                0%
Financing                                0%                 0%                0%                0%                0%                0%
Analysis Price                           $27,000,000        $26,900,000       $22,312,500       $26,500,000       $38,500,000       $42,000,000
Market Conditions¹                       7%                 7%                1%                11%               14%               2%
Subtotal Transactional Adj Price         $53,107            $82,710           $40,825           $58,363           $92,987           $106,567
                                                          PROPERTY ADJUSTMENTS
Location                                 0%                 -30%              0%                -10%              -20%              -20%
Quality                                  5%                 0%                0%                5%                0%                0%
Condition                                0%                 0%                0%                5%                0%                0%
Appeal                                   0%                 0%                5%                5%                -5%               -5%
Average Bedroom Size                     0%                 -5%               0%                -10%              -10%              0%
Age                                      0%                 0%                0%                5%                0%                0%
Number Of Units                          0%                 0%                0%                0%                0%                0%
Amenities                                0%                 0%                0%                0%                0%                0%
Subtotal Property Adjustment             5%                 -35%              5%                0%                -35%              -25%
TOTAL ADJUSTED PRICE                     $55,762            $53,761           $42,867           $58,363           $60,442           $79,925
STATISTICS                UNADJUSTED ADJUSTED
LOW                       $38,496            $42,867
HIGH                      $104,478           $79,925
MEDIAN                    $64,939            $57,063
AVERAGE                   $67,342            $58,520
¹ Market Conditions Adjustment - Compound annual change in market conditions: 5%
Date of Value (for adjustment calculations): 06/21/21




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                                       116
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 125 of 134
CONTINUED                                                                                                       DAL210584


SALES COMPARABLE ANALYSIS
Introduction
The comparable sales indicate an adjusted value range from $42,867 to $79,925/Bed, with a median of
$57,063/Bed and an average of $58,520/Bed. The range of total net adjustment applied to the comparables was
from -30% to 12%, with an average net adjustment across all comparables of -8%. The level of total adjustment
applied to the comparables is considered to be moderate. Overall, the availability of market data and extent of
analysis was adequate to develop the subject property’s total value. The adjustment process for each
comparable sale is discussed in the following paragraphs.
Discussion of Adjustments
Comparable 1 ($55,762/Bed as adjusted) required a total upward transaction adjustment of 7%, which was
applied for market conditions. This comparable required a total upward net adjustment of 5% for property
characteristics, which was applied for inferior quality of construction. The minimum level of net adjustments
required for this comparable indicates that it can be adequately relied upon for valuation of the subject. This
comparable is given primary consideration as a value indicator for the subject.
Comparable 2 ($53,761/Bed as adjusted) required a total upward transaction adjustment of 7%, which was
applied for market conditions. This comparable required a total downward net adjustment of -35% for property
characteristics. The sale is rated superior to the subject's location and adjusted downward to account for the
stronger market appeal and higher effective rental rates and occupancies. The comparable is also adjusted
downward a slight amount to account for a larger average bedroom size as compared to the subject. The
moderate level of net adjustments required for this comparable indicates that it can be adequately relied upon
for valuation of the subject. This comparable is given primary consideration as a value indicator for the subject.
Comparable 3 ($42,867/Bed as adjusted) required a total upward transaction adjustment of 6%, which was
applied for conditions of sale and market conditions. This comparable required a total upward net adjustment of
5% for property characteristics, which was applied for appeal. The minimal amount of net adjustments required
for this comparable suggests it is fairly similar to the subject, increasing its applicability for this analysis. Overall
this comparable warrants primary consideration as a value indicator for the subject.
Comparable 4 ($58,363/Bed as adjusted) required a total upward transaction adjustment of 11%, which was
applied for market conditions. This comparable required adjustments for property characteristics, however these
resulted in a net adjustment of 0%. The sale is rated superior to the subject in terms of location based on
stronger market demand, as well as higher occupancy levels. Thus, a downward adjustment is applied for
location. The sale is rated slightly inferior to the subject for quality, condition, age and appeal, and adjusted
upward to account for these differences. However, a downward adjustment is applied to account for a larger
average bedroom size compared to the subject. With no net adjustments required, this comparable is viewed
as a good substitute for the subject. For this analysis, this comparable commands primary consideration as a
value indicator for the subject.
Comparable 5 ($60,442/Bed as adjusted) required a total upward transaction adjustment of 14%. This
comparable required a total downward net adjustment of -35% for property characteristics. The sale is located
directly across the street from the campus of UTSA and thus is rated superior to the subject for this factor. The
property is also rated superior to the subject in terms of appeal and amenities (which includes ground floor retail
space). The substantial level of net adjustments required for this comparable was justified due to the
comparable's varying attributes. Considering these factors, this comparable is given secondary consideration as
a value indicator for the subject.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                           117
SALES APPROACH
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 126 of 134
CONTINUED                                                                                                                       DAL210584


Comparable 6 ($79,925/Bed as adjusted) required a total upward transaction adjustment of 2%, which was
applied for market conditions. This comparable required a total downward net adjustment of -25% for property
characteristics. The sale is rated superior to the subject in terms of location based on stronger demand, as well
as higher occupancy and rent levels. Thus, a downward adjustment is applied for location In addition, a
downward adjustment is also applied for a superior rating for appeal. The moderate amount of net adjustments
required for this comparable suggests it is fairly similar to the subject, increasing is its applicability for this
analysis. Overall this comparable warrants secondary consideration as a value indicator for the subject.


SALES COMPARISON APPROACH CONCLUSION

The comparable sales indicate an adjusted value range from $42,867 to $79,925/Bed, with a median of
$57,063/Bed and an average of $58,520/Bed. Based on the results of the preceding analysis, Comparable 1
($55,762/Bed adjusted), Comparable 3 ($42,867/Bed adjusted) and Comparable 4 ($58,363/Bed adjusted) are
given primary consideration for the subject’s opinion of value based on the fact that these three sales required
the least amount of net adjustments. We have allocated secondary weight to the other three sales. Thus, we
have concluded to a value slightly below the overall adjusted average of the comparable sale prices.
The following table summarizes the analysis of the comparables, reports the reconciled price per bed value
conclusion, and presents the concluded value of the subject property.


                                     SALES COMPARISON APPROACH CONCLUSION (BEDS)
                     TRANSACTION                         ADJUSTMENT                           NET     GROSS      WEIGHT
            COMP           PRICE       TRANSACTIONAL¹    ADJUSTED      PROPERTY²    FINAL     ADJ % ADJ %         GIVEN
              1           $49,632            7%            $53,107        5%        $55,762   12%        12%    PRIMARY
              2           $77,299            7%            $82,710       -35%       $53,761   -30%       42%   SECONDARY
              3           $38,496            6%            $40,825        5%        $42,867   11%        6%     PRIMARY
              4           $52,579            11%           $58,363        0%        $58,363   11%        51%    PRIMARY
              5           $81,568            14%           $92,987       -35%       $60,442   -26%       49%   SECONDARY
              6           $104,478           2%           $106,567       -25%       $79,925   -24%       27%   SECONDARY
            LOW           $42,867                                                                    AVERAGE      $58,520
            HIGH          $79,925                                                                     MEDIAN      $57,063
                                                        SUBJECT BEDS           $/BED CONCLUSION                   VALUE
            PROSPECTIVE VALUE UPON STABILIZATION            347           x         $55,000          =         $19,100,000
            Lease- Up Costs                                                                          From Lease-Up Analysis
              Rent Loss                                                                                          ($715,623)
              Marketing                                                                                           ($77,000)
              Total Lease-Up Costs                                                                               ($792,623)
              Entrepreneurial Profit                                                                             ($237,787)
              TOTAL LEASE-UP COSTS                                                                             ($1,030,410)
              LESS: DEFERRED MAINTENANCE                                                                         ($482,450)
            AS-IS MARKET VALUE                                                      $50,720                    $17,600,000
            ¹Cumulative ²Additive                                                                 Rounded to nearest $100,000




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                          118
RECONCILIATION  OF VALUE
      Case 21-32292       CONCLUSIONS
                    Document 89-3 Filed in TXSB on 09/13/21 Page 127 of 134
                                                                                                          DAL210584


INTRODUCTION
The Reconciliation of Value Conclusions is the final step in the appraisal process and involves the weighing of
the individual valuation techniques in relationship to their substantiation by market data, and the reliability and
applicability of each valuation technique to the subject property. Understanding the profiles of potential buyers
and their typical reliance on each approach to value strongly influences the weighting process.
In the open market, the subject property type would command most interest from national and regional buyers
that are actively pursuing student housing properties. There is currently strong buyer demand for substitute
properties of the subject based on the information provided by active brokers during confirmation of market
transactions. The most probable buyer is a national and regional investor in student housing.
As previously noted, there are few comparable transactions of similar student properties that have occurred in
the recent past. Thus, based on the overall quality of the data and analyses, the Income Approach warranted
primary emphasis in developing our final opinions of market value, with the Sales Approach providing ancillary
support.
PRESENTATION OF VALUE CONCLUSIONS
Our opinion of value reflects current conditions and the likely actions of market participants as of the date of
value. It is based on the available information gathered and provided to us, as presented in this report, and does
not predict future performance. Changing market or property conditions can and likely will have an effect on the
subject's value.
The following table summarizes our final opinions of the As-Is Market Value and Prospective Value Upon
Stabilization of the subject property’s leased fee interest. At the request of the client we have also completed an
Insurable Replacement Cost Estimate.


                                    ANALYSIS OF VALUE CONCLUSIONS

                                                                    MARKET VALUE           PROSPECTIVE VALUE
VALUATION INDICES
                                                                        AS-IS              UPON STABILIZATION

INTEREST APPRAISED                                                    LEASED FEE              LEASED FEE
DATE OF VALUE                                                        JUNE 21, 2021           AUGUST 21, 2022
Sales Comparison Approach                                             $17,600,000              $19,100,000
Income Approach                                                       $17,300,000              $18,800,000
FINAL VALUE CONCLUSION                                                $17,300,000               $18,800,000
$/Unit                                                              $150,435/Unit              $163,478/Unit
$/Bed                                                                $49,856/Bed                $54,179/Bed
$/SF (NRA)                                                            $143.38/SF                 $155.81/SF
Exposure Time                                                     Six Months or Less         Six Months or Less
Marketing Period                                                  Six Months or Less         Six Months or Less
OTHER CONCLUSIONS                                                AS OF JUNE 21, 2021
Insurable Replacement Cost                                           $19,100,000




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       119
CERTIFICATION
        Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 128 of 134
                                                                                                            DAL210584


We certify that, to the best of our knowledge and belief:
   ›   The statements of fact contained in this report are true and correct.
   ›   The reported analyses, opinions, and conclusions of the signers are limited only by the reported
       assumptions and limiting conditions, and are our personal, impartial, and unbiased professional analyses,
       opinions, and conclusions.
   ›   The signers of this report have no present or prospective interest in the property that is the subject of this
       report, and no personal interest with respect to the parties involved.
   ›   Mark Elledge, MAI has provided real property valuation services as an appraiser for the property that is
       the subject of this report within the three-year period immediately preceding acceptance of this
       assignment. Kyle Knox, MAI has provided real property valuation services as an appraiser for the property
       that is the subject of this report within the three-year period immediately preceding acceptance of this
       assignment.
   ›   The signers are not biased with respect to the property that is the subject of this report or to the parties
       involved with this assignment.
   ›   The engagement in this assignment was not contingent upon developing or reporting predetermined
       results.
   ›   The compensation for completing this assignment is not contingent upon the development or reporting
       of a predetermined value or direction in value that favors the cause of the client, the amount of the value
       opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to
       the intended use of this appraisal.
   ›   The reported analysis, opinions, and conclusions were developed, and this report has been prepared, in
       conformity with the Uniform Standards of Professional Appraisal Practice and the Code of Professional
       Ethics and Standards of Professional Appraisal Practice of the Appraisal Institute.
   Mark Elledge, MAI inspected the property that is the subject of this report. Kyle Knox, MAI did not inspect the
   property that is the subject of this report.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                       120
CERTIFICATION
       Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 129 of 134
CONTINUED                                                                                             DAL210584


The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly
authorized representatives.
As of the date of this report Mark Elledge, MAI and Kyle Knox, MAI have completed the continuing education
program for Designated Members of the Appraisal Institute. As of the date of this report Mark Elledge, MAI and
Kyle Knox, MAI have completed the Standards and Ethics Education Requirement for (Candidates or Practicing
Affiliates) of the Appraisal Institute.



                                                                            August 4, 2021
Mark Elledge, MAI                                                               Date
Valuation Services Director
Certified General Real Estate Appraiser
State of Texas License #TX-1323332-G
+1 214 217 9326
mark.elledge@colliers.com



                                                                            August 4, 2021
Kyle Knox, MAI                                                                  Date
Managing Director
Certified General Real Estate Appraiser
State of Texas License #TX-1323097-G
+1 214 217 9335
kyle.knox@colliers.com




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                 121
ASSUMPTIONS   & LIMITING
      Case 21-32292      CONDITIONS
                     Document 89-3 Filed in TXSB on 09/13/21 Page 130 of 134
                                                                                                                       DAL210584


This appraisal is subject to the following assumptions and limiting conditions:
   ›   The appraisers may or may not have been provided with a survey of the subject property. If further
       verification is required, a survey by a registered surveyor is advised.
   ›   We assume no responsibility for matters legal in character, nor do we render any opinion as to title, which
       is assumed to be marketable. All existing liens, encumbrances, and assessments have been disregarded,
       unless otherwise noted, and the property is appraised as though free and clear, under responsible
       ownership, and competent management.
   ›   The exhibits in this report are included to assist the reader in visualizing the property. We have made no
       survey of the property and assume no responsibility in connection with such matters.
   ›   Unless otherwise noted herein, it is assumed that there are no encroachments, zoning, or restrictive
       violations existing in the subject property.
   ›   The appraisers assume no responsibility for determining if the property requires environmental approval
       by the appropriate governing agencies, nor if it is in violation thereof, unless otherwise noted herein.
   ›   Information presented in this report has been obtained from reliable sources, and it is assumed that the
       information is accurate.
   ›   This report shall be used for its intended purpose only, and by the party to whom it is addressed.
       Possession of this report does not include the right of publication.
   ›   The appraisers may not be required to give testimony or to appear in court by reason of this appraisal,
       with reference to the property in question, unless prior arrangements have been made therefore.
   ›   The statements of value and all conclusions shall apply as of the dates shown herein.
   ›   There is no present or contemplated future interest in the property by the appraisers which is not
       specifically disclosed in this report.
   ›   Without the written consent or approval of the authors neither all, nor any part of, the contents of this
       report shall be conveyed to the public through advertising, public relations, news, sales, or other media.
       This applies particularly to value conclusions and to the identity of the appraisers and the firm with which
       the appraisers are connected.
   ›   This report must be used in its entirety. Reliance on any portion of the report independent of others, may
       lead the reader to erroneous conclusions regarding the property values. Unless approval is provided by
       the authors no portion of the report stands alone.
   ›   The valuation stated herein assumes professional management and operation of the buildings throughout
       the lifetime of the improvements, with an adequate maintenance and repair program.
   ›   The liability of Colliers International Valuation & Advisory Services, its principals, agents, and employees
       is limited to the client. Further, there is no accountability, obligation, or liability to any third party. If this report
       is placed in the hands of anyone other than the client, the client shall make such party aware of all limiting
       conditions and assumptions of the assignment and related discussions. The appraisers are in no way
       responsible for any costs incurred to discover or correct any deficiency in the property.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                                  122
ASSUMPTIONS   & LIMITING
      Case 21-32292      CONDITIONS
                     Document 89-3 Filed in TXSB on 09/13/21 Page 131 of 134
CONTINUED                                                                                                    DAL210584


   ›   The appraisers are not qualified to detect the presence of toxic or hazardous substances or materials
       which may influence or be associated with the property or any adjacent properties, has made no
       investigation or analysis as to the presence of such materials, and expressly disclaims any duty to note
       the degree of fault. Colliers International Valuation & Advisory Services and its principals, agents,
       employees, shall not be liable for any costs, expenses, assessments, or penalties, or diminution in value,
       property damage, or personal injury (including death) resulting from or otherwise attributable to toxic or
       hazardous substances or materials, including without limitation hazardous waste, asbestos material,
       formaldehyde, or any smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids, solids or
       gasses, waste materials or other irritants, contaminants or pollutants.
   ›   The appraisers assume no responsibility for determining if the subject property complies with the
       Americans with Disabilities Act (ADA). Colliers International Valuation & Advisory Services, its principals,
       agents, and employees, shall not be liable for any costs, expenses, assessments, penalties or diminution
       in value resulting from non-compliance. This appraisal assumes that the subject meets an acceptable
       level of compliance with ADA standards; if the subject is not in compliance, the eventual renovation costs
       and/or penalties would negatively impact the present value of the subject. If the magnitude and time of
       the cost were known today, they would be reduced from the reported value conclusion.
   ›   An on-site inspection of the subject property was conducted. No evidence of asbestos materials on-site
       was noted. A Phase 1 Environmental Assessment was not provided for this analysis. This analysis
       assumes that no asbestos or other hazardous materials are stored or found in or on the subject property.
       If evidence of hazardous materials of any kind occurs, the reader should seek qualified professional
       assistance. If hazardous materials are discovered and if future market conditions indicate an impact on
       value and increased perceived risk, a revision of the concluded values may be necessary.
   ›   A detailed soils study was not provided for this analysis. The subject's soils and sub-soil conditions are
       assumed to be suitable based upon a visual inspection, which did not indicate evidence of excessive
       settling or unstable soils. No certification is made regarding the stability or suitability of the soil or sub-
       soil conditions.
   ›   This analysis assumes that the financial information provided for this appraisal, including rent rolls and
       historical income and expense statements; accurately reflect the current and historical operations of the
       subject property.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                                                        123
ADDENDA
      Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 132 of 134
                                                                              DAL210584


  Financial Exhibits
  Site Exhibits
  Engagement Letter
  Valuation Glossary
  Qualifications of Appraiser
  Qualifications of Colliers International Valuation & Advisory Services




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES                        124
ADDENDA
      Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 133 of 134
CONTINUED                                                                                                                   DAL210584


INSURABLE REPLACEMENT COST
At the client’s request, we have included an estimate of the insurable replacement cost estimate of the subject
improvements, which represents the replacement cost new of the subject improvements, exclusive of land value
and profit, and the costs associated with excavation, site work, foundations and architects fees. Insurance
coverage is usually specific to a given project. We have not been provided with the specific policy requirements,
which limit the reliability of the conclusion. Insurable replacement cost is a matter of underwriting as opposed to
valuation. Users of this report should not construe the conclusion of insurable value to be an indication of market
value. The insurable estimate is made using base costs and multiplier adjustments for market conditions and
location from Marshall Valuation Service, which is assumed to accurately reflect replacement cost of the subject.
We assume no liability as to the subject’s insurable replacement cost and recommend that an estimate from a
reputable insurance company be obtained if further assurance is required.
The following chart summarizes the insurable replacement cost estimate:

                                          INSURABLE REPLACEMENT COST
                                            MARSHALL VALUATION SERVICE DIRECT COST
   Number of Buildings                        1
   Gross Building Area                229,266 SF                                    1                   2                       3
   MVS Building Type                                                   Multi-Family          Multi-Family             Multi-Family
   Component Description                                                   Apartments   Office / Clubhouse   Garage / Common Area
   MVS Section/Page/Class                                                     12/16/D             12/16/D                 14/34/D
   MVS Publication Date                                                       May-21              May-21                   May-21
   Quality Rating                                                     Average/Good          Average/Good             Average/Good
   Component SF (Gross)                                                       120,661               3,929                 104,676
   Base Cost (Per SF)                                                         $100.00             $100.00                  $55.00
                                                     SQUARE FOOT REFINEMENTS
   Fire Sprinklers                                                              $2.00               $2.00                   $2.00
   Subtotal                                                                   $102.00             $102.00                  $57.00
                                                        COST MULTIPLIERS
   Current Cost Multiplier                                                       1.06                1.06                     1.07
   Local Multiplier                                                              0.89                0.89                     0.89
   DIRECT COSTS PER SF                                                         $96.23              $96.23                  $54.28
   Indirect Cost (% of Direct)¹             15%                                  15%                 15%                     15%
   INDIRECT COST PER SF                                                        $14.43              $14.43                   $8.14
   DIRECT & INDIRECT TOTAL PER SF                                             $110.66             $110.66                  $62.42
   CALCULATION OF REPLACEMENT COST NEW WITH PROFIT
   Component SF (Gross)                                                       120,661               3,929                 104,676
   Direct & Indirect Total                                             $13,352,445              $434,786               $6,534,218
   TOTAL REPLACEMENT COST NEW                                          $13,352,445              $434,786               $6,534,218
   BASE IMPROVEMENT COST                                               $20,321,449
   Demolition                                3%                              $609,643
   Insurable Replacement Exclusions 9.0%                               ($1,828,930)
   Insurable Replacement Cost                                          $19,100,000
   ¹Colliers International Estimate                                                                    Rounded to nearest $100,000


Please note the clubhouse / office area and Parking Garage sizes (square footage) are based on information
from the Harris County Appraisal District.




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
ADDENDA
      Case 21-32292 Document 89-3 Filed in TXSB on 09/13/21 Page 134 of 134
CONTINUED                                                                     DAL210584




© 2021 COLLIERS INTERNATIONAL VALUATION & ADVISORY SERVICES
